                                                                   1



                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

     RONALD KUIPER and                              No. C06-4009-MWB
     CONLEY KUIPER,

                 Plaintiffs,                        Sioux City, Iowa
                                                    February 17, 2009
           vs.                                      8:01 a.m.

     GIVAUDAN FLAVORS CORP.,                        VOLUME 1 OF 12

                 Defendant.
                                         /



                              TRANSCRIPT OF TRIAL
                     BEFORE THE HONORABLE MARK W. BENNETT
                   UNITED STATES DISTRICT JUDGE, and a jury.




      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                       to purchase      403 copy
                                   a complete Filed 06/09/09   Page 1 of 223
                                                    of the transcript.
                                                                   2



     APPEARANCES:

     For the Plaintiffs:          KENNETH BLAIR MCCLAIN, ESQ.
                                  STEVEN EDWARD CRICK, ESQ.
                                  SCOTT A. BRITTON-MEHLISCH, ESQ.
                                  Humphrey, Farrington & McClain
                                  Suite 400
                                  221 West Lexington
                                  Independence, MO 64050

                                  DENNIS M. MCELWAIN, ESQ.
                                  Smith & McElwain
                                  Suite 530
                                  505 Fifth Street
                                  Sioux City, IA 51101

     For the Defendant:           JAMES D. PAGLIARO, ESQ.
                                  KEVIN M. DONOVAN, ESQ.
                                  THOMAS J. SULLIVAN, ESQ.
                                  Morgan, Lewis & Bockius
                                  1701 Market Street
                                  Philadelphia, PA 19103-2921

                                  V. THOMAS MEADOR, ESQ.
                                  Morgan, Lewis & Bockius
                                  Suite 2200
                                  300 South Grand Avenue
                                  Los Angeles, CA 90071-3132

                                  STEPHEN J. HOLTMAN, ESQ.
                                  Simmons Perrine
                                  Suite 1200
                                  115 Third Street Southeast
                                  Cedar Rapids, IA 52401-1266

     Court Reporter:              Shelly Semmler, RMR, CRR
                                  320 Sixth Street
                                  Sioux City, IA 51101
                                  (712) 233-3846




      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                       to purchase      403 copy
                                   a complete Filed 06/09/09   Page 2 of 223
                                                    of the transcript.
                                                                   3



 1               (Proceedings convened outside the presence of the jury

 2   venire.)

 3               THE COURT:     Good morning.   I'm Mark Bennett.      I have

 4   two of my law clerks, Roger and Nick.         Roger's my point person

 5   on jury instructions, and Nick will be in the courtroom

 6   throughout the trial.      He'll be the keeper of the exhibits, so

 7   if you have any questions about whether something's been

 8   admitted or not, you can check with Nick.         He's the final --

 9   almost final authority on what's been admitted and what hasn't.

10               I'm still waiting for an answer from my Friday e-mail

11   from you all as to how long you expect this trial to last in

12   terms of trial days because I'd like to tell the prospective

13   jurors that to find out if it's going to be an undue burden or

14   hardship, so do you have an answer?

15               MR. MCCLAIN:    Yes.    Mr. Meador and I consulted

16   yesterday about it, and we thought word had come to the Court,

17   but I'm sorry that it hadn't.

18               THE COURT:     Well, what was it?    By carrier pigeon?

19               MR. MCCLAIN:    No, we had a young lady here that spoke

20   to your clerk about the issue.

21               THE COURT:     Well, I'm the one that sent you the

22   e-mail.    I would expect a response to me.       Is that unreasonable?

23               MR. MCCLAIN:    No, sir.

24               THE COURT:     Okay.   So tell me now.

25               MR. MCCLAIN:    Eleven days -- ten days of evidence but

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                       to purchase      403 copy
                                   a complete Filed 06/09/09   Page 3 of 223
                                                    of the transcript.
                                                                   4



 1   a half a day to pick a jury and a half a day for closing is what

 2   we kind of thought.

 3               THE COURT:     So you want me to waive our local rule on

 4   length of closing arguments?

 5               MR. MCCLAIN:    No, sir.     I just thought --

 6               THE COURT:     Well, then why would it be half a day?

 7   Have you read our local rule?

 8               MR. MCCLAIN:    Sure.   I have.

 9               THE COURT:     What is it?

10               MR. MCCLAIN:    That --

11               THE COURT:     How long are closing arguments?

12               MR. MCCLAIN:    A half hour.

13               THE COURT:     That's opening statements.      Opening

14   statements are 15 minutes.       I think you're right.      So if we're

15   going to have half-an-hour closing arguments, why would we need

16   half a day?

17               MR. MCCLAIN:    Well --

18               THE COURT:     My math isn't very good, but I don't quite

19   understand why that would be half a day.

20               MR. MCCLAIN:    Well, we anticipated that the -- that

21   the jury selection would be half a day.         We didn't know what

22   would be entailed in closing argument, whether or not you would

23   read the instructions again at that point in time, but if you

24   did, given the fact that we both had another hour --

25               THE COURT:     Yeah, well, I don't read the instructions

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                       to purchase      403 copy
                                   a complete Filed 06/09/09   Page 4 of 223
                                                    of the transcript.
                                                                   5



 1   twice.

 2                MR. MCCLAIN:    Okay.    That's why -- that's why we --

 3   without any knowledge, but that was our best estimate.            But ten

 4   trial days of evidence is what we were totaling up between us.

 5                THE COURT:     Okay.   And so because we're going to go

 6   four days this week, three days next week, then that means

 7   probably it will go to the jury on Wednesday or Thursday of the

 8   third week.

 9                MR. MCCLAIN:    That's what we thought.

10                THE COURT:     Okay.   And I'll be glad to waive the time

11   frame for closing arguments, but you have to ask.           I've waived

12   them in every case for 15 years but . . .

13                MR. MCCLAIN:    And we may do that.     We really hadn't

14   gotten that far in our planning, but I did see that it was -- I

15   think it says half an hour.

16                THE COURT:     Okay.   Now, let's just go through and see

17   who's who.    And, Mr. McClain, are you kind of lead counsel?

18                MR. MCCLAIN:    Yes, sir.

19                THE COURT:     Okay.   So if I address a question to the

20   plaintiffs, that would be to you?

21                MR. MCCLAIN:    Generally, yes.

22                THE COURT:     Okay.   And, Mr. Holtman, are you lead

23   counsel?

24                MR. HOLTMAN:    No.    Mr. Pagliaro is, Your Honor.

25                THE COURT:     Okay.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                       to purchase      403 copy
                                   a complete Filed 06/09/09   Page 5 of 223
                                                    of the transcript.
                                                                   6



 1               MR. PAGLIARO:    Good morning, Your Honor.

 2               THE COURT:    Good morning.    Nice to see you.

 3               MR. PAGLIARO:    Nice to see you, sir.

 4               THE COURT:    Have any problem getting from

 5   Philadelphia?

 6               MR. PAGLIARO:    I did not, sir.

 7               THE COURT:    Good, good.    And then in between we

 8   have -- between Mr. Holtman?

 9               MR. MEADOR:    Tom Meador, Your Honor.      Good morning.

10               THE COURT:    Good morning.

11               MR. MEADOR:    And I didn't have any trouble getting

12   here from L.A.

13               THE COURT:    Really.    What were you doing in L.A.?

14               MR. MEADOR:    That's where I live, in Pasadena.

15               THE COURT:    Oh.   Well, we have nice weather for you,

16   just like back home.

17               What do we need to take up this morning?         Let's talk

18   about the jury instructions.        I know people aren't happy with

19   the fact that I instruct at the beginning of the trial, but I've

20   done it in every trial.      I've done it in death penalty cases,

21   every type of civil and criminal case imaginable.           I've never

22   had a problem with it.

23               My philosophy is kind of to submit the claims of the

24   parties anyway and then worry about it on post-trial motions.

25   But, you know, if I conclude that there's absolutely no evidence

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                       to purchase      403 copy
                                   a complete Filed 06/09/09   Page 6 of 223
                                                    of the transcript.
                                                                   7



 1   on a claim or defense, then I'll just withdraw it.           I have a

 2   standard withdrawal instruction.        I've used it very, very

 3   seldom.    In the event we need a supplemental instruction which

 4   happens less than 1 out of 20 trials, then I'll give a

 5   supplemental instruction.

 6               But I know you're not all very concerned about the

 7   jury because your pretrial order wouldn't have looked like it

 8   did if you were, but I am concerned about the jury.           And I think

 9   it's ridiculous to wait till the end of the case to give

10   instructions on the claims and defenses because it makes it

11   impossible for the jurors to track the evidence even in a simple

12   case let alone a complex case.       So I'm a huge believer in

13   instructing at the beginning of the case.

14               And had I had more cooperation of counsel, we would

15   have had the instructions done a lot earlier, and I think they

16   would have been a lot more agreed to, but that didn't happen,

17   and that's fine.

18               So you've all filed your objections to the

19   instructions, and I don't know that you need to make any more

20   record on them, but I've gotta give you an opportunity to make

21   any additional record.      And I'm happy to do that.       I think

22   you'll find that I'll give you all the opportunity you'll ever

23   need to make a record on anything you want to make a record on.

24               So let's talk about the instructions now.         Do the

25   plaintiffs have any additional objections?          I think you just

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                       to purchase      403 copy
                                   a complete Filed 06/09/09   Page 7 of 223
                                                    of the transcript.
                                                                   8



 1   filed something this morning or last night or whenever.

 2               MR. MCCLAIN:    We did.    And it's adequate for our

 3   purposes.

 4               THE COURT:     Okay.   Anything else you want -- any other

 5   record you want to make on the instructions?

 6               MR. MCCLAIN:    No, sir.

 7               THE COURT:     Okay.   Thanks.    How about from the

 8   defense?

 9               MR. PAGLIARO:    Good morning, Your Honor.       We submitted

10   ours as well, and we'll rest on the papers that we submitted.

11               THE COURT:     Okay.   Great.    This is keeping my

12   tradition of having the average instruction conference last ten

13   seconds or less, so I appreciate that.

14               I don't have a whole lot on my agenda.         I think I

15   explained in a pretty detailed e-mail on Friday night or

16   Saturday morning how I do jury selection, but I'd be glad to go

17   over it again.     You want me to kind of run through it again?           I

18   see a couple of nods.      Okay.

19               I don't know if you've been told yet or not from the

20   clerk's office who the 14 are, but our computer preselects 14

21   people at random out of the pool.        We'll seat 14 in the jury

22   box.   And the reason why it's 14 is each side at the end of jury

23   selection will exercise three peremptory challenges.              We'll

24   start with the plaintiff first.

25               Nick will take a clipboard with the names of all the

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                       to purchase      403 copy
                                   a complete Filed 06/09/09   Page 8 of 223
                                                    of the transcript.
                                                                   9



 1   jurors on it.     You'll just draw a line through the first one you

 2   strike and put plaintiff's 1.       Then it will be passed to the

 3   defense, defendant's 1.      We do that 3 times.      And then Nick will

 4   read the list of the names of jurors who have not been struck

 5   because each of you strike 3 for a total of 6.          6 from 14 is 8.

 6   I use 8 trial jurors, nothing magical about 8.          It's just a

 7   number I've always used.      I don't believe anybody asked me to

 8   use more.    And so we'll be using 8 trial jurors.

 9                Once we seat the 14, I'm going to do a real

10   abbreviated selection because in cases where the lawyers have

11   put together a pretrial questionnaire like you do -- I have not

12   reviewed the questionnaire answers of the jurors, so I'm going

13   to do a pretty abbreviated selection process.          I'll deal with

14   the "would it be a severe or extraordinary hardship for people

15   to serve for the three weeks" and, once I'm done with my

16   questions, turn it over to the plaintiffs.          You can ask

17   questions.    And then turn it over to the defense, and then

18   exercise your peremptory challenges.

19                It's really pretty simple.      I don't have a lot of

20   rules on what you can ask and don't ask, but, you know, if you

21   want to -- I've had people ask -- I had one big case against

22   Enron where they had a high-powered jury consultant, and they

23   wanted me to ask if the jurors believed in extraterrestrial life

24   here on earth with a bunch of follow-up questions, and I said

25   I'd be happy to ask it but I couldn't do it with a straight

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                       to purchase      403 copy
                                   a complete Filed 06/09/09   Page 9 of 223
                                                    of the transcript.
                                                                   10



 1    face, so I let the lawyers ask those questions.

 2                But, you know, if you want to ask about their bumper

 3    stickers and magazines and what TV shows they -- whatever, feel

 4    free to do that.    So any questions on jury selection?           Anything

 5    you want me to go back over or explain in more detail?

 6                MR. MCCLAIN:    Could you -- Judge, you mentioned and we

 7    saw in the writing that challenges for cause are done in front

 8    of the jury.

 9                THE COURT:     Yep.

10                MR. MCCLAIN:    Can you give us some direction as to --

11    a how-to about how you would like that done?

12                THE COURT:     Yeah.   Here's what's probably going to

13    happen.    Let's just say -- let's say we have a juror that says,

14    "I love microwave popcorn, and I have eight bags a day, and I

15    love the scent so much that when I open the bag I stick my head

16    in and I sniff it until I almost pass out because I just love

17    it, and I just live every day to do that."         I don't think that's

18    a juror that I probably want to leave on the jury.

19                And so I would just turn to the lawyers and say, "Do

20    you have any objection if we excuse Mrs. Jones?"          And if you

21    have an objection, you can say yes, and then I won't excuse her

22    and you can keep questioning her.       And then I might call you up

23    to sidebar.    But usually challenges for cause I think are quite

24    obvious.    And generally what I do is I'd say, "Now, Mrs. Jones,

25    because you're such an avid popcorn lover, do you think this

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 10 of 223
                                                   of the transcript.
                                                                   11



 1    might not be the appropriate case for you to serve on, and would

 2    you rather serve on another case?"       I don't like to embarrass

 3    them or anything, so I try and gently suggest that maybe this is

 4    not the case that they'd like to serve on.

 5                 And then I turn to the lawyers -- I just think that 99

 6    percent of the time we're just going to be in agreement on a

 7    challenge for cause that this is not a good juror for anybody.

 8                 Now, in my last trial -- I think you all know I just

 9    finished on Friday a ten-day patent jury trial involving a

10    business method, and it involved a method for computing

11    annuities.    And sure enough, one of the jurors owned an annuity

12    with the defendant that was absolutely covered by the patent.

13    So not only did she own a product that was covered by the

14    patent, she had a financial interest in the company.

15                 But the lawyers were so contentious, so rather than

16    just excusing her, I brought them up to sidebar which you know I

17    hate to have, and I said she has a financial interest in one of

18    the companies covered by the patent.        It's obviously a challenge

19    for cause.    And the defense lawyer said, "Well, no, it's not.

20    We want her on."    And I said, "Well, fine, I'm excusing her for

21    cause anyway," and he said, "We object."        I said, "Fine, you can

22    object all you want but --" so that's kind of how it's going to

23    work.   I just do it on the fly.      I'm not calling you up to

24    sidebar to exercise challenges for cause.         You know, if you're

25    skillful, you can challenge a juror for cause and not offend

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 11 of 223
                                                   of the transcript.
                                                                   12



 1    anybody.   And so I just -- it's just a waste of time to have

 2    sidebars, so that's kind of my philosophy.

 3                 Most of the challenges for cause are just blatantly

 4    obvious or they have such a good excuse to be -- you know, in

 5    that trial which we knew was going to be a two-week trial we had

 6    a waitress whose income depended on tips.         Obviously ten-day

 7    trial is burdensome, and I don't care what the lawyers say, I

 8    was going to let her go, so I just excused her.          So that's kind

 9    of how I do it.

10                 Mr. McClain, does that help satisfy you?

11                 MR. MCCLAIN:    It does, Your Honor.

12                 THE COURT:     Yeah.   And, of course, if -- you know, if

13    there's something that would be maybe really dicey and you

14    request a sidebar, I may make an exception.         I may not.    It just

15    all depends.    But I generally just expect you to do it right in

16    front of the jurors.      It's good practice to be, you know,

17    skillful and not offend the rest of the jurors.

18                 Mr. McClain, any other questions on jury selection?

19                 MR. MCCLAIN:    No, sir.

20                 THE COURT:     How about on the defense?

21                 MR. PAGLIARO:    Your explanation was clear, Your Honor.

22    Thank you.

23                 THE COURT:     Okay.   Are you happy with the fact that

24    I'm giving you wide latitude because of your questionnaire to

25    ask a lot of questions rather than have me doing it?

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 12 of 223
                                                   of the transcript.
                                                                   13



 1               MR. MCCLAIN:    Yes, sir.

 2               MR. PAGLIARO:     Works for me, Your Honor.      Thank you.

 3               THE COURT:     Is there anything that you think that I

 4    should be the one asking?      You know, is there anything a little

 5    tricky or something that you would rather have me ask than have

 6    the lawyers ask, either side?

 7               MR. MCCLAIN:    No.   I think that everything can be --

 8    the only thing I wondered about was the -- several expressed

 9    dislike for lawyers, but we can --

10               THE COURT:     That's your problem.

11               MR. MCCLAIN:    -- handle that.

12               THE COURT:     But you know what?    I'll tell them how

13    much I love all the lawyers, particularly in this case, so maybe

14    they'll feel the love from me.

15               MR. MCCLAIN:    We would appreciate that.

16               MR. PAGLIARO:     That would be much appreciated from the

17    Philadelphia lawyer present, sir.

18               THE COURT:     Now, what do you want me to say about --

19    if anything about the fact that you're from out of town?           You

20    going to shy away from it, or when you introduce yourself, are

21    you going to say that you're from Philadelphia?          I had a lot

22    of -- I think we had something like 12, 16 lawyers in that

23    patent case, and all but 2 were from out of town, and the 2

24    local counsel did not participate in any way in the trial.

25               So what we agreed upon ahead of time, that I would

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 13 of 223
                                                   of the transcript.
                                                                   14



 1    tell the jurors that we had a lot of out-of-town lawyers but we

 2    had a couple of Iowa lawyers and, you know, they should treat

 3    everybody the same way.

 4               MR. PAGLIARO:     That would be really a nice thing to

 5    do, Your Honor.    We're all from out of town including

 6    Mr. McClain.    Our Iowa person's from out of town too.

 7               THE COURT:    He is.    That's right.    But I did slip a

 8    couple of times when -- after I told them that they were just

 9    from out of town.     One of the lawyers was doing something very

10    weird, and I said, "Well, you may do that in New York City that

11    way, but in Iowa we don't."       So, you know, I don't think you

12    ought to hide from the fact that you're from a Philadelphia law

13    firm, but that's really up to you.

14               MR. PAGLIARO:     Okay, Your Honor.     Thank you.

15               THE COURT:    And what I'm going to tell them is it's

16    very routine in substantial cases to have out-of-state counsel.

17    We have out-of-state counsel all the time in cases.

18               MR. PAGLIARO:     That would be great, Your Honor.

19               THE COURT:    I'm used to it.     I think, you know -- and

20    so I'll do everything I can to lessen -- I personally don't

21    think Iowa jurors would hold it against the fact -- particularly

22    when they're from both sides -- I think it's a little more

23    problematic when all of the out-of-town lawyers are on one side

24    versus the other, but I will kind of cover that and do what I

25    can.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 14 of 223
                                                   of the transcript.
                                                                   15



 1                 MR. PAGLIARO:     And I'll try to remember I'm a guest,

 2    Your Honor.

 3                 THE COURT:     Okay.   Well, but you're admitted just like

 4    the Iowa lawyers are.       Once you're admitted pro hac vice, I

 5    guess you're technically a guest, but I hope you'll be treated

 6    the same by everyone.

 7                 Anything else about jury selection that you can think

 8    of?     What else?    I don't really have a big agenda.     Are there

 9    other loose ends?

10                 MR. MCCLAIN:     Did you grant us a half hour apiece for

11    opening statement in this case?        We thought that you had, but we

12    wanted to confirm that.

13                 THE COURT:     How much time would you like?

14                 MR. MCCLAIN:     A half hour would be fine.

15                 MR. PAGLIARO:     That would work for us as well, Your

16    Honor.    We would request that as well.

17                 THE COURT:     Sure.   You can have a little longer if you

18    want.     Why don't we do this, only if you want to.       I mean, I'll

19    basically let you go kind of as long as you want.          I think if

20    you go much beyond a half an hour, it becomes counterproductive.

21    Would you like to just have a friendly reminder and maybe at 30

22    minutes for me to say 30 minutes, not say 30 minutes and you

23    have to stop?        Or would you like -- you know, we do have

24    available the electronic bracelets that we put on defendants.

25    And we can put an ankle bracelet on, and at 30 minutes I could

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 15 of 223
                                                   of the transcript.
                                                                   16



 1    zap you at about half the voltage.

 2               MR. PAGLIARO:     Thank you, Your Honor.

 3               MR. MEADOR:    I think that's a good idea, Your Honor.

 4               MR. MCCLAIN:    Well, I'm glad they like it.       I'll just

 5    take the verbal warning.

 6               THE COURT:     Okay.   No bracelet?

 7               MR. MCCLAIN:    They can have the bracelet.

 8               THE COURT:     See, the bad news with the bracelet is

 9    once we put it on we can't take it off until the end of the

10    trial, so you run some substantial risk here.         But we'll go with

11    no bracelets and just the 30-minute kind of gentle, and I'll

12    just say we're at the 30-minute mark or 30 minutes.          And you can

13    keep going, but that will just kind of give you a guideline.

14               MR. PAGLIARO:     That's perfect, Your Honor.      Thank you.

15               THE COURT:     Okay.   What else?

16               MR. MCCLAIN:    I did forget one question.       Are you

17    going to give us time to confer following the voir dire before

18    we make our strikes?

19               THE COURT:     Yes, I will.   And what will happen is I'll

20    say, you know, Nick's now going to bring you the clipboard,

21    something like that.     But I'm going to leave all the jurors

22    here.   It's not like we're going to send them out because I

23    think it's nice to be able to see them.        And I'll just tell them

24    at this point you'll just have to patiently wait while the

25    lawyers exercise their strikes.       And they'll just be sitting

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 16 of 223
                                                   of the transcript.
                                                                   17



 1    there waiting.    And you can all huddle up.       I don't remember if

 2    you have consultants and all, and you can huddle up with your

 3    consultants and your coin-flipping machines and how ever you're

 4    going to do it and take your time in exercising the strikes.

 5                 MR. MCCLAIN:    Thank you.

 6                 THE COURT:     Anything else?

 7                 MR. MEADOR:    Yes, Your Honor, a few housekeeping

 8    matters.

 9                 THE COURT:     Sure.

10                 MR. MEADOR:    Judge Zoss said we could raise this one

11    issue with you.    You have the local rule that doesn't allow the

12    parties to talk to witnesses about what transpires during the

13    trial.   And we talked to Judge Zoss and I've talked to

14    Mr. McClain about that we could talk to our experts about what

15    the witnesses testify to at trial.

16                 THE COURT:     And you've all agreed -- anything you

17    agree on is in all likelihood going to be fine with me.

18                 MR. MEADOR:    We haven't agreed they can sit here in

19    trial but that we can talk to them about what the testimony was.

20                 MR. MCCLAIN:    I don't object to them sitting here at

21    trial if they want to.       But we have agreed -- we have agreed

22    that you can talk to your witness about anything as far as I'm

23    concerned.

24                 MR. MEADOR:    You mean experts.

25                 MR. MCCLAIN:    Yeah.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 17 of 223
                                                   of the transcript.
                                                                   18



 1               THE COURT:     Experts.

 2               MR. MCCLAIN:    Yeah.

 3               MR. MEADOR:    But we would object to them being here.

 4               THE COURT:     Okay.   Well, in the absence -- in the

 5    patent case they agreed, and all the experts sat in, but, you

 6    know, that was their agreement, and I honored it.          You can't

 7    agree, so that's fine.     In the absence of agreement, I'm going

 8    to rely on Rule 615.     Everybody's sequestered, but you can talk

 9    to your experts about the trial testimony.

10               MR. MEADOR:    Thank you, Your Honor.

11               MR. MCCLAIN:    Okay.

12               MR. MEADOR:    I got two more.

13               THE COURT:     Sure.

14               MR. MEADOR:    The -- as you know, we had a motion in

15    limine about our Carthage plant in Cincinnati and how much of

16    that evidence could come in.       You overruled our motion in

17    limine, and a lot of the documents in this case relate to not

18    where the plaintiff worked but the Cincinnati plant.

19               We obviously object to those category of documents.

20    What I'm wondering is how you -- we don't want to object every

21    time they pull out Tastemaker documents related to the

22    plaintiffs in Cincinnati.      Do we have a continuing objection?

23    The documents are obviously in evidence because you've overruled

24    our objections.    We don't want to jump up all the time -- he's

25    got a lot of documents related to our plant -- and object on the

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 18 of 223
                                                   of the transcript.
                                                                   19



 1    same grounds you've already overruled.

 2               THE COURT:    Well, I am not in a position to advise a

 3    party on what you need to do to make your record.          I think

 4    that's kind of an inappropriate role for me.         I'd be willing to

 5    say for my purposes I've already ruled and my understanding is

 6    from a relatively recent amendment -- I believe it's in Rule

 7    104, but I may be wrong about that -- that you don't have to do

 8    anything further.     But I'm just saying that's my understanding.

 9               I think it's Rule 103.      And I'm looking at Rule

10    103(a)(2), the last paragraph.       Once the Court makes a

11    definitive ruling on the record admitting or excluding evidence

12    either at or before trial, a party need not renew an objection

13    or offer proof to preserve a claim of error for appeal.

14               Now, you need to decide whether my motion in limine

15    ruling qualifies under that.      So you can either object every

16    time, not object every time.      I'll be glad to give you a

17    continuing objection to all of those exhibits.         But what I can't

18    do is give you some kind of judicial guarantee about what you

19    need to do to make your record because it's not my role, it's

20    not my job, and I don't want to be responsible for it.

21               But I can certainly say for my purposes of conducting

22    the trial and the major reason why you need to make a record is

23    to put the trial judge on notice so that they can make their

24    rulings and also to preserve error on appeal.         But my motion and

25    ruling suffices for any trial purposes that I need.          So I have

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 19 of 223
                                                   of the transcript.
                                                                   20



 1    no need for you to make any further record on it to assist me in

 2    making correct evidentiary rulings.        I don't know if that helps

 3    you or not.

 4                MR. MEADOR:   Well, could we have a continuing

 5    objection to the Tastemaker and Givaudan documents relating to

 6    the Carthage plant?

 7                THE COURT:    Sure.   You can have a continuing objection

 8    for whatever value you may think a continuing objection has.

 9                MR. MEADOR:   Thank you, Your Honor.

10                The last point, are we going to talk again before the

11    first witness is called because you said you like to get a

12    heads-up if we have any particular problems with any specific

13    witness.

14                THE COURT:    Nope.   Give me a heads-up now.

15                MR. MEADOR:   The heads-up now, since we stipulated to

16    most of the evidence going in and we're probably most --

17                THE COURT:    Well, that's not exactly true.      There's

18    a -- you know, I just briefly looked through the revised --

19    well, I had so many different exhibit lists, it was hard to keep

20    track of.     They were coming as -- I mean, they were just -- you

21    know, it seemed like every day there were new ones coming.           But

22    the last round that I looked through, the plaintiffs didn't have

23    hardly any objections to your exhibits, but you still had a lot

24    of B objections to their exhibits.

25                MR. MEADOR:   And that just relates to the last point I

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 20 of 223
                                                   of the transcript.
                                                                   21



 1    just made.    We kept the B because we didn't want to have the

 2    record saying that we stipulated to the Tastemaker, Givaudan --

 3                 THE COURT:    Oh, I see.   Were the B objections mostly

 4    to those exhibits from the motion in limine ruling?

 5                 MR. MEADOR:   Yes, Your Honor.

 6                 THE COURT:    Oh, I see.   Okay.   So what percentage of

 7    the other exhibits that were not subject to the motion in limine

 8    rulings is there now a dispute between the parties?          Very

 9    little?

10                 MR. MEADOR:   Very little.    There may be none.

11                 THE COURT:    May be none, okay.    Okay.   Great.     Thanks

12    for pointing that out.      Okay.   So let's get back to the first

13    witness now.    What's the problem or the heads-up?

14                 MR. MEADOR:   Well, the bad luck we have -- I mean, the

15    first witness in this case is Dr. Egilman, and as you recall, we

16    had motions in limine against him that were too general in

17    nature, and we're going to just have a lot of specific

18    objections.    I tell you this because the rest of the case I

19    don't see us making any objections.        I didn't want you to think

20    that here we are, here the guy's going to make a bunch of

21    objections to every witness testifying.         But we will have some

22    with Dr. Egilman because he gives legal opinions about corporate

23    ethics.   He gives legal opinions as to motivations as to people.

24    He testifies about --

25                 THE COURT:    Do you think maybe he might want to read

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 21 of 223
                                                   of the transcript.
                                                                   22



 1    the instructions for me because they're pretty long?

 2                MR. MEADOR:   Dr. Egilman will be pleased to do that.

 3    He also testified -- he testified about facts that aren't in

 4    evidence.     I mean, our documents are in, but it's kind of -- you

 5    know, usually you have factual witnesses testify first, but

 6    Dr. Egilman's going to come in, and he's going to testify pretty

 7    much on every issue in the case.       They also like to --

 8                THE COURT:    And a lot of issues that probably aren't

 9    in the case; right?

10                MR. MEADOR:   Yes, yes, he will.      He'll talk --

11                THE COURT:    At least from your perspective they're

12    not; right?

13                MR. MEADOR:   He'll try to talk about asbestos,

14    benzene, anything else he can work into this case, even though

15    it has nothing to do with this case.        We've reviewed some of the

16    prior transcripts.     They also like to just kind of point him to

17    a PowerPoint, and then he gives a lecture for, you know, 20

18    minutes, so we're going to have those types of objections.

19    Anyway, I just wanted to give you a heads-up.

20                THE COURT:    I appreciate that.    And I know in an ideal

21    world, I mean, you actually wanted to have a Daubert hearing as

22    I recall.     Am I right about that?

23                MR. MEADOR:   That's right, Your Honor.

24                THE COURT:    Yeah.   And one of my many idiosyncrasies

25    but I don't believe I've ever had a Daubert hearing.          I might

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 22 of 223
                                                   of the transcript.
                                                                   23



 1    have had one or two, didn't like them.        I just like to take them

 2    up at trial.    It's a little bit easier given my schedule to do

 3    it that way.    So I fully understand why you're going to be

 4    making objections, and I just encourage you to make all the

 5    objections you can.

 6                 And you'll notice in my instructions I tell the jurors

 7    that the lawyers have a duty to make objections and that they

 8    can't hold it against a lawyer in any way because they make

 9    objections because that's what lawyers are supposed to do.

10    So . . .

11                 MR. MEADOR:   Thank you, Your Honor.     That's it.

12                 THE COURT:    Okay.   Great.   Thank you.   Anything else

13    you can think of?

14                 MR. PAGLIARO:   Nothing from our side, Your Honor.

15    Thank you.

16                 THE COURT:    Okay.   We have a substantial disagreement

17    in my chambers as to the correct pronunciation of your client.

18    So I'm the world's worst at pronunciation, so can you say it

19    very slowly and a couple times for me, and I'll try and do it

20    phonetically and see if I can get it right in front of the jury?

21                 MR. PAGLIARO:   And I'll be candid with you.         When you

22    started saying that, I thought you were going to say my last

23    name.

24                 THE COURT:    No, I think I can handle that.

25                 MR. PAGLIARO:   Givaudan.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 23 of 223
                                                   of the transcript.
                                                                   24



 1               THE COURT:    Givaudan.

 2               MR. PAGLIARO:     Givaudan.

 3               THE COURT:    Givaudan.    If I say it fast enough,

 4    Givaudan, is that good enough?

 5               MR. PAGLIARO:     Yeah.

 6               THE COURT:    Great.   Well, I won't tell you some of the

 7    pronunciations we came up with, but they weren't really close to

 8    Givaudan, so we'll do our best.

 9               Okay.   We'll see you back here at nine o'clock for

10    jury selection.    Thank you very much.

11               (Recess at 8:29 a.m.)

12               (The jury venire entered the courtroom.)

13               THE COURT:    Good morning, everybody.      Would you all

14    raise your right hand, all the potential jurors, and I'm going

15    to swear you in.

16               (The jury venire was sworn.)

17               THE COURT:    Thank you.    Good morning.     Please be

18    seated.

19               We have a fascinating case, I think one of the most

20    interesting cases that is going to be tried in the 15 years I've

21    been a United States District Court judge.         And so you don't

22    realize it, but you're awfully lucky to be selected to be in

23    this panel.

24               And here's what we're going to do now.         My law clerk

25    Nick is going to read the names of the 14 individuals that our

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 24 of 223
                                                   of the transcript.
                                                                   25



 1    computer has randomly selected, and we're going to take those 14

 2    and seat them in the jury box.       And then we're going to start

 3    with the 14.    But we're probably going to lose some of those

 4    people.   So if you're not initially called to be in the 14, I

 5    know you'll be incredibly disappointed.        But there's still a

 6    substantial opportunity that you'll be called.         And then once we

 7    get the 14 selected, then I'll explain what we're going to do

 8    next.

 9                But, Nick, would you read the names of the 14

10    potential jurors that have been randomly selected by our

11    computer.

12                THE CLERK:   Yes, Your Honor.     Lyle Woodward.

13                THE COURT:   If you'd just please come forward, and our

14    court security officer will seat you.

15                THE CLERK:   Lindy Jessen, James Bravo, Norman

16    Thoreson, Janice Henningsen, Sally Jo Ross, Paula Meinen, David

17    Jensen, Sandra Wienhold, Karen Rens, Roseanna Green, Lawrence

18    Haak, Stacy Bezoni.

19                THE COURT:   We're down to our 14th juror.       It's kind

20    of like winning the Powerball.       It gets pretty exciting to see

21    who's going to be our 14th one here.

22                THE CLERK:   And the winner is Sandra Andersen.

23                THE COURT:   Is Sandra Andersen hiding?       Nobody claims

24    to be Sandra Andersen?     You know, I've been waiting for this day

25    for 15 years where somebody doesn't want to win the Powerball.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 25 of 223
                                                   of the transcript.
                                                                   26



 1    We've got the big check right in back here waiting for you, but

 2    I don't know what happened.      Third call for Sandra Andersen.        We

 3    know you're out there somewhere.

 4                Okay.    Why don't you just skip it and go to the next

 5    one.

 6                THE CLERK:    Cleo Welch.

 7                THE COURT:    I wanted to welcome everybody.      And for

 8    those of you who are potential jurors who didn't make it into

 9    the top 14, I actually did see this wave of disappointment come

10    across your face when we called the 14th name.         But there's

11    still a substantial likelihood that we're going to lose 1 or

12    more of the 14 for a variety of reasons during the questioning

13    process this morning.     So you still have a chance to make it on

14    the jury.

15                Because I'm going to flash a lot of my questions up on

16    the screen, those of you folks who are on this side might want

17    to slide down.      It doesn't look like there's a whole lot of

18    room, but if you can fill in down on this side of the courtroom,

19    you'll be able to see the screen a little bit easier.

20                I'm Mark Bennett.    And I'm in my 15th year as a United

21    States District Court judge.      And I'm really serious.         We have a

22    very fascinating case.

23                How many of you in the 14 here have been called to

24    jury duty in this courtroom before?        And were you in jury

25    selection on the patent case that was two weeks ago?

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 26 of 223
                                                   of the transcript.
                                                                   27



 1               PROSPECTIVE JUROR WELCH:       No.

 2               THE COURT:     No.   Was it earlier this year?

 3               PROSPECTIVE JUROR WELCH:       No, it was several years

 4    ago.

 5               THE COURT:     Several years ago, okay.     So all of you

 6    are new.   We have a new jury pool as of January 1, but we've had

 7    quite a few trials since January 1.        So I thought maybe that was

 8    one that you were in.

 9               So I wanted to obviously welcome you.          The name of the

10    case is Ronald Kuiper and Conley Kuiper versus -- it's called

11    Givaudan, Givaudan -- I mispronounced it for a while, but I

12    think that's the correct pronunciation -- Givaudan Flavors

13    Corporation.    And I want you to meet the lawyers.        You'll notice

14    we do have quite a few lawyers in the case.         And I'm just going

15    to have them stand up and just say their name, and then you're

16    going to have an opportunity to meet them and learn a little bit

17    more about them in a few minutes.       So why don't we start with

18    the plaintiffs.    Mr. McClain?

19               MR. MCCLAIN:    Yes, Your Honor.     My name is Kenneth

20    McClain.

21               MR. CRICK:     My name is Steven Crick.

22               MR. BRITTON-MEHLISCH:       My name is Scott

23    Britton-Mehlisch.

24               MR. MCELWAIN:     My name is Dennis McElwain.

25               THE COURT:     Thank you.    And then on the defense.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 27 of 223
                                                   of the transcript.
                                                                   28



 1                MR. PAGLIARO:    Good morning.    My name is Jim Pagliaro.

 2                MR. MEADOR:    Good morning.    My name's Tom Meador.

 3                MR. HOLTMAN:    I'm Steve Holtman.

 4                MR. DONOVAN:    Good morning.    My name's Kevin Donovan.

 5                THE COURT:     And you'll get to know them better as the

 6    trial proceeds.

 7                As I indicated, most of the lawyers are from out of

 8    state.    Each side has one lawyer from Iowa.       That's not unusual.

 9    In most of my civil cases, a very high percentage of them, we

10    have out-of-state lawyers.      And I think it's always a pleasure

11    to have out-of-state lawyers.       And I try and treat them as well

12    as I would an Iowa lawyer, and I'm sure that you all will extend

13    them that same courtesy too.

14                I wanted to tell you a little bit about the federal

15    courts.    There are actually 94 different federal courts.           Iowa

16    has the Northern District and the Southern District.          And it's

17    roughly Highway 30 kind of going all across the state.

18                And in our district, the Northern District, we have

19    two full-time district court judges.        We're very lucky to have

20    senior judges.    Not every district has senior judges.           They're

21    judges who are semi-retired but still keep working.          And then we

22    have two what are called United States magistrate judges.             And I

23    wanted you to meet our judges because we're a small court.             And

24    I think it's important to remember that federal court doesn't

25    belong to me or the judges.      It belongs to all of you, the

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 28 of 223
                                                   of the transcript.
                                                                   29



 1    citizens.    So I'd like you to get to know our judges.

 2                 This is one of our senior judges.      We're very lucky to

 3    have a senior judge, Donald O'Brien.        Judge O'Brien just turned

 4    85 years old.    When he turned 65 20 years ago, he could have

 5    quit and drawn full pay for life.       But he's continued to work.

 6    He takes a reduced caseload but a very significant caseload,

 7    doesn't get a penny for working.       He could be laying on the

 8    beach in Hawaii drawing full pay for life, but he's continued to

 9    work.     He's a very hard worker.

10                 A few years ago I was coming into the courthouse

11    pretty late on a Saturday night between 10:30 and 11 because I

12    wanted to pick up some files to work with at home on Sunday

13    morning because we had some out-of-town guests.          Normally I

14    would come in early Sunday morning.        But I wanted to work at

15    home.

16                 And when I went into my chambers, I noticed there was

17    a light on down at the end of the hall, and I went down to shut

18    it off, and it was coming out of Judge O'Brien's chambers.            And

19    I was startled because there was Judge O'Brien, 10:30 on a

20    Saturday night, working.      And he was getting ready to go up to

21    federal court in Minnesota because they had a shortage of judges

22    and help them out.

23                 This is our chief magistrate judge, Paul Zoss.        Judge

24    Zoss did a lot of work on this case in the pretrial proceeding

25    stages.    And our magistrate judges do a lot of work on both

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 29 of 223
                                                   of the transcript.
                                                                   30



 1    civil and criminal cases, and we're very lucky to have very

 2    talented United States magistrate judges.

 3                 This is Judge Edward McManus.     Judge McManus is, I

 4    believe, 88 or 89 years old.      And he's over in Cedar Rapids.              He

 5    was appointed a United States District Court judge on July 17,

 6    1962.     I was 12 years old when Judge McManus became a district

 7    court judge.    And just like Judge O'Brien, he could have retired

 8    at age 65, drawn full pay for life, but he continues to take a

 9    active caseload.    And we're obviously deeply indebted that both

10    our senior judges continue to work so hard.

11                 This is our chief judge, Judge Linda Reade.          I've

12    actually known Chief Judge Reade since before she went to law

13    school.    And so we have a 30-plus-year friendship.        And she was

14    appointed about five years ago.       And she's our resident judge in

15    Cedar Rapids, although she comes over here, and I also go to

16    Cedar Rapids.

17                 And this is our newest judge, Magistrate Judge Scoles,

18    John Scoles.    He's over in Cedar Rapids.      And he was a state

19    court judge in the Mason City area for 20 years before we were

20    fortunate enough to hire him when our magistrate judge at the

21    time, Judge Jarvey, was appointed by President Bush as a United

22    States District Court judge in the Southern District.

23                 And interestingly enough, Judge Jarvey is here today

24    trying a criminal case for me in our downstairs courtroom.               So

25    if you see other jurors, that's why.        We've got a criminal case.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 30 of 223
                                                   of the transcript.
                                                                   31



 1    And so far I haven't been able to clone myself.          So when I'm in

 2    a longer civil trial or a longer criminal trial -- we have a lot

 3    of criminal cases.     So we get our friends to come in and help

 4    out.

 5                 We hold court in Sioux City and Cedar Rapids, and kind

 6    of all of us go both directions.       I usually travel a little bit

 7    more than the other judges.      And so I do know what it's like to

 8    take you away from your family and your jobs and your friends

 9    for a long trial.     And in a minute I'm going to tell you how

10    long I think this trial is going to be, but I did want to tell

11    you that a few years back I tried an 11-week trial in Cedar

12    Rapids.   And I guess it was quite a while ago because my

13    daughter was much younger.

14                 And about the fifth or sixth week -- I would get back

15    late, late Friday night and then leave Saturday (sic) afternoon

16    because it's 330 miles one way.       And about the fifth or sixth

17    week I was running errands on a Saturday, and I had my daughter

18    with me, and she's a very sweet child, and she looked up at me

19    with her big brown eyes, and she goes, "Daddy, can I ask you a

20    question?"    I go, "Sure, Sweetie.     What is it?"     And she goes,

21    "Have you moved to Cedar Rapids?"       I said, "No, Honey, it's

22    just -- it's going to be another month or so, and I'll be back

23    home."

24                 And so I do know what it's like, and it is a

25    sacrifice, and we appreciate the sacrifice that the jurors are

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 31 of 223
                                                   of the transcript.
                                                                   32



 1    going to make who get selected to serve.

 2                 I wanted to kind of tell you who everybody is in the

 3    courtroom.    This is my law clerk Nick.      Nick is in his first

 4    year of a two-year clerkship.       Federal judges are privileged to

 5    be able to hire the brightest law students from law schools

 6    around the country as law clerks.       And they usually work with us

 7    for a couple of years and then go on to another position.            And

 8    Nick comes from -- to Sioux City.       He was originally raised in

 9    this area, and he's a graduate of the University of Iowa College

10    of Law.

11                 My court reporter Shelly is in front of me.          I think

12    she has the hardest job in the courtroom.         While most trials are

13    interesting most of the time, no trial is interesting all of the

14    time.

15                 So, for example, I've been looking at this ceiling of

16    this courtroom for 14 1/2 years.       And I can always find

17    something new in it.     Shelly, on the other hand, she doesn't get

18    to daydream.    She's gotta take down every single word that

19    everybody says.    She can never take a mental lapse.        It is a

20    very difficult job.     She is an absolutely outstanding court

21    reporter.    She's in her 12th year, and we were able to lure her

22    to the warm, balmy Iowa climate from Florida.         And so we're very

23    lucky to have Shelly.

24                 We have what we call court security officers.         We call

25    them CSOs.    And they're in the courtroom whenever one of our

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 32 of 223
                                                   of the transcript.
                                                                   33



 1    judges are in the courtroom.      And we have Gene and Bill in here

 2    right now.    And they'll be trading off.      They're really easy to

 3    spot because they have the blue blazers.        They have the fancy

 4    badges, and then they have that earpiece.         It's usually country

 5    western in the morning, and they like talk radio in the

 6    afternoon.    So if it gets too loud, just ask them to turn it

 7    down.

 8                 I'm just kidding about that.     But we're very lucky to

 9    have court security officers that are such high quality and so

10    experienced.    And they'll make sure the jurors get down to the

11    jury room and back and forth and take care of a lot of your

12    needs during the trial.      So they do a terrific job.

13                 We have the jury and then the judge.      And I want to

14    talk about -- woops, and the lawyers.        I want to back up here

15    for a minute, and I want to talk about what I do, and then I'm

16    going to talk about what you do because what you do is a lot

17    more important so I should reverse the order.

18                 I'm kind of the -- what would be a metaphor?         Maybe

19    the captain of the ship?      It's my obligation to give both sides

20    as fair a trial as I can.      And I also think it's my obligation

21    to make sure that we run a very efficient trial.          And I'm pretty

22    sure that you believe your time is as important to you as I

23    believe my time is to me.

24                 And so I work very hard -- you can ask the lawyers.

25    Pretrial I was cracking the whip to try and make this as

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 33 of 223
                                                   of the transcript.
                                                                   34



 1    efficient a trial as possible.       But I always have to balance

 2    fairness to the parties with efficiency.        And that's not always

 3    an easy task to juggle.

 4                But I think you'll find that we run a very efficient

 5    trial.   For better or for worse, the Northern District of Iowa

 6    has led all 94 districts in 8 out of the last 10 years in

 7    numbers of trials per judge.      And so we have lots of trials.           I

 8    have had a lot of experience.       Hopefully I've learned a lot from

 9    that experience, and hopefully you'll be the beneficiary of that

10    experience.

11                Just to give you an example, they just came out with

12    the statistics for 2008.      The national average was 14 trials per

13    judge.   Judge Reade and I were credited with 70 trials.           So you

14    can get a sense of how busy our district is.         We're supposed to

15    get a third federal judge in our district, and there's been a

16    bill in Congress for a decade now that's never passed.            But if

17    it gets passed, we'll get a third judge.        And I'll be very happy

18    about that.

19                So I've had a lot of obligations to rule on things

20    pretrial.     And then my job as judge is to try and make sure the

21    trial runs efficiently and fairly.       The lawyers are going to

22    make objections during the trial, and that's their job.            They

23    have an absolute duty on behalf of their clients to make

24    objections when they think evidence isn't being properly

25    presented or it might violate one of the many Federal Rules of

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 34 of 223
                                                   of the transcript.
                                                                   35



 1    Evidence.   They would not be doing their job unless they make an

 2    objection, so I'll probably have lots of objections to rule on.

 3                There may be motions made during the trial either in

 4    your presence or out of your presence.        I'll have to rule on

 5    those.   One of my primary obligations is to do the jury

 6    instructions in the case to tell you what all the claims of the

 7    plaintiff are and what all the claims of the defendant -- what

 8    those claims are.     And I do those in writing.

 9                And I'm a little bit different than my colleagues.

10    Most judges wait till the end of the case to give you the jury

11    instructions.    And when I graduated from law school a long time

12    ago, 1975, that never made much sense to me.         To me it was like

13    telling you drive down to Albuquerque, but we won't give you a

14    map, and if you're lucky enough to find it, once you get there,

15    we'll give you a map as to what the best way to go was.           So I

16    like to give the instructions at the very beginning of the trial

17    so you know what to look for when you hear the evidence.

18                And I've done that.     It took a lot of work with the

19    lawyers and my staff and I, but we've got the instructions all

20    done.    And after we get the jury sworn in and some time this

21    afternoon even before you hear the opening statements of the

22    lawyers, I'm going to go through all the instructions with you

23    so you'll know exactly kind of what to look for in the case.             So

24    that's essentially my job.

25                Your job as the jury is you've got the toughest job in

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 35 of 223
                                                   of the transcript.
                                                                   36



 1    the courtroom because you're the judges of the facts.             Notice I

 2    didn't say anything about me judging the facts because I don't

 3    really do that when there's a jury.        If it's a nonjury case,

 4    then I have to listen to all the evidence and decide what

 5    happened.   But because we have a jury trial here, you're the

 6    judges of the facts.

 7                There will be a lot of witnesses that will get in that

 8    witness box and testify.      There will be direct examination, and

 9    then the other side will do a cross-examination, and then there

10    will be a redirect examination.       There are lots of exhibits in

11    this case, documents.     The lawyers have an opportunity because

12    of our technology to put those documents up on the screen so

13    that you can see the document or exhibit that the witness is

14    talking about.    They may or may not do that, but I suspect that

15    they will most of the time.

16                So you're going to hear all of the evidence in the

17    case.   And then when we're done with all the evidence, you'll

18    have to decide what happened, what the facts are, and then

19    you'll apply those facts to the lengthy jury instructions that

20    I'll be giving you, and then you'll have to decide the ultimate

21    outcome of the case.     So that's essentially your job.

22                And then, of course, we have the lawyers and the

23    parties they represent, and I've already told you we have

24    excellent lawyers in this case.       I think you'll enjoy how

25    professional and exceptionally competent they are in presenting

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 36 of 223
                                                   of the transcript.
                                                                   37



 1    this case.

 2                 I think there are three great civic responsibilities.

 3    We have voting, paying taxes which is coming up not too far down

 4    the road, and then jury duty.

 5                 I just want to see a show of the hands.       Of the 14 of

 6    you, when you got your summons to serve on jury duty a while

 7    back, how many of you when you opened it up were absolutely

 8    thrilled?     You just -- you were so excited that you got the

 9    summons?    Does that ring a bell with anybody?       Anybody, did you

10    just start doing jumping jacks you were so excited?

11                 Well, how about last night when you went to bed?        Did

12    you have a hard time going to sleep because you were so excited

13    about what might happen this morning?        Anybody have that

14    experience?

15                 Well, how about this?    How about when you got the

16    summons, awe, nuts, why did I have to get it?         I can't believe I

17    got it.    Of all the people in northern Iowa, why did they pick

18    on me?    Gee whiz, I've gotta go to Sioux City.       I don't want to

19    do it.    It's not something I care to do.      I'm going to try and

20    come up with some great excuses, see if I can con that judge

21    because I don't want to serve on a jury.        Anybody have any

22    reaction kind of similar to that?       Oh, I see a few people

23    smiling.

24                 I just wanted to share with you my experience.        Most

25    people in our court when they get their notice, they're not very

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 37 of 223
                                                   of the transcript.
                                                                   38



 1    excited about coming to this third-floor courtroom.          However,

 2    the vast, vast, vast majority of people who get selected to

 3    serve as jurors find it to be one of the most interesting,

 4    fulfilling, and rewarding experiences they've ever had.

 5                 Now, you're probably thinking, well, the judge just

 6    says that.    Well, I know it's true because in every trial I've

 7    ever had since my first trial in September of 1994, I use a

 8    questionnaire afterwards.      I'll meet with the jury after your

 9    verdict, and I'll hand you a questionnaire.         And you get to take

10    it home and fill it out.      And guess what?     You get to evaluate

11    each and every one of the lawyers.       You get to evaluate me,

12    whether I did a good job.      Was I fair to both sides?      Was I

13    conscientious?    Did I do a competent job in handling the trial?

14    You get to evaluate our CSOs.       Are they courteous?     Have they

15    been polite?    You get to evaluate a lot of things about the

16    trial process.    And I read every one of those questionnaires

17    because we've changed a lot of the way our court does business

18    based on the feedback that we've gotten from jurors.

19                 So it's very important to me.      But one of the things

20    that I constantly see when you had a chance to write out some

21    answers is that people are actually shocked at how enjoyable

22    jury service is.    And we get a lot of people, like, can we come

23    in on the next case?     I mean, they really want to come back as

24    jurors.   So I hope you have a very positive experience.          I think

25    you will.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 38 of 223
                                                   of the transcript.
                                                                   39



 1               And I'd like you to look at it this way.         How many of

 2    you have had relatives that have fought in either the World

 3    War -- World War II or Vietnam War or some of the conflicts in

 4    Iraq, Iraqi Freedom and the other conflicts the United States

 5    has been in?    How many of you have had relatives of the 14?

 6    Well, vir -- I think I see every hand go up.

 7               My father passed away five years ago, but he was a

 8    World War II veteran and fought in the Pacific Theater.            And

 9    when I first became a federal district court judge in 1994, he

10    came and he watched several of my trials.         And we had some

11    really great discussions.      And one of the things he told me

12    was -- and I had never thought of it this way.         It really

13    changed the way I look at my job.       He said, you know, "When I

14    was in the Pacific Theater fighting to defend the Constitution

15    of the United States, one of the things I was fighting for was

16    the right to trial by jury."      And I never thought about it that

17    way.

18               And so I'd like to think that when I'm a trial judge

19    in a jury trial I not only honor my father but every man and

20    woman who fought to defend the freedoms of the United States and

21    will continue to do so.

22               We take jury trials for granted in this country.              But

23    when there are new democracies formed around the world, one of

24    the first things they do is they want the right to trial by jury

25    in their new Constitution.      And I have a lot of federal judge

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 39 of 223
                                                   of the transcript.
                                                                   40



 1    friends who travel overseas and help these new democracies draft

 2    a new constitution.     And trial by jury, it is coveted in other

 3    countries that haven't had it.       We kind of take it for granted.

 4               Couple of months ago I was going down to give a speech

 5    to a group of judges and lawyers on trial by jury in Texas.            And

 6    whenever I travel to talk to judges or lawyers in another state,

 7    I always like to research a little bit about that state.

 8               And so because I was talking on the right to trial by

 9    jury, I did some research on Texas.        And I had forgotten that

10    Texas actually succeeded from Mexico, and they had their own

11    declaration of independence when they succeeded from Mexico.

12    And in the very first paragraph of that declaration of

13    independence, one of the reasons why they succeeded from Mexico

14    was because Mexico did not have the right to trial by jury.            And

15    they wanted that trial by jury.       So I thought that was really

16    interesting.

17               I'm a history buff.      I'm not going to bore you, but

18    it's important to know the history and the tradition that

19    happens in this courtroom every time we have a jury trial.

20               Jury trials came here from England in 1066.            They're

21    mentioned in the Declaration of Independence.         They're so

22    important that they appear twice in the United States

23    Constitution:    In the Seventh Amendment for right to civil

24    trial -- I'm sorry, for a right to jury trial in civil cases

25    involving more than $20 -- and I'll give you the first clue;

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 40 of 223
                                                   of the transcript.
                                                                   41



 1    this case involves more than $20 -- and in the Sixth Amendment

 2    for right to trial by jury in criminal cases.

 3                 Jury trials replaced trial by ordeal and trial by

 4    combat.    Trial by ordeal would be when in England they would put

 5    a defendant in a big pot of boiling water.         And if he survived,

 6    he was deemed not guilty.      If he perished, he was deemed guilty.

 7                 Trial by combat would be dueling and jousting and the

 8    like.     And, of course, we've replaced all of that with trial by

 9    jury.

10                 Now, we're about to start what the lawyers often call

11    voir dire, voir dire.     It's pronounced differently.       It's a

12    French term, and it means to speak the truth.         And all of our

13    goals on the plaintiffs' side and the defense side, we're

14    looking for eight jurors who can be fair and impartial.

15                 We're going to ask you a lot of questions.       How many

16    of you are nervous about the questions we're going to ask you?

17    Anybody a little bit anxious?       Okay.   I see a number of hands go

18    up.     You should be because we're gonna -- no, I'm just kidding

19    you.     There's no reason to be nervous.     We're not going to ask

20    you what I would consider to be deeply personal questions that

21    you would be embarrassed to answer in open court.          But we are

22    looking for attitudes and life experiences just to determine

23    whether we all think you can be fair and impartial in this case.

24                 And actually what happens is once I'm done asking my

25    questions and then the lawyers, each side, are done asking their

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 41 of 223
                                                   of the transcript.
                                                                   42



 1    questions, we've still got 14 of you.        And we're going to use an

 2    8-person jury because that's what I use in a civil case.            I use

 3    12 in a criminal case.     And so each side will get to what we

 4    call strike.    It sounds bad, doesn't it, strike?        There's

 5    actually a big boxing glove that comes out of the wall, boom,

 6    shoots you back to the back of the courtroom.         No, not really.

 7    They just strike your name on a sheet, and then Nick announces

 8    the name of the 8 who will actually serve as jurors.

 9               So that's what's ultimately going to happen after all

10    the questions.    Under our system, the lawyers, each side, they

11    have to exercise 3 strikes each.       And that will eliminate 6 of

12    the 14, and then we'll have 8.

13               But for our justice system to work, you have to answer

14    openly and honestly.

15               We respect your privacy, so I don't think it will

16    happen in this case.     But if there's an answer to a question

17    that you just can't bring yourself to answer truthfully in front

18    of everybody, we can bring you up to what we call sidebar over

19    here.   I blast everybody with this very unpleasant noise so they

20    can't hear what we're saying.       A microphone gets activated here

21    at sidebar.    Shelly has a special set of headphones that she

22    puts on that's directly wired to the microphone, and then you

23    have to answer the question in front of the lawyers.

24               So you'll need to let us know if that happens.           And

25    we'll move you to sidebar to answer the question.          But probably

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 42 of 223
                                                   of the transcript.
                                                                   43



 1    hasn't happened in the last 20 trials or so.

 2                And sometimes you have a duty not to serve.           I mean,

 3    I'm very big on your duty to serve.        But, for example, we found

 4    out this morning that the first cousin of one of the people

 5    involved in the trial was in the jury panel.         So that wouldn't

 6    be right.   So everybody agreed that that person should be

 7    eliminated, and we were able to send them home.          So sometimes

 8    you have a duty not to serve.

 9                I was in a law firm in Des Moines for 17 years before

10    I became a federal judge.      And even though it's been a long time

11    now and I could serve in their cases, I've decided I'll never

12    serve in my old law firm's cases.       It's just something I

13    personally decided I think I have a duty not to serve.            They're

14    still my best friends.     And if I ruled against them, it's a

15    no-win deal.    If I rule in their favor, then the other side

16    would think I'm ruling in their favor because it's my old law

17    firm.    So I've just decided I have a duty not to serve.          So that

18    would be an example.

19                If I own stock in any companies, I have a duty not to

20    serve.   The last two weeks I spent in a very, very complex

21    patent trial.    Had I been very bright, I would have gone out and

22    bought a single share of stock in each company, and then I

23    wouldn't have had to have been in the meat grinder for two

24    weeks.   But I was just kidding about that.

25                Okay.   I'm going to tell you a little bit about what

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 43 of 223
                                                   of the transcript.
                                                                   44



 1    this case is about.     And I just have a written statement.        This

 2    is not evidence, but it's just to give you a little bit of

 3    summary.

 4               Ronald Kuiper and Conley Kuiper versus Givaudan

 5    Flavors Corporation, statement of the case.         The following brief

 6    summary of the case is not to be considered evidence or proof of

 7    any facts or events in the case.       It simply informs you of the

 8    factual disputes between the parties.

 9               This is a civil lawsuit by Plaintiffs Ronald Kuiper

10    and his wife Conley Kuiper against Defendant Givaudan Flavors

11    Corporation.    Although Givaudan Flavors Corporation was also

12    known at various times as Tastemaker and Fries & Fries, I will

13    call the defendant simply Givaudan.

14               The litigation involves the Kuipers' claims for a lung

15    injury to Ronald Kuiper allegedly caused by inhaling fumes from

16    butter flavorings made by Givaudan that were used by Kuiper's

17    employer, American Pop Corn Company, to make microwave popcorn.

18               The Kuipers claim that the butter flavoring sold by

19    Givaudan were defectively designed, that Givaudan failed to

20    provide adequate warnings of the hazardous health effects of its

21    butter flavorings, and that Givaudan failed to test its butter

22    flavorings for hazardous health effects when they were used in

23    foreseeable ways.

24               The Kuipers seek damages for the lung injury to Ronald

25    Kuiper and the injury to his relationship with his wife Conley

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 44 of 223
                                                   of the transcript.
                                                                   45



 1    Kuiper allegedly caused by Givaudan's defective design, failure

 2    to warn, and failure to test.

 3               Givaudan denies the Kuipers' claims.        Givaudan also

 4    contends that the Kuipers waited too long to file their claims,

 5    that its butter flavorings met the state of the art at the time

 6    they were sold, and that Ronald Kuiper and others were at fault

 7    for his injuries.     You will be asked to resolve these disputes

 8    among the parties.

 9               So just to try and put this case in context because

10    federal court we hear so many kind of cases, the first big

11    divide would be between criminal and civil.         A criminal case

12    would be when the U.S. Attorney's Office and, more specifically,

13    the grand jury indicts someone for 1 of 6,800 different federal

14    crimes.   And I actually spend most of my time trying criminal

15    cases.

16               But then we also have a civil docket.         And the civil

17    docket can include any type of civil claim.         We have a lot of

18    civil rights cases, a lot of employment discrimination cases

19    where people lose a job and they sue because of age

20    discrimination or race discrimination.        We have a lot of just

21    general business litigation where there's a dispute among a

22    contract between two corporations or an individual and a

23    corporation.    We have securities violations of the securities

24    laws, all kinds of -- and this would be what we call a products

25    liability case where somebody's alleging that a product is

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 45 of 223
                                                   of the transcript.
                                                                   46



 1    defective.    So if we had to put it in a class, this would be a

 2    products case.    So that's essentially what the case is about.

 3                 Now, I want you to meet the lawyers, and they're just

 4    going to introduce themselves.       And then they're going to list

 5    for you the potential witnesses that they're going to call.           And

 6    I want you to listen very carefully to the names because we want

 7    to find out if you know any of the potential witnesses.

 8                 And it may or may not be a problem depending on how

 9    well you know them if you know any of the potential witnesses.

10                 So Mr. McClain?

11                 MR. MCCLAIN:    Yes, Your Honor.     Your Honor, first of

12    all, I think that the lawyers have all been introduced?

13                 THE COURT:     Yes, that's fine.

14                 MR. MCCLAIN:    But I would like to introduce my client

15    Ronald Kuiper who is seated here, Your Honor, and his wife

16    Conley Kuiper who's seated here.

17                 THE COURT:     And I wanted to tell you something about

18    Mr. Kuiper.    He's been placed on some medication recently that's

19    called a diuretic, and that makes you have to go to the bathroom

20    fairly often.    And so Mr. Kuiper's going to be going in and out.

21    And I didn't want you to think he wasn't interested in his own

22    case, that he's going in and out because of the medication he's

23    taking and the medical condition.          And so that's why.

24                 MR. MCCLAIN:    And the witnesses, Your Honor?

25                 THE COURT:     Yes, please.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 46 of 223
                                                   of the transcript.
                                                                   47



 1                 MR. MCCLAIN:    The witnesses are Ronald Kuiper and

 2    Conley Kuiper, Kevin Kuiper, Gladys Crawford, Nancy Lunda,

 3    Vickie Barnes, and Dale Hartshorn, Greg Hoffman, Kevin Remmes,

 4    David Bratton who is here for defendants.         And then we have a

 5    series of depositions of out-of-town witnesses.          Would you like

 6    me to read all of them?

 7                 THE COURT:     Why don't you just read the names and

 8    we'll see.

 9                 MR. MCCLAIN:    Okay.    Michael Davis, an employee of

10    Givaudan Flavors; Karen Duros; Nancy Higley; Dr. James Lockey;

11    Kathie Allison; Dr. David Egilman; Mr. William Ewing; Dr. Alan

12    Parmet; Mr. Mark Rigler; Dr. John Ward; Robert Burns; Mr. Ron

13    Feldkamp; John Hochstrasser; Roy McKay; Stephanie Thompson;

14    Stuart Brooks; John Hallagan.

15                 And I think that's all the witnesses that potentially

16    could be called, Your Honor.

17                 THE COURT:     Yes.   And I'm going to explain the

18    potential to them.     Thank you, Mr. McClain.

19                 I'm a -- you know, I'm a real mean judge, so I make

20    them list all of the witnesses that they might call.          Chances

21    are they're not going to call all of those witnesses, but in

22    order for everybody to be prepared, I make the lawyers list in

23    their pretrial order everybody that might be called.          So we just

24    never know.    My experience is that in most civil cases they

25    don't call all of the listed witnesses.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 47 of 223
                                                   of the transcript.
                                                                   48



 1                 Do any of you think you know Mr. McClain, any of the

 2    other attorneys?     Mr. McElwain is from Sioux City.       Why don't

 3    you raise your hand again, Mr. McElwain, just so they remember

 4    who you are.    Any of you think you know any of the lawyers or

 5    any of the witnesses that Mr. McClain just listed?

 6                 Okay.   Now we're going to pass the microphones.          Rick,

 7    do you have -- oh, there's the microphone.           And let's see.    One,

 8    two, three -- Mr. Thoreson?

 9                 PROSPECTIVE JUROR THORESON:      Yes.

10                 THE COURT:     Who do you think you know?

11                 PROSPECTIVE JUROR THORESON:      I think I know Dale

12    Hartshorn.    Was he an employee at American Pop Corn Company?

13                 MR. MCCLAIN:    Yes, sir.

14                 PROSPECTIVE JUROR THORESON:      Yes.

15                 THE COURT:     Okay.   And how well do you know him?

16                 PROSPECTIVE JUROR THORESON:      I know Dale as

17    acquaintance, but my wife is really close friends with his wife.

18                 THE COURT:     Okay.   Now, let me ask it this way.       I

19    forgot to tell you this too, so this is a good reminder.           I

20    apologize for that.       You know, I told you you have to decide

21    what the facts are.       That's one of the things the jurors do.

22                 PROSPECTIVE JUROR THORESON:      Yeah.

23                 THE COURT:     And does that make sense to you?

24                 PROSPECTIVE JUROR THORESON:      Yes.

25                 THE COURT:     Okay.   Well, as part of determining what

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 48 of 223
                                                   of the transcript.
                                                                   49



 1    the facts are, you have to determine what the lawyers and I call

 2    the credibility of the witnesses.       And what we mean by

 3    credibility is is the witness telling the whole truth, some of

 4    the truth, or none of the truth, and every juror gets to decide

 5    that.   That's your job as jurors.      Are the witnesses -- you

 6    know, if you had an auto intersection case where one side said

 7    it was green and one side said it was red, they both can't be

 8    right, so you have to decide was it green or red.          This is a

 9    little more complicated than a green or a red light auto

10    accident case.    But you have to do the same thing.        You have to

11    listen to all the witnesses and decide their credibility.

12               And here's my concern and I'm sure the concern of all

13    the lawyers.    Because you know a potential witness, are you

14    going to treat that witness differently in determining his

15    credibility than you would the other witnesses who you've never

16    met or known?

17               PROSPECTIVE JUROR THORESON:       No.

18               THE COURT:    You think you'd treat his credibility just

19    like you would any other witness?

20               PROSPECTIVE JUROR THORESON:       I believe so.

21               THE COURT:    Well, let me ask you this.       Because your

22    spouse and his spouse are really good friends, do you think that

23    would influence your view of his testimony in any way?

24               PROSPECTIVE JUROR THORESON:       I don't believe so.

25               THE COURT:    Okay.   Let's say, for example -- I have no

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 49 of 223
                                                   of the transcript.
                                                                   50



 1    idea what he's going to testify to, so I'm just talking very

 2    hypothetical here.     Let's say that after you hear all of the

 3    evidence including Dale's testimony you ultimately decide that

 4    Givaudan didn't do anything wrong under my instructions and you

 5    enter a verdict for Givaudan, for the defendant, which means

 6    Mr. Kuiper doesn't recover -- and his spouse doesn't recover

 7    anything.   Would you have any problem the next time you ran into

 8    Dale, because in a sense you might be saying, you know, "I ruled

 9    for the other side; maybe I didn't believe your testimony"?

10    Now, you could rule for the other side and probably believe his

11    testimony, but you might rule for the other side and not believe

12    his testimony.    And so would that be a problem the next time you

13    ran into him?

14                PROSPECTIVE JUROR THORESON:      No.

15                THE COURT:   Okay.   Do you think you're independent

16    minded enough that you can rule on the evidence in my jury

17    instructions regardless of the fact that you know this

18    particular witness?

19                PROSPECTIVE JUROR THORESON:      Yeah, I hope so.

20                THE COURT:   Okay.   Let me ask you this.      If you were

21    one of the lawyers for Givaudan sitting over there that you've

22    met, do you think they might have -- do you think -- if you were

23    them, do you think you'd be a little bit concerned about having

24    a juror like yourself who knows one of the witnesses sitting in

25    judgment on the case?

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 50 of 223
                                                   of the transcript.
                                                                   51



 1                 PROSPECTIVE JUROR THORESON:     I really can't say what

 2    they would do.

 3                 THE COURT:    No, I'm asking what you would do.      I'm

 4    asking you to put yourself in their situation.

 5                 PROSPECTIVE JUROR THORESON:     I don't know.

 6                 THE COURT:    Okay.   I mean, I guess what I'm trying to

 7    ask is how comfortable are you that you could be totally fair

 8    and impartial in this case to both sides?

 9                 PROSPECTIVE JUROR THORESON:     I think I can be fair and

10    impartial.

11                 THE COURT:    Okay.   Thank you.   Did anybody else know

12    any of the potential witnesses or anybody?

13                 Okay.    Great.   We're going to switch over now to --

14    oh, I'm sorry.       We already did that.   I already asked that.

15    Mr. Pagliaro?

16                 MR. PAGLIARO:     Yes, Your Honor.

17                 THE COURT:    And you don't have to reintroduce your

18    folks if you don't want to, but we would like you to list your

19    witnesses, and if you want to reintroduce them, that's fine too.

20                 MR. PAGLIARO:     Your Honor, may I introduce my lead

21    co-counsel, Mr. Tom Meador, again?

22                 THE COURT:    Yes.

23                 MR. PAGLIARO:     And also from the company Dave Bratton

24    is here as well.      He'll be here at times during the trial as

25    well.   Mr. Bratton?      And also, Your Honor, my court tech person

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 51 of 223
                                                   of the transcript.
                                                                   52



 1    who's helping me --

 2                 THE COURT:   Oh, sure.

 3                 MR. PAGLIARO:   -- his name happens to be Cort

 4    conveniently, Cort Chase.

 5                 THE COURT:   Great name for your job.

 6                 MR. PAGLIARO:   Yes.   When I say Cort, Your Honor, he's

 7    Mr. Chase.

 8                 THE COURT:   Well, good.   I'll let him rule on half of

 9    the objections.    How's that?

10                 MR. PAGLIARO:   Good morning, Your Honor.      I'd like to

11    read the witnesses that we might call in the case.

12                 THE COURT:   Thank you.

13                 MR. PAGLIARO:   Thank you, Your Honor.      Dan Wetzel,

14    David Sitzmann, Dale Hartshorn, David Bratton, Greg Hoffman,

15    Nancy Higley, Paul Farrell, Ed Steiger, Bob Pellegrino, Fred

16    Stults, Glenn Ingraham, Dr. Robert Baughman, Dr. Douglas Linz,

17    Dr. Ross Bacon, Dr. Craig Bainbridge, Dr. John Baller,

18    Dr. Curtiss Farrell.      Listed him twice, Your Honor.      Sorry.

19    Dr. James Oggel and then, Your Honor, also Dr. Lawrence Repsher,

20    Dr. James Stewart, David Weiner, Lisa Pollard, Dr. Randall

21    Hanson, and John McCarthy.

22                 THE COURT:   Okay.   Thank you.

23                 MR. PAGLIARO:   Thank you, Your Honor.

24                 THE COURT:   Do any of the jurors know Mr. Pagliaro,

25    any of the other lawyers, or think they know any of the

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 52 of 223
                                                   of the transcript.
                                                                   53



 1    witnesses?    Yes.   And can we pass that microphone down?        The

 2    acoustics without the microphones are terrible.          With them

 3    they're pretty good.      Would you like to answer some questions I

 4    have, or should I put some karaoke music up there?

 5                 PROSPECTIVE JUROR RENS:    No, I can answer them.

 6                 THE COURT:   Really?   You look like the karaoke type to

 7    me.

 8                 PROSPECTIVE JUROR RENS:    I don't sing well.

 9                 THE COURT:   Really.

10                 PROSPECTIVE JUROR RENS:    No.

11                 THE COURT:   You sure you don't want the karaoke, or

12    you want the questions?

13                 PROSPECTIVE JUROR RENS:    I'll take the questions.

14                 THE COURT:   Okay.   Who do you know?

15                 PROSPECTIVE JUROR RENS:    I know the pulmonologist

16    group that he listed, Dr. Stewart, Dr. Bainbridge --

17                 THE COURT:   Bainbridge.

18                 PROSPECTIVE JUROR RENS:    -- Dr. Bacon.

19                 THE COURT:   Okay.   And are you a patient of that

20    group?

21                 PROSPECTIVE JUROR RENS:    No, I was a nurse under them.

22    I worked at the intensive care Mercy when they were

23    pulmonologists.

24                 THE COURT:   And how closely did you work with them?

25                 PROSPECTIVE JUROR RENS:    I just did rounds with them

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 53 of 223
                                                   of the transcript.
                                                                   54



 1    in the morning.

 2                 THE COURT:    And how often per week would you do rounds

 3    with them?    Most days?

 4                 PROSPECTIVE JUROR RENS:    Yeah, most days.

 5                 THE COURT:    And for what period of time did you work

 6    with them?

 7                 PROSPECTIVE JUROR RENS:    Three years.

 8                 THE COURT:    How do you feel about being a juror in

 9    this case?

10                 PROSPECTIVE JUROR RENS:    Okay.

11                 THE COURT:    Do you think that it's going to give

12    Givaudan an edge because you've worked with some of their

13    witnesses who are going to be testifying?

14                 PROSPECTIVE JUROR RENS:    It could because I know them

15    very well.

16                 THE COURT:    Okay.

17                 PROSPECTIVE JUROR RENS:    The medical aspect very well.

18                 THE COURT:    Sure, because you worked with them

19    professionally.

20                 PROSPECTIVE JUROR RENS:    Uh-huh.

21                 THE COURT:    And I don't want you to answer the

22    question about whether you think they're more believable or less

23    believable.    I don't want to get into that in front of the other

24    jurors.   But because you've worked with them so much, do you

25    think that you might treat their testimony differently than,

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 54 of 223
                                                   of the transcript.
                                                                   55



 1    say, a pulmonologist from Spokane, Washington, who you'd never

 2    met before and who you'd never worked with?

 3               PROSPECTIVE JUROR RENS:      Yes.

 4               THE COURT:     Would you feel more comfortable sitting in

 5    a case that didn't involve medical testimony from doctors that

 6    you worked with?

 7               PROSPECTIVE JUROR RENS:      Yes.

 8               THE COURT:     Okay.   Lawyers have any objection if I

 9    excuse this juror?

10               MR. MCCLAIN:    No, Your Honor.

11               MR. PAGLIARO:     No, Your Honor.

12               THE COURT:     Okay.   Thank you very much.     Thank you for

13    being so candid.     I think you'd make a terrific juror.         And I'd

14    still like to hear you sing karaoke, so I hope we get you back

15    here on another case.     You're just free to leave.

16               And, Nick, would you call our next potential juror.

17               THE CLERK:     Yes, Your Honor.     Donald Loutsch.

18               THE COURT:     Good morning -- is it Mr. Loutsch?        Did I

19    pronounce that correctly?

20               PROSPECTIVE JUROR LOUTSCH:       Loutsch, sir.

21               THE COURT:     Loutsch, okay.    Do you know any of the

22    lawyers or witnesses that may be called in the case?

23               PROSPECTIVE JUROR LOUTSCH:       I probably know

24    Dr. Bainbridge.

25               THE COURT:     Okay.   And how do you know Dr. Bainbridge?

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 55 of 223
                                                   of the transcript.
                                                                   56



 1                 PROSPECTIVE JUROR LOUTSCH:     I was a patient of his

 2    some years back.

 3                 THE COURT:   Okay.   Do you think that might affect your

 4    ability to fairly judge his credibility?

 5                 PROSPECTIVE JUROR LOUTSCH:     I don't believe so.

 6                 THE COURT:   How long were you a patient with the

 7    doctor?

 8                 PROSPECTIVE JUROR LOUTSCH:     Over a period of -- I

 9    don't know -- three, four weeks maybe.

10                 THE COURT:   And how long ago was that?

11                 PROSPECTIVE JUROR LOUTSCH:     1992.

12                 THE COURT:   Okay.   So it's been quite a period of

13    time.

14                 PROSPECTIVE JUROR LOUTSCH:     Yes, sir.

15                 THE COURT:   Do you have any relationship with

16    Dr. Bainbridge outside of that brief period of time where you

17    were his patient?

18                 PROSPECTIVE JUROR LOUTSCH:     No, sir.

19                 THE COURT:   Okay.   And you're satisfied that you could

20    treat his testimony just like you would any other witness?

21                 PROSPECTIVE JUROR LOUTSCH:     Yes, sir.

22                 THE COURT:   Okay.   Anybody else know any of the

23    witnesses?    Yes.   Can we pass that microphone?       Oh, there's one

24    coming.   Stacy Bezoni?

25                 PROSPECTIVE JUROR BEZONI:     Correct.    I recognize the

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 56 of 223
                                                   of the transcript.
                                                                   57



 1    name -- I don't know if he's from Sioux City or not -- but John

 2    McCarthy.

 3                THE COURT:   Okay.   Let's find out.      Who listed John

 4    McCarthy?

 5                MR. PAGLIARO:    We did, Your Honor.

 6                THE COURT:   Okay.   Thank you, Mr. Pagliaro.         Do you

 7    know where he's from?

 8                MR. PAGLIARO:    He's not from Sioux City, Your Honor.

 9    He's from -- I think from New Jersey I think, not from Sioux

10    City.

11                THE COURT:   Okay.   Pretty common name, so that's good,

12    though.

13                PROSPECTIVE JUROR BEZONI:      Okay.

14                THE COURT:   That's why we like to check, you know.

15    That's right.    And that was the only one you thought you knew.

16                PROSPECTIVE JUROR BEZONI:      Yes.

17                THE COURT:   Okay.   Great.    Okay.    Thank you.    American

18    Pop Corn is not a party to this lawsuit.          In other words,

19    they're not a plaintiff.      They're not a defendant.      They're not

20    suing anybody.    They're not being sued.      But they were the

21    employer of Mr. Kuiper.      And I think most people know something

22    about American Pop Corn because it's right over there in Leeds.

23    I guess they have a couple different locations in town.            So we

24    want to know do any of you have any relationship with Givaudan

25    which is probably less likely but I still need to know or

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 57 of 223
                                                   of the transcript.
                                                                   58



 1    American Pop Corn?     Okay.   We've got several, so let's start in

 2    the back row.    Can we pass the microphone to the back row?         And

 3    Miss Ross?

 4                 PROSPECTIVE JUROR ROSS:    Yes.

 5                 THE COURT:   Who do you know, how do you know, what do

 6    you know?

 7                 PROSPECTIVE JUROR ROSS:    My husband has a niece that

 8    has just started with Jolly Time -- or American Pop Corn, oh,

 9    probably about eight months ago.

10                 THE COURT:   Okay.   And what does she do there?

11                 PROSPECTIVE JUROR ROSS:    I believe she is a

12    receptionist.    I'm not real sure what she does out there.         We

13    haven't really talked.

14                 THE COURT:   And I'm sorry.    Was this a niece?

15                 PROSPECTIVE JUROR ROSS:    Yes, my husband's niece.

16                 THE COURT:   Your husband's niece, okay.      Does that

17    make it your niece too?

18                 PROSPECTIVE JUROR ROSS:    Yeah.

19                 THE COURT:   Okay.   Well, you know, I'm really bad on

20    like first cousins twice re -- I never understand that stuff.

21    So -- okay.    So it's your niece, but it's your husband's -- from

22    the husband's side of the family.

23                 PROSPECTIVE JUROR ROSS:    Husband's side, right.

24                 THE COURT:   How much contact do you have with your

25    niece?

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 58 of 223
                                                   of the transcript.
                                                                   59



 1               PROSPECTIVE JUROR ROSS:      We see them maybe two, maybe

 2    three times a year at family gatherings.

 3               THE COURT:    Okay.   When's the last time you've seen

 4    your niece?

 5               PROSPECTIVE JUROR ROSS:      Probably Thanksgiving.

 6               THE COURT:    Okay.   When do you expect to see your

 7    niece next?

 8               PROSPECTIVE JUROR ROSS:      Easter.

 9               THE COURT:    Okay.   If you were selected to serve as a

10    juror in this case, one of the things I'm going to tell you is

11    you can't talk to anybody about this case while you're a juror.

12    Once you reach a verdict and you're released, then you can talk

13    to anybody and everybody as much as you want about this case.

14    So I want to make sure that if you get selected to serve you

15    wouldn't be tempted to call your niece and ask her what she

16    knows about this case, if anything.

17               PROSPECTIVE JUROR ROSS:      I have no problems with that

18    because, like I said, I don't -- actually we don't have her

19    phone number anyway, but, I mean, we do get together at family,

20    so I have no intentions of saying anything.

21               THE COURT:    Okay.   Now, since your niece has started

22    working at American Pop Corn, have you been -- have you seen her

23    at any social functions or in any other way over the last eight

24    months?

25               PROSPECTIVE JUROR ROSS:      Just the one at Thanksgiving.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 59 of 223
                                                   of the transcript.
                                                                   60



 1                 THE COURT:   Thanksgiving.

 2                 PROSPECTIVE JUROR ROSS:    Yeah.

 3                 THE COURT:   Yeah.   Did you discuss much about her job

 4    at American Pop Corn?

 5                 PROSPECTIVE JUROR ROSS:    No, and actually when I went

 6    and picked up popcorn for Western Iowa Tech here about the same

 7    time, I seen her for a couple of minutes, but we didn't discuss

 8    her job or anything, no.

 9                 THE COURT:   Okay.   So have you -- when you say you

10    picked up popcorn, have you been out to the American Pop Corn

11    plant or --

12                 PROSPECTIVE JUROR ROSS:    Yes.

13                 THE COURT:   Okay.   How many times have you been out to

14    the plant?

15                 PROSPECTIVE JUROR ROSS:    Once.

16                 THE COURT:   Okay.   Anything about the fact that you've

17    actually been there that would affect your ability to be fair

18    and impartial?

19                 PROSPECTIVE JUROR ROSS:    No.

20                 THE COURT:   I mean, I've driven by it hundreds of

21    times, and I know people that work there, but it wouldn't affect

22    my ability.    But everybody's different.       And we just want to

23    make sure that having your niece there wouldn't affect your

24    ability to be fair in any way.       Do you think it would?

25                 PROSPECTIVE JUROR ROSS:    No.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 60 of 223
                                                   of the transcript.
                                                                   61



 1               THE COURT:    Okay.   Thank you.    Anybody else have any

 2    connection to American Pop Corn or Givaudan?

 3               PROSPECTIVE JUROR THORESON:       Yes.

 4               THE COURT:    Yes.

 5               PROSPECTIVE JUROR THORESON:       Back in the late '70s I

 6    raised popcorn for American Pop Corn as a farmer.          And my mother

 7    was employed there for probably 10 years.         My aunt was probably

 8    employed there for at least a dozen years, and a cousin retired

 9    out of there, and I have a cousin employed there right now.

10               THE COURT:    Boy, you have a big family.

11               PROSPECTIVE JUROR THORESON:       Well, they're all around.

12               THE COURT:    And a lot of them are connected to

13    popcorn; right?

14               PROSPECTIVE JUROR THORESON:       Yes.

15               THE COURT:    Yeah.   Well, how do you feel about that,

16    because, you know, there's going to be a lot of testimony, I

17    assume, about what went on at American Pop Corn and that type of

18    thing?   And, you know, you've got an obligation if you serve as

19    a juror to the Kuipers and to Givaudan to be totally neutral.

20    And I'm just wondering if all of these connections to American

21    Pop Corn, having raised popcorn for them, I mean, I understand

22    their business motto is they have a lot of farmers that, you

23    know, raise the corn for them.

24               PROSPECTIVE JUROR THORESON:       Yeah.   I -- it would be

25    hard for me to rule I think against American Pop Corn just

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 61 of 223
                                                   of the transcript.
                                                                   62



 1    because so many family members work there and seem like they

 2    were treated well there.

 3                 THE COURT:     Yeah.   Well, you're actually not going to

 4    rule for or against American Pop Corn because they're not either

 5    suing anybody or being sued.        But there's going to be a lot of

 6    discussion about American Pop Corn.        So do you think you might

 7    be better off serving in another case where you didn't have all

 8    these family ties to -- not to a party in the case?          And by a

 9    party I mean somebody who's either suing somebody or being sued.

10    Like in this case the plaintiffs would be the Kuipers, and

11    they're suing Givaudan.       They would be the defendants.       But

12    because a lot of the testimony is going to be about American Pop

13    Corn --

14                 PROSPECTIVE JUROR THORESON:      Yeah, I think I'd be --

15    you know, I think I'd be less partial in a different jury.

16                 THE COURT:     In a different jury.   And you know what?

17    The good news is we've got lots of trials coming up, so we won't

18    have a shortage of cases.       So if the lawyers don't have any

19    objection, I'm going to dismiss Mr. Thoreson.         I think he'd be a

20    great juror, but I think he'd be a little bit better on another

21    case.     Anybody have any objection?

22                 MR. MCCLAIN:    No, Your Honor.

23                 MR. PAGLIARO:    No objection.

24                 THE COURT:     Okay.   Thank you.   You're excused.

25                 Nick?

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 62 of 223
                                                   of the transcript.
                                                                   63



 1                THE CLERK:   Jane Schieuer.

 2                THE COURT:   Thank you very much.

 3                Jane, could you grab that microphone and pronounce

 4    your last name for me, please?

 5                PROSPECTIVE JUROR SCHIEUER:      Schieuer.

 6                THE COURT:   Schieuer?

 7                PROSPECTIVE JUROR SCHIEUER:      Yes.

 8                THE COURT:   I usually have a pretty good eye for this

 9    stuff.   You definitely look like the karaoke type.

10                PROSPECTIVE JUROR SCHIEUER:      Definitely not.

11                THE COURT:   Definitely not.     I'm wrong, huh?      Okay.

12    Do you know any of the lawyers, any of the witnesses, know

13    anything about Givaudan, American Pop Corn?

14                PROSPECTIVE JUROR SCHIEUER:      The only thing that I can

15    relate to is Craig Bainbridge, Dr. Bainbridge, only because he's

16    from the area that I'm from.      But I don't have any personal

17    connections with him.

18                THE COURT:   Do you run into him in town very often?

19                PROSPECTIVE JUROR SCHIEUER:      No.

20                THE COURT:   Do you happen to know where he lives or

21    anything?

22                PROSPECTIVE JUROR SCHIEUER:      No.

23                THE COURT:   Okay.   Anything about the fact that you

24    both -- what community was it that you both --

25                PROSPECTIVE JUROR SCHIEUER:      He was raised in

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 63 of 223
                                                   of the transcript.
                                                                   64



 1    Kingsley, and I was raised in Pierson.        They're just eight miles

 2    apart.

 3               THE COURT:    Yeah.   Right.    Could you pick him out of a

 4    lineup do you think?

 5               PROSPECTIVE JUROR SCHIEUER:       Possibly.

 6               THE COURT:    How long has it been since you've seen him

 7    do you think?

 8               PROSPECTIVE JUROR SCHIEUER:       Oh, probably 15 years.

 9               THE COURT:    Yeah.   Do you think that you're more

10    likely to give credibility to his testimony simply because he

11    came from the same --

12               PROSPECTIVE JUROR SCHIEUER:       No.

13               THE COURT:    No.   And could you judge his testimony

14    just like you would any other witness in the trial?

15               PROSPECTIVE JUROR SCHIEUER:       Yes.

16               THE COURT:    And, see, what we're looking for is jurors

17    who have no opinion one way or the other about the credibility

18    of any of the witnesses, that you don't have a preconceived

19    notion that just because he's a doctor he's going to be telling

20    the truth or just because he came from Kingsley or Pierson he's

21    going to be more truthful than another witness that came from

22    Saskatchewan or South Dakota or New Jersey.

23               And so the idea is we're looking for jurors who are

24    just totally neutral, and then they judge the credibility of

25    each witness based on what they observe in court and how

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 64 of 223
                                                   of the transcript.
                                                                   65



 1    believable they think the testimony is and how it matches up

 2    with other testimony.     And I'm actually going to give you a list

 3    of factors when you judge the credibility of witnesses.

 4                 But the bottom line is I could never list all of the

 5    factors.   And every juror gets to decide for herself or himself

 6    whether they believe all of what a witness says, only part of

 7    it, or none of it.     And I just want to make sure you can do that

 8    fairly with all of the witnesses including Dr. Bainbridge --

 9    Brain -- help me out.

10                 PROSPECTIVE JUROR SCHIEUER:     Bainbridge.

11                 THE COURT:   Bainbridge, thank you.     Could you do that?

12                 PROSPECTIVE JUROR SCHIEUER:     Yes.

13                 THE COURT:   Okay.   Do you know anybody else?

14                 PROSPECTIVE JUROR SCHIEUER:     No.

15                 THE COURT:   Okay.   Would you like to be a juror in

16    this case?

17                 PROSPECTIVE JUROR SCHIEUER:     I -- it's okay.

18                 THE COURT:   Yeah.   What do you think the qualities are

19    of a good juror?

20                 PROSPECTIVE JUROR SCHIEUER:     Truthful, impartial, like

21    you say, open minded.

22                 THE COURT:   Yeah.   Those are all great qualities.       Do

23    you think you'd be a good juror?       Do you think you have those

24    qualities?

25                 PROSPECTIVE JUROR SCHIEUER:     I think so.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 65 of 223
                                                   of the transcript.
                                                                   66



 1               THE COURT:    Do you think it's important to keep an

 2    open mind until you've heard all of the evidence in the case?

 3               PROSPECTIVE JUROR SCHIEUER:       Yes.

 4               THE COURT:    Okay.   Now, in a civil case, the plaintiff

 5    which would be the Kuipers, they get to go first.          And then it's

 6    not till they're done with their testimony that Givaudan gets to

 7    go.   And so it's very important to keep an open mind until

 8    you've heard all of the evidence.       Do you think you'd be able to

 9    do that?

10               PROSPECTIVE JUROR SCHIEUER:       Yes.

11               THE COURT:    Do you think that's an easy thing or a

12    hard thing to do?

13               PROSPECTIVE JUROR SCHIEUER:       Hard.

14               THE COURT:    It is hard.

15               PROSPECTIVE JUROR SCHIEUER:       Yes.

16               THE COURT:    And I want to share an example with all of

17    you because this is a very important concept to keep an open

18    mind until you've heard all of the evidence.

19               We used to have until two years ago a courthouse in

20    Fort Dodge, Iowa.     And for cost reasons we gave it up which I

21    hated to do because I like trying cases in Fort Dodge.            And we

22    still use their county courthouse.

23               But I was driving over -- it was a number of years ago

24    now -- to try a civil case in Fort Dodge.         And I normally would

25    go over Sunday night, but I wanted to spend some extra time with

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 66 of 223
                                                   of the transcript.
                                                                   67



 1    my family.     So I left really early Monday morning, but I kind of

 2    made the mistake of coming to the courthouse here first, and I

 3    got caught up in doing some stuff, so I was late.          I didn't want

 4    to be late.    So I was going a little too fast.       And I was going

 5    on Highway 20, and some of you know how hilly it is,

 6    particularly right before Correctionville.

 7                 And I came across the top of a hill, and my pedal was

 8    pretty far down.    And I looked down at the bottom of the hill,

 9    and I saw a highway patrol car with the lights on pulled

10    somebody over.     So I immediately did what every good citizen

11    would do:     I slammed on my brakes, said a quick prayer, and

12    hoped that the highway patrol officer was preoccupied with

13    writing a ticket to the other driver and that I could, you know,

14    skate by.

15                 And then as I got closer because that's a really long

16    hill, I observed something.      It wasn't a situation of writing a

17    ticket at all.     It was the individual had run out of gas, and

18    the highway patrol officer was assisting the citizen with

19    pouring gas in their gas tank.       And I really had this light bulb

20    go off.   I thought, Here I am a judge going over to judge a

21    case, and I always tell the jurors to keep an open mind until

22    they see all of the evidence.       And I immediately jumped to a

23    conclusion, and my conclusion was exactly wrong.

24                 And it was really a good lesson for me that -- because

25    the thing is we always filter stuff through our life

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 67 of 223
                                                   of the transcript.
                                                                   68



 1    experiences.    And normally when you see the flashing lights and

 2    the car pulled over, you think somebody was speeding and got a

 3    ticket.    It wasn't the case at all.      So that was a good lesson

 4    for me that it's really hard.       And I've worked extra hard since

 5    to always keep an open mind.

 6                 Do all 14 of you think you'll be able to keep an open

 7    mind until you've heard all of the evidence in the case?

 8    Anybody have a problem with that?       Okay.   Good.

 9                 I think we've already kind of covered this, but I just

10    wanted to make sure.     Any of you do business or have any

11    connection with Givaudan or American Pop Corn?

12                 How many of you -- I think the lawyers will get into

13    this, but let me just ask.      How many of you -- I know Jolly Time

14    is one of the brands.     How many of you buy Jolly Time Popcorn,

15    either microwave or the other kind?        Okay.   Yeah.   Looks like 13

16    of the 14 of you.     Anything about the fact that you use Jolly

17    Time Popcorn as a product that would have any impact on your

18    ability to be fair and impartial?

19                 Okay.   Now, this is a case by -- actually that's not

20    correct.    I don't know how that got by me.       Just ignore the

21    first one.    It's not a claim by an individual against his former

22    employer because it's not a claim against American Pop Corn.            We

23    took that from a prior civil case, and that's actually wrong.

24    But I want to get to the bottom bullet point.

25                 Can you give Givaudan the same fair treatment as you

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 68 of 223
                                                   of the transcript.
                                                                   69



 1    can give the Kuipers who are individuals?         In other words, we

 2    have a case where two individuals are suing a corporation, and

 3    it's important that you treat them both fairly.          Do any of you

 4    think you'd have a problem giving -- woops -- giving the same

 5    fair treatment to individuals as to a corporation?          Anybody?

 6                Have any of you ever been to the United States Supreme

 7    Court in Washington, D.C.?      Any of the 14 ever been there?

 8    Okay.   It's a really impressive building, isn't it?         And I think

 9    it was built in -- it started construction in 1932.          And on the

10    south wall of the Supreme Court -- I was very lucky.          The

11    very -- I started my own law firm out of law school, and the

12    very first case I filed went all the way to the United States

13    Supreme Court.    So just three years out of law school, I got to

14    argue it.

15                And I had visited the Supreme Court before.           And I

16    remember when you walk up the south steps of the U.S. Supreme

17    Court, in the granite at the top of the building is this phrase

18    Equal Justice Under Law, Equal Justice Under Law.          And I was so

19    impressed by that phrase that I researched it.         And it's

20    interesting that it's not a quote from a Supreme Court justice

21    like you might think it was.      It was a quote that the architect

22    who designed the building came up with, what we call a

23    layperson, not a lawyer.

24                And so that's always left a big impression on me, that

25    a layperson knew that the purpose of the Supreme Court was equal

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 69 of 223
                                                   of the transcript.
                                                                   70



 1    justice under law.     I wish we had it right up here in big

 2    letters.

 3               And so it's very important to me that both sides be

 4    treated fairly and that you can give Givaudan the same equal

 5    justice that you can give the Kuipers because both sides to a

 6    lawsuit, whether it's two Iowa small companies, whether it's

 7    international corporations, whether it's an individual versus a

 8    small company, a large company, they're entitled to the same

 9    equal justice under the law.

10               Do any of you think based on what you -- the little

11    bit you know about the case so far that you'd have any problem

12    giving both sides equal justice?       Anybody have any problem with

13    that?   Okay.

14               Now, here is the deal on the length of the trial.

15    It's very hard to estimate -- I'm sorry.        It's very hard to

16    estimate the length of a trial, and the longer the trial is, the

17    harder it is to estimate the length.        I've talked to the lawyers

18    several times.    Our best judgment is that the evidence will take

19    ten trial days.

20               Now, yesterday we did not have court.         It was a

21    federal holiday, although all my staff were here.          Lot of these

22    lawyers were here.     So we're going to go four days this week.

23               Regrettably, next week, I have a longstanding

24    commitment to be out of town on Thursday, Friday, and Saturday.

25    So next week we're just going to go Monday, Tuesday, Wednesday.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 70 of 223
                                                   of the transcript.
                                                                   71



 1    So that gives us seven days.

 2               What would now be the third week, I'm confident the

 3    evidence will be done the third week and we'll get the case to

 4    the jury and you'll probably have sufficient time to deliberate,

 5    although I don't know how long you're going to deliberate.             I

 6    never know how long you're going to deliberate.

 7               The average civil case of duration like this

 8    deliberations are probably a half a day to a day.          But in my

 9    patent case, for example, that went ten days -- nine trial days,

10    the jury deliberated two hours and reached a verdict, and it was

11    a very complicated case.      And this is a complicated case.

12               So that's my best judgment.       We know for sure it's not

13    going to be over this week, it's not going to be over next week.

14    It's going to be into the third week.        Will it go into the

15    fourth week?    Possible but unlikely.      And that's the best I can

16    do.

17               Now, the question becomes is it a severe or

18    extraordinary hardship?      It's always a hardship to be taken away

19    from your jobs and your family.       I understand that.     But you

20    have a duty to serve your country as a juror if you can do so

21    without creating a severe or extraordinary hardship.

22               So I'm just asking the 14 of you, do any of you

23    believe that if you were to serve on this jury it would create

24    for you personally a severe or extraordinary hardship?            Anybody

25    raise your hand?    Okay.    We have two hands.     Let's pass the

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 71 of 223
                                                   of the transcript.
                                                                   72



 1    microphone.

 2                 Mrs. Henningsen?

 3                 PROSPECTIVE JUROR HENNINGSEN:      Yes.

 4                 THE COURT:   Yes.    What would be the extreme or

 5    extraordinary hardship?

 6                 PROSPECTIVE JUROR HENNINGSEN:      I do work for two CPAs,

 7    and right now we are doing taxes for farmers which is due the

 8    end of February.    And to get that all done, I am leaving both in

 9    dire needs.

10                 THE COURT:   How many other employees are there for the

11    CPAs?

12                 PROSPECTIVE JUROR HENNINGSEN:      The one, only myself,

13    and the other one, another lady.

14                 THE COURT:   And are farm tax returns a big chunk of

15    your work?

16                 PROSPECTIVE JUROR HENNINGSEN:      Yes.

17                 THE COURT:   Yeah.    Okay.   I'm not even --

18                 PROSPECTIVE JUROR HENNINGSEN:      Not that I wouldn't

19    love to be on the case.

20                 THE COURT:   I understand that, but, you know, if this

21    came -- if we started it the middle of March or better --

22                 PROSPECTIVE JUROR HENNINGSEN:      Been a lot better.

23                 THE COURT:   April 20 or something --

24                 PROSPECTIVE JUROR HENNINGSEN:      Right.

25                 THE COURT:   And I totally understand that, and that's

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 72 of 223
                                                   of the transcript.
                                                                   73



 1    why we have exceptions.      I don't let people off jury duty very

 2    easily.

 3               PROSPECTIVE JUROR HENNINGSEN:        No, and I wouldn't have

 4    asked if it wouldn't have been for that.

 5               THE COURT:     And I totally understand, and I know the

 6    lawyers aren't going to have any problem.         Are we?

 7               MR. MCCLAIN:    No, Your Honor.

 8               MR. PAGLIARO:     No, Your Honor.

 9               THE COURT:     Okay.   So thank you.

10               PROSPECTIVE JUROR HENNINGSEN:        Thank you very much.

11               THE COURT:     Good luck doing all those farm returns.

12               PROSPECTIVE JUROR HENNINGSEN:        Oh, yes.

13               THE COURT:     I was lucky.   I practiced law for 17

14    years, and I never did a single tax return, so I have some

15    empathy for you.

16               PROSPECTIVE JUROR HENNINGSEN:        They're lots of fun.

17               THE COURT:     Thank you.

18               Can we call a new name, Nick?

19               THE CLERK:     Kevin Reiss.

20               THE COURT:     Good luck on all those tax returns.

21               PROSPECTIVE JUROR HENNINGSEN:        Thank you, Judge.

22               THE COURT:     Stacy Bezoni, I haven't forgotten about

23    you, but we're going to talk to Mr. Reiss first.

24               Am I pronouncing your name correctly?         Is it Reiss?

25               PROSPECTIVE JUROR REISS:      Yes.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 73 of 223
                                                   of the transcript.
                                                                   74



 1                THE COURT:   Okay.   Do you know any of the lawyers or

 2    witnesses in the case?

 3                PROSPECTIVE JUROR REISS:     No, sir.

 4                THE COURT:   Do you have any unusual connection to

 5    Givaudan, the defendant, or American Pop Corn?

 6                PROSPECTIVE JUROR REISS:     No.

 7                THE COURT:   Would it be an undue or severe or

 8    extraordinary hardship for you to serve as a juror in the case?

 9                PROSPECTIVE JUROR REISS:     Probably not.

10                THE COURT:   Well, what are you thinking, because now's

11    your only chance?     It's too late once you get selected other

12    than you don't want to do it, right?

13                PROSPECTIVE JUROR REISS:     Well, yeah, I have a very

14    busy job.   It's not going to get done if I'm gone.         Two little

15    ones at home.    I -- that's pretty much it.

16                THE COURT:   Well, do you have -- so are you telling me

17    you don't have somebody to cover the daycare or it's going to be

18    a financial strain if you serve as a juror or both?          Or did I

19    miss the point completely which I may have?

20                PROSPECTIVE JUROR REISS:     No, daycare's fine other

21    than certain days when I pick up.       My wife has her own business.

22    She works late and would lose some clients.

23                THE COURT:   Well, you know, I forgot to tell you this

24    important point.    For the most part, most of the time we're

25    going to be in trial it's going to be 8:30 to 2:30.          And I'm

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 74 of 223
                                                   of the transcript.
                                                                   75



 1    real good about at 2:30, it's like the old Gong Show.             I don't

 2    know how many of you remember that.         Boy, it goes off.     At 2:30,

 3    you're out of here.       And so would that help knowing that,

 4    that -- now, like today we're going to go probably till 4:30 and

 5    maybe a couple other days, but most of the days -- and I'll give

 6    you a schedule pretty far in advance.         Most of the days we're

 7    going to be done at 2:30.      You're from Holstein; is that

 8    correct?

 9                 PROSPECTIVE JUROR REISS:       Correct.

10                 THE COURT:    That's what?    About 45 minutes?

11                 PROSPECTIVE JUROR REISS:      About an hour.

12                 THE COURT:    Yeah.    45 minutes the way I drive, an hour

13    the way you drive; right?      Yeah.     About an hour.   So if you were

14    to be able to get home -- you know, by the time you get to your

15    car and all, you know, you're probably talking quarter to four,

16    four o'clock.    Would that help ease the burden a little bit

17    knowing that you'd get home then or not?

18                 PROSPECTIVE JUROR REISS:      Yeah, as far as home life

19    goes, yes.

20                 THE COURT:    Okay.    You know, we'd be here all week if

21    I asked every single question to figure out if it'd be a severe

22    or extraordinary hardship.         And I have great trust in the folks

23    that we bring in for jury duty, so I'm kind of leaving it up to

24    you.   Are you willing to step up to the plate and serve, or do

25    you think it'd be an extraordinary and severe hardship?

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 75 of 223
                                                   of the transcript.
                                                                   76



 1               PROSPECTIVE JUROR REISS:       Sure, I could do it.

 2               THE COURT:    And, you know, there's a 6/14 chance that

 3    you'll be eliminated anyway.      Okay.    I appreciate that.

 4               Now back to Miss Bezoni.

 5               PROSPECTIVE JUROR BEZONI:        Yes.    I have taught

 6    special education for the last 22 years, and I'm currently under

 7    a new position with Prairie Lakes Area Education Agency as a

 8    special ed consultant.     And I had a parent sign for a full

 9    consent for evaluation for their child.        And I am responsible

10    for completing that evaluation which needs to be, under the law,

11    completed within 60 days.      And we have that time line that I'm

12    working from, and that is due on March 3 as far as --

13               THE COURT:    How far is Aurelia from here?

14               PROSPECTIVE JUROR BEZONI:       A little over an hour.       And

15    my office is actually out of Storm Lake.

16               THE COURT:    Well, you know, one, I have the utmost

17    respect and appreciation for what you do.          My youngest brother

18    just passed away, but he was a special needs child, and I'm

19    particularly sensitive to that.       And so on a personal note I

20    greatly appreciate what you do.       And it's very important.      And I

21    don't want to interfere with what you do.

22               On the other hand, this is important too.         And here's

23    what I'm wondering.     And only you can decide this.       Next week

24    you'll have Thursday and Friday off.

25               PROSPECTIVE JUROR BEZONI:       Uh-huh.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 76 of 223
                                                   of the transcript.
                                                                   77



 1               THE COURT:    You'll have the evenings.       I'm sure you

 2    have other things you'd rather be doing in the evenings.            You

 3    have the weekends.     Is it reasonable for you to use those two

 4    days next week and to use some of the other time?          Would you be

 5    able to get your work done or not?       Only you know the answer to

 6    that.

 7               PROSPECTIVE JUROR BEZONI:       And that's the part that's

 8    difficult because I need to work with the student who's a

 9    kindergartner in a school setting and meet with the teachers

10    and, you know, other personnel that are involved like the school

11    psychologist, the social worker.

12               THE COURT:    So it's dependent on a lot of other

13    people's schedules.

14               PROSPECTIVE JUROR BEZONI:       Yeah, it is.    And my mentor

15    for the year has been on bedrest, and she -- for pre-term

16    pregnancy, and she has not yet returned to the office.            And the

17    other partner in the office, she has a daughter-in-law that's

18    going through chemotherapy treatments, and then she's having hip

19    replacement.    So it just puts --

20               THE COURT:    So the Area Education Agency is spread a

21    little thin it sounds like.

22               PROSPECTIVE JUROR BEZONI:       Yes.

23               THE COURT:    And I suspect it might be awfully

24    stressful for you worrying about what's going on back at the

25    agency if you were in a long trial like this one.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 77 of 223
                                                   of the transcript.
                                                                     78



 1                 PROSPECTIVE JUROR BEZONI:        Yes.    If I knew it were

 2    going to be completed in a shorter amount of time, I wouldn't

 3    have a problem at all.       In fact, I'd, you know, very much like

 4    to do it.     But, you know, given the ten days and your schedule

 5    which I understand, but I'm also required by law to have this

 6    completed.

 7                 THE COURT:     Yeah, and those are very important.

 8                 PROSPECTIVE JUROR BEZONI:        Yeah.

 9                 THE COURT:     I've actually been involved in a number of

10    federal cases involving that.

11                 PROSPECTIVE JUROR BEZONI:        And since it's my first

12    year, I hate to say to the agency, "Sorry, I can't meet that

13    requirement."

14                 THE COURT:     Right.    Yeah.   And -- yeah, I totally

15    understand.

16                 Would the lawyers have any objection if I excused this

17    juror?

18                 MR. MCCLAIN:    No, Your Honor.

19                 MR. PAGLIARO:    No, Your Honor.

20                 THE COURT:     Okay.    Thank you so much.     Good luck with

21    your work.

22                 PROSPECTIVE JUROR BEZONI:        All right.

23                 THE COURT:     And thank you so much for coming in.

24                 Okay.   Nick, would you call a new juror, please.

25                 THE CLERK:     Yes, Your Honor.      Richard Cork.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 78 of 223
                                                   of the transcript.
                                                                   79



 1                 THE COURT:   Good morning.

 2                 PROSPECTIVE JUROR CORK:     Good morning.

 3                 THE COURT:   Mr. Cork, how you doing today?

 4                 PROSPECTIVE JUROR CORK:     Doing fine.

 5                 THE COURT:   Did you know any of the lawyers, any of

 6    the potential witnesses?

 7                 PROSPECTIVE JUROR CORK:     No, I didn't.

 8                 THE COURT:   Do you know anything about Givaudan, the

 9    defendant?

10                 PROSPECTIVE JUROR CORK:     No.

11                 THE COURT:   What about American Pop Corn?      They're

12    not -- like I said, they're not a party in the case, but they're

13    kind of indirectly involved because a lot of the testimony will

14    be, I assume, about what happened at American Pop Corn.

15                 PROSPECTIVE JUROR CORK:     They are from Schaller where

16    I'm from.    That's all I know about them.

17                 THE COURT:   Do they have a -- what do they have in

18    Schaller?    A popcorn plant?

19                 PROSPECTIVE JUROR CORK:     Yes, yes.

20                 THE COURT:   Do you know many of the people that work

21    there at the popcorn plant?

22                 PROSPECTIVE JUROR CORK:     There's only two, and I know

23    both of them.

24                 THE COURT:   Oh, okay.    And how long have you known

25    them?

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 79 of 223
                                                   of the transcript.
                                                                   80



 1                 PROSPECTIVE JUROR CORK:    Long time.

 2                 THE COURT:   And how often do you run into them?

 3                 PROSPECTIVE JUROR CORK:    Sundays.

 4                 THE COURT:   And have you ever talked to them about

 5    anything that might have to do with this case do you think?

 6                 PROSPECTIVE JUROR CORK:    No, I haven't.

 7                 THE COURT:   Okay.   Do you think the fact -- well, how

 8    do you think the fact that you know these two fellas that work

 9    for American Pop Corn might affect your ability to be fair and

10    impartial?

11                 PROSPECTIVE JUROR CORK:    I have no problem with it.

12                 THE COURT:   Okay.   You think you can be fair to both

13    sides in the case?

14                 PROSPECTIVE JUROR CORK:    Yes, I do.

15                 THE COURT:   Do you think you'd be a good juror?

16                 PROSPECTIVE JUROR CORK:    I hope so.

17                 THE COURT:   Would it be an extreme or severe hardship

18    for you to serve?

19                 PROSPECTIVE JUROR CORK:    No.

20                 THE COURT:   Okay.   Great.   Thank you.    Anybody else?

21                 PROSPECTIVE JUROR WELCH:      Can I ask a question?

22                 THE COURT:   Absolutely.

23                 PROSPECTIVE JUROR WELCH:      Dr. James Lockey I think he

24    said, could you spell the last name?

25                 THE COURT:   Yeah.   Let's find out.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 80 of 223
                                                   of the transcript.
                                                                    81



 1                 MR. PAGLIARO:    L-o-c-k-e-y.

 2                 THE COURT:     And where is --

 3                 PROSPECTIVE JUROR WELCH:       Okay.   It's not --

 4                 THE COURT:     And where is the good doctor from?       Do you

 5    know?

 6                 MR. MCCLAIN:    Cincinnati.

 7                 THE COURT:     Cincinnati?

 8                 PROSPECTIVE JUROR WELCH:       Okay.    Nope.   I do not know

 9    him.

10                 THE COURT:     Okay.   Good.   Well, let's everybody stand

11    up and take a stretch break because we've been here for a while.

12                 Okay.   Thank you.     Please be seated.   Do any of the 14

13    of you know each other or know any of the other potential jurors

14    in the back of the courtroom?        Do you see anybody you recognize?

15    Really.    I think this is the first trial in years where -- you

16    see somebody you recognize?

17                 Okay.   Here's what I want to know.       If you wound up

18    with somebody -- is it in the back of the room -- can we pass

19    the microphone down, first of all?

20                 Mr. Woodward, you definitely look like the karaoke

21    type.     Matter of fact, I think I've seen you singing at Lewis

22    Bowl.     Am I wrong about that?

23                 PROSPECTIVE JUROR WOODWARD:      No, I don't sing.

24                 THE COURT:     You don't sing.   Okay.    Do you know

25    somebody in the back of the courtroom or somebody in the 14 here

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 81 of 223
                                                   of the transcript.
                                                                   82



 1    with you?

 2                PROSPECTIVE JUROR WOODWARD:      Robert Rounds I believe.

 3                THE COURT:   Okay.

 4                PROSPECTIVE JUROR WOODWARD:      And then --

 5                THE COURT:   Oh, more than one.

 6                PROSPECTIVE JUROR WOODWARD:      Yeah, I believe McMillan,

 7    or that's her maiden name.

 8                THE COURT:   Okay.   Well, let's say you wound up on the

 9    jury with either one or both of the people that you know.            Do

10    you think you would be unduly influenced by them in any way?

11                PROSPECTIVE JUROR WOODWARD:      No.

12                THE COURT:   Okay.   Because the point I'm trying to

13    make is each party, the Kuipers and Givaudan, they're entitled

14    to the independent judgment of each juror.         In other words, each

15    juror has to listen to the evidence, and then when you go back

16    in the jury room, you're entitled to have your own opinion.            And

17    you should listen to the opinion of other jurors, but ultimately

18    you can't vote just to go along with the other jurors.            You have

19    to vote what you think is the right thing to do in the case

20    after listening to your fellow jurors, giving them a chance to

21    persuade you to their way of thinking if their way of thinking

22    is different.    And I just want to make sure if you got on the

23    jury with somebody you knew you wouldn't go along with that

24    person or persons simply because you knew them.

25                PROSPECTIVE JUROR WOODWARD:      No.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 82 of 223
                                                   of the transcript.
                                                                   83



 1                 THE COURT:   Okay.   Thank you.    Anybody else think you

 2    know anybody?    Okay.    Good.

 3                 Now, does anybody have a physical or mental injury,

 4    disability, or condition affecting your ability to serve as

 5    jurors?    Just raise your hand.     No?

 6                 Can we pass the microphone all the way down?         Do you

 7    feel comfortable telling us --

 8                 PROSPECTIVE JUROR JENSEN:      It's not that serious of a

 9    deal.     I've got a little bit of night blindness or whatever, so

10    sometimes this lighting and stuff like that -- now, if the

11    letters are all going to be -- which you've had so far, I'm all

12    right for reading it and whatever.         But I do have night

13    blindness, and with the glare of the lights and all that --

14                 THE COURT:   Yeah.   Unfortunately, I'm pretty sure that

15    a lot of documents are not in this size type.         I wish they were.

16    It'd be easier for all of us to see.

17                 PROSPECTIVE JUROR JENSEN:      But if you get little

18    letters and stuff like that, for me to -- even with this light

19    here off the screen is glaring at me or whatever for my night

20    blindness but . . .

21                 THE COURT:   Okay.   Well, I appreciate you telling us

22    that.

23                 PROSPECTIVE JUROR JENSEN:      I do have that on my

24    driver's license too, that I do have night blindness so . . .

25                 THE COURT:   Okay.   Okay.    They do have the ability to

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 83 of 223
                                                   of the transcript.
                                                                   84



 1    blow up the documents for the most part.        So hopefully that

 2    won't be a problem, but I'm going to let the lawyers ask --

 3                 PROSPECTIVE JUROR JENSEN:     I just thought you should

 4    know that.

 5                 THE COURT:   Absolutely.   Thank you so much.

 6                 PROSPECTIVE JUROR JENSEN:     I don't want to get in the

 7    middle of the court here and all of a sudden I got fine letters

 8    I'm trying to read up there and then tell you then, but I do

 9    have a little bit of night blindness.

10                 THE COURT:   Thank you, Mr. Jensen.     I really

11    appreciate that.     That's absolutely what we're looking for.          So

12    thank you so much for sharing that with us.

13                 Okay.   Now, do any of you believe that just because

14    there's a lawsuit the defendant must be in the wrong?             In other

15    words, a plaintiff has a right to sue somebody which is the

16    defendant, but just because you sue somebody doesn't mean that

17    the defendant did anything wrong.       Matter of fact, that's

18    exactly why we're all going to be sharing the next three weeks

19    together, to find out if the plaintiff can prove -- if the

20    plaintiffs can prove their claims against Givaudan.          Anybody

21    have a problem with the fact that just because there's a lawsuit

22    it doesn't mean that the defendant did anything wrong?            Anybody

23    think that just because somebody gets sued it means you did

24    something wrong?     Anybody think that?     Okay.

25                 Have you or any family member or close friends ever

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 84 of 223
                                                   of the transcript.
                                                                   85



 1    been involved in a lawsuit against Givaudan or American Pop

 2    Corn?   I doubt it, but we need to find out.        Okay.   Don't have

 3    to spend much time on that one.

 4               Do any of you have any personal, religious, or

 5    philosophical problem with awarding -- and I'm going to have two

 6    categories here -- what are called compensatory damages, and

 7    that's -- there are different types, and I'm not going to get

 8    into the details of it, but that's to compensate an individual

 9    who's been injured.     So that would be compensatory damages.         And

10    then there's a second thing called punitive damages.          And

11    punitive damages never have to be awarded by a jury.          In certain

12    situations they can.     And you have to evaluate a bunch of

13    factors that I'm going to give you in the jury instructions, and

14    then there has to be evidence to support it.

15               But does anybody have a problem if the evidence and

16    the law justified it in awarding punitive damages?          Does anybody

17    have any problem with that, only if the evidence and the law

18    justify it?

19               For example, if you're a type of individual who

20    thought, I could never award punitive damages under any

21    circumstances, that's something we would need to know.            If

22    you're the type of individual, man, I can't wait to award

23    punitive damages against a corporation like Givaudan regardless

24    of what the evidence is, we need to know that too.

25               What we're looking for is eight jurors who can fairly

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 85 of 223
                                                   of the transcript.
                                                                   86



 1    consider the evidence, fairly consider the instructions, and

 2    make a decision about whether or not the plaintiff can prove

 3    what we call liability, in other words, did Givaudan do

 4    something they shouldn't have, and then if they prove that under

 5    the instructions, did the Kuipers prove that they're entitled to

 6    either compensatory damages or punitive damages?          Anybody have a

 7    problem with that?

 8                 I put the word excessive here.       Do any of you think

 9    that in general when you read in the paper about an award of

10    punitive damages you think that punitive damages are excessive?

11    It's okay to believe that.        Okay.    Yeah, we got a lot of hands

12    going up.    Who's got the microphone that raised their hand?

13    Okay.   Mr. Jensen, why don't you tell me about that.         What do

14    you think?

15                 PROSPECTIVE JUROR JENSEN:       Well, some cases where they

16    bump their head or some darn thing, next thing you know they're

17    suing somebody because they pushed them up against and bumped

18    his head and they're getting millions of dollars for punitive

19    damage or something like -- something stupid is, you know -- I

20    can see some cases and, you know, that maybe it ain't enough,

21    but there's a lot of cases out there that's too much in my

22    opinion.

23                 THE COURT:   Okay.    Sure.    And you're entitled to that

24    opinion.    Can I ask you this?      Would you be willing to evaluate

25    the evidence and the law in my instructions and keep an open

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 86 of 223
                                                   of the transcript.
                                                                   87



 1    mind and then make a decision based on the evidence and the

 2    instructions?

 3               PROSPECTIVE JUROR JENSEN:       Yeah, I could do that.

 4    Like I said, some cases I disagree with what they get paid on.

 5    I mean, I think they get way too much for their fees but . . .

 6               THE COURT:    Okay.    Now, that raises a really --

 7               PROSPECTIVE JUROR JENSEN:       I'm not for sure what this

 8    case is really all going to involve, so I can't tell you --

 9               THE COURT:    Yeah, and I'm not sure either.       We're

10    going to kind of find out together.        It's going to unfold in

11    front of our very eyes.      But, Mr. Jensen, I want to talk to you

12    about one thing that's kind of interesting that you raised.

13               When you read about a case in the paper, for example,

14    or hear about it on the TV, would you agree with me that you're

15    not in as good a position to make a judgment about that case as

16    the jurors who were in that case every day, listened to all the

17    evidence, heard the opening statements of the lawyers, received

18    the judge's instructions, listened to the closing arguments, had

19    a chance to review all the evidence and discuss it with your

20    fellow jurors?

21               PROSPECTIVE JUROR JENSEN:       Well, yeah, I agree.       Lot

22    of things you hear on TV aren't exactly what it really was, you

23    know.

24               THE COURT:    Right.    So, for example, sometimes when I

25    read a newspaper article about one of the cases I have, I just

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 87 of 223
                                                   of the transcript.
                                                                   88



 1    chuckle because it doesn't remind me of the case I'm actually

 2    trying.    You know what I mean by that?      It's just not always

 3    very accurate.    And so I just want to make sure that whatever

 4    opinions you have about other cases --

 5                 PROSPECTIVE JUROR JENSEN:     Well, I have had this in my

 6    experience.    When I was probably 19 or whatever, I bought me a

 7    brand new car at a Chevy dealer there.        At the time I was living

 8    in Ponca.

 9                 THE COURT:   Uh-huh.

10                 PROSPECTIVE JUROR JENSEN:     And sure, you got a new

11    car.    You're out driving late at night.      You're having a good

12    time.     You just got the car or whatever.     And next thing I know,

13    the next day they're coming up to me and saying, "You're

14    under a -- or you're under suspicion right now for breaking into

15    the Chevy dealer garage down there."

16                 I said, "What?"

17                 He said, "Yeah, just you and this other guy were

18    driving around late last -- at night."

19                 So then he took my tire iron and said, "Yeah, that's

20    what I" -- I ended up going to take a lie detector test and all

21    the stuff to prove that I was innocent, I mean, just because I

22    was driving late at night because I just got that car the same

23    night.

24                 THE COURT:   Yeah, and so people can jump to

25    conclusions.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 88 of 223
                                                   of the transcript.
                                                                   89



 1                PROSPECTIVE JUROR JENSEN:      And people around town

 2    thinking, Yeah, this guy did it; I know he did it.

 3                THE COURT:   Yeah.   And isn't your point, Mr. Jensen,

 4    that people can reach conclusions without knowing all the facts?

 5                PROSPECTIVE JUROR JENSEN:      Right, definitely.

 6                THE COURT:   And what I want to find out is if you're

 7    the type of person that would before you make a judgment in this

 8    case about whether -- who should win, who should lose, and if

 9    the Kuipers win on liability, whether they're entitled to any

10    damages and, if so, how much, you'll base that decision based on

11    the evidence and the law in my instructions.

12                PROSPECTIVE JUROR JENSEN:      Yeah, yeah, definitely.

13                THE COURT:   Okay.   Who else had their hands up that

14    they thought they've read about cases where they thought there

15    were excessive punitive damages?       I think Mr. Loutsch?

16                PROSPECTIVE JUROR LOUTSCH:      Yes, sir.

17                THE COURT:   Can we pass that microphone right -- right

18    there.    Thank you.   Can you give us an example of a case that

19    you've read about, or do you just think it's in general from

20    your general reading?

21                PROSPECTIVE JUROR LOUTSCH:      Just from general reading.

22    No in particular case that I recall at the present.          It's

23    just --

24                THE COURT:   From general reading.      Yeah.

25                PROSPECTIVE JUROR LOUTSCH:      Yes, sir.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 89 of 223
                                                   of the transcript.
                                                                   90



 1               THE COURT:    Okay.   Well, do you have any religious or

 2    philosophical problem with awarding damages in cases?

 3               PROSPECTIVE JUROR LOUTSCH:       Not at all, sir.

 4               THE COURT:    And do you think you could evaluate the

 5    evidence fairly to determine whether any damages should be

 6    awarded?

 7               PROSPECTIVE JUROR LOUTSCH:       Yes, sir.

 8               THE COURT:    Okay.   Thanks.

 9               Who else had their hand up about excessive?            Okay.

10    Yes.   Mr. Bravo?

11               PROSPECTIVE JUROR BRAVO:      Yeah.    As far as excessive

12    damages being awarded, I always think about the case where the

13    woman spilled hot coffee on herself.

14               THE COURT:    The McDonald's coffee case, right.

15               PROSPECTIVE JUROR BRAVO:      Thinking of that and in

16    general, I don't know.     Just dealing with large corporations

17    and, of course, from the media or things that I believe in

18    general, think about the -- the peanut scare going on right now

19    where the company was -- had knowledge of the problem going on

20    but they allow it to continue for over a year.          In general I

21    feel that large companies aren't out of the question of doing

22    something like that.

23               THE COURT:    Okay.   Well, it's -- you know, the great

24    thing about America is we have a First Amendment right.            We can

25    believe whatever we want.      And I'm not here to judge any of your

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 90 of 223
                                                   of the transcript.
                                                                   91



 1    beliefs, and neither are the lawyers.        But what do you think

 2    about your ability to fairly judge the evidence in this case?

 3    Do you think you could do that?

 4                 PROSPECTIVE JUROR BRAVO:    Well, I'll try to keep an

 5    open mind.

 6                 THE COURT:   Okay.   Now, you said you'd try and keep an

 7    open mind.    Do you think maybe your mind is not as open as maybe

 8    I'm hoping for in this case, because I'm hoping for eight people

 9    who have a totally open mind?

10                 PROSPECTIVE JUROR BRAVO:    Well, I'm kind of slanted in

11    a certain direction.      I will say that.

12                 THE COURT:   Okay.   And just to try and make sure I

13    understand that, do you think you're slanted maybe a little bit

14    against the defendant because they are a large company?

15                 PROSPECTIVE JUROR BRAVO:    I'm afraid so.

16                 THE COURT:   Okay.   Do you think it would be difficult

17    for you to be fair to Givaudan in this case?

18                 PROSPECTIVE JUROR BRAVO:    It would be difficult, but

19    if I were chosen to be on the jury, I would give it my full

20    effort.

21                 THE COURT:   I'm just thinking, and I'm sorry.       I

22    appreciate the fact that you would give it your full effort.

23    How sure are you that you could be totally fair to Givaudan?

24                 PROSPECTIVE JUROR BRAVO:    I guess I would be fair, but

25    I would see the evidence through my eyes.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 91 of 223
                                                   of the transcript.
                                                                   92



 1                 THE COURT:   Well --

 2                 PROSPECTIVE JUROR BRAVO:    And that's what I'm trying

 3    to say.

 4                 THE COURT:   Yeah, and we all see the evidence through

 5    our own life experiences.      And one of the things I'm going to

 6    tell you in the instructions are that you don't leave your

 7    common sense and life experiences at the front door of the

 8    courtroom.    You know, that's why we have juries because you all

 9    have a unique set of life experiences.

10                 But it's my job to kind of make sure that those life

11    experiences don't affect the even playing field because in this

12    case if my hands are the scales of justice, the parties have to

13    be treated exactly equally.      And the only decision you can make

14    is based on the evidence.      So it shouldn't make any difference

15    that Givaudan is a corporation or if it was Mr. Smith being sued

16    or Mrs. Smith, that we should treat all the parties the same

17    regardless of their standing in life or whether one's a

18    corporation or not.

19                 And I'm having some trouble being convinced maybe that

20    you can do that.    And that's not -- it's not a good or a bad

21    thing.    You know, I'm not here to judge you and say your views

22    about large corporations are wrong or bad.         That's not my job,

23    nor would I ever do that.      We're all entitled to our own

24    beliefs.    But I just want to make sure we have a level playing

25    field.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 92 of 223
                                                   of the transcript.
                                                                   93



 1                Do you think if you were on the jury that there would

 2    be a truly level playing field for the Kuipers and for Givaudan?

 3                PROSPECTIVE JUROR BRAVO:     That's a pretty difficult

 4    question.   I guess if I was chosen to be on the jury, it would

 5    depend on what you saw in the trial as far as evidence.

 6                THE COURT:   Oh, and that's a good thing, right,

 7    because the evidence is the thing that you should make your

 8    judgment on, the evidence and the law in my instructions.           But

 9    what I'm trying to get at -- and I'm sorry if I'm being a pest

10    here, Mr. Bravo, but do you think your precon -- well, your

11    views -- let's just call them your views -- about large

12    corporations might affect your judgment in the case?

13                PROSPECTIVE JUROR BRAVO:     Yeah, there's a possibility

14    of that, absolutely.     I don't think you can clearly separate

15    yourself from your ideas.

16                THE COURT:   It's very hard to do.

17                PROSPECTIVE JUROR BRAVO:     Yeah.

18                THE COURT:   It's very hard to do.      If you were one of

19    the Givaudan lawyers, would you be pretty concerned about having

20    a juror like you sit on this jury?

21                PROSPECTIVE JUROR BRAVO:     I think so.

22                THE COURT:   And why would you be concerned?

23                PROSPECTIVE JUROR BRAVO:     Because of what I said.

24                THE COURT:   Okay.   Okay.   Could I see the lawyers up

25    at sidebar for just a second?       Why doesn't everybody take a

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 93 of 223
                                                   of the transcript.
                                                                   94



 1    stretch break.

 2                (At sidebar on the record.)

 3                THE COURT:     I think he's gone.

 4                MR. MCCLAIN:    Yeah.

 5                MR. PAGLIARO:    Probably so.

 6                THE COURT:     Okay.    Do you have any problem if I let

 7    him go?

 8                MR. PAGLIARO:    No.

 9                THE COURT:     I didn't think you'd have any problem

10    but . . .

11                MR. MCCLAIN:    Are we going to take a restroom break?

12                THE COURT:     Yeah, we'll take it now.     Thanks.   It's

13    all that coffee.

14                (The sidebar was concluded.)

15                THE COURT:     Okay.    Please be seated.

16                Mr. Bravo, I think you'd be a terrific juror but

17    probably not in this case.         I mean, you might be, and you were

18    super honest with us, and I really appreciate that.          But we're

19    going to let you go, and hopefully you'll be back on another

20    case; okay?

21                PROSPECTIVE JUROR BRAVO:       Okay.   Thank you, Your

22    Honor.

23                THE COURT:     Okay.    Thank you very much.   Why don't we

24    replace this juror, and then we're going to take a break.

25                THE CLERK:     Elaine Damstra.

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 94 of 223
                                                   of the transcript.
                                                                   95



 1                 THE COURT:   Have a good day, and thanks for coming in.

 2                 PROSPECTIVE JUROR BRAVO:     Thank you, Your Honor.

 3                 THE COURT:   Thank you.    Good morning.    Good morning.

 4                 PROSPECTIVE JUROR DAMSTRA:     Good morning.

 5                 THE COURT:   Okay.    As soon as we get Miss Damstra

 6    seated, we're going to take a recess.

 7                 Now, I just want to give you a couple of guidelines to

 8    follow.   You can't discuss this case among yourselves at all.

 9    It would be inappropriate to talk about anything about this case

10    or any of the lawyers or participants.        You can talk about the

11    weather, sports, anything you want to.        But you can't talk about

12    this case.    Don't let anybody talk to you about the case.

13                 Remember where you're all seated because it's now 20

14    to 11, and we're going to take a 20-minute recess until 11.            If

15    you could kind of check your clocks against this clock, this is

16    a very inexpensive but accurate atomic clock that sends out a

17    signal every minute or so to make sure it's exactly on time.

18    And so we're going to use the time of this clock.          And we'll

19    just see everybody back here at 11:00.        Thank you.

20                 (The jury venire exited the courtroom.)

21                 THE COURT:   Counsel, anything we need to take up at

22    this time?    Okay.   Thank you.

23                 (Recess at 10:42 a.m.)

24                 THE COURT:   Thank you.    Please be seated.    I'm just

25    going to have a couple of more questions for you, and then I'm

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 95 of 223
                                                   of the transcript.
                                                                   96



 1    going to turn it over to the lawyers.

 2               You have an obligation to follow the written

 3    instructions -- oh, I'm sorry.       We forgot about Miss Damstra.

 4    Can we pass her the microphone?       You have the microphone?

 5               PROSPECTIVE JUROR DAMSTRA:       Yes, I do.

 6               THE COURT:    Okay.   Do you know any of the lawyers or

 7    potential witnesses in the case?

 8               PROSPECTIVE JUROR DAMSTRA:       No, I do not.

 9               THE COURT:    Do you have any connection to Givaudan or

10    American Pop Corn?

11               PROSPECTIVE JUROR DAMSTRA:       No, I don't.

12               THE COURT:    Do you think you'd be a fair and impartial

13    juror in the case?

14               PROSPECTIVE JUROR DAMSTRA:       I hope so.

15               THE COURT:    Do you have any reservations about your

16    ability to be a fair and impartial juror?

17               PROSPECTIVE JUROR DAMSTRA:       No, I don't.

18               THE COURT:    Do you think you'd be a good juror?

19               PROSPECTIVE JUROR DAMSTRA:       I would try my best.

20               THE COURT:    Okay.   And that's important.      Do you think

21    you'd be able to have a completely open mind about the case?

22               PROSPECTIVE JUROR DAMSTRA:       I believe so.

23               THE COURT:    Do you think you'd be able to make your

24    judgment based solely on the evidence that you hear in this

25    courtroom, my jury instructions, and the arguments of the

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 96 of 223
                                                   of the transcript.
                                                                   97



 1    lawyers and, you know, based on everything that just happens in

 2    here?

 3                 PROSPECTIVE JUROR DAMSTRA:     Yes.

 4                 THE COURT:   And what about the damages?      Do you have

 5    any philosophical or religious problem with awarding different

 6    types of damages under the instructions?

 7                 PROSPECTIVE JUROR DAMSTRA:     No, I don't.

 8                 THE COURT:   What's your general kind of gut reaction

 9    when you hear the phrase punitive damages?

10                 PROSPECTIVE JUROR DAMSTRA:     Probably what other people

11    have said.    Sometimes it seems kind of excessive, but in general

12    I think the court is generally fair.

13                 THE COURT:   And do you understand that regardless of

14    what the evidence is in the case you're never required to award

15    punitive damages?

16                 PROSPECTIVE JUROR DAMSTRA:     Correct.

17                 THE COURT:   And you would just have to evaluate the

18    evidence and the jury instructions and make a judgment about

19    whether you thought punitive damages should be awarded and, if

20    so, what the amount would be.       Do you understand that?

21                 PROSPECTIVE JUROR DAMSTRA:     Yes, I do.

22                 THE COURT:   Okay.   Have you ever been a juror before?

23                 PROSPECTIVE JUROR DAMSTRA:     No, I haven't.

24                 THE COURT:   Would it be an undue burden or hardship

25    for you to serve?

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 97 of 223
                                                   of the transcript.
                                                                   98



 1                PROSPECTIVE JUROR DAMSTRA:      No, it would not.

 2                THE COURT:   Okay.

 3                PROSPECTIVE JUROR DAMSTRA:      I should qualify that.      I

 4    have been called before, but I've never been on a jury before.

 5                THE COURT:   How many times have you been called just

 6    out of curiosity?

 7                PROSPECTIVE JUROR DAMSTRA:      Once to this court.

 8                THE COURT:   Okay.    How long ago was that?

 9                PROSPECTIVE JUROR DAMSTRA:      1982.

10                THE COURT:   Then I was not your judge.       It was

11    probably Judge O'Brien, though.

12                PROSPECTIVE JUROR DAMSTRA:      It was.

13                THE COURT:   Criminal case or civil case?       Do you

14    remember?   Probably so long ago.

15                PROSPECTIVE JUROR DAMSTRA:      I was called up three

16    different times, but I never was -- sat on the jury.

17                THE COURT:   Why do you think the jurors -- I'm sorry,

18    the lawyers weren't smart enough to pick you?

19                PROSPECTIVE JUROR DAMSTRA:      Because I was about seven

20    months pregnant.

21                THE COURT:   Okay.    Now, I'm going to give you a set of

22    jury instructions, and you have to follow the law in my

23    instructions whether you agree with it or not.         I don't imagine

24    that many of you stay awake at night kind of thinking about the

25    law of products liability.       And so I don't imagine that there

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 98 of 223
                                                   of the transcript.
                                                                     99



 1    would be a problem with any of you following my instructions,

 2    but that's kind of how the system works.          I'm charged with the

 3    responsibility of telling you what the law is.          And then you

 4    have to apply the law in my instructions even if it's different

 5    than what you think the law might be.

 6               Do you think that would be difficult for anybody?

 7    Anybody think you'd have a problem with that?          Okay.    Good.

 8               Is there anything about the nature of the case, it

 9    being a products liability case, it being a husband and wife

10    suing a corporation, it being a product liability case -- I

11    think I said that -- or is there anything about you as a juror

12    that you think we need to know to determine whether or not you

13    can be fair and impartial?       Anybody have any comments?

14               Why don't we take -- who's got the microphone?           Let's

15    see who's got them.     Okay.    Could you -- Mrs. Damstra, could you

16    pass it down to Lindy Jessen right next to you on that side?

17    Good morning.

18               PROSPECTIVE JUROR JESSEN:       Hi.

19               THE COURT:    Hi.    How you doing?

20               PROSPECTIVE JUROR JESSEN:       Good.

21               THE COURT:    Good.    Do you think you'd be a good juror

22    in this case?

23               PROSPECTIVE JUROR JESSEN:       Yes.

24               THE COURT:    Is jury service something that you've ever

25    done before?

      Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 99 of 223
                                                   of the transcript.
                                                                    100



  1               PROSPECTIVE JUROR JESSEN:      Yes.

  2               THE COURT:    And how long ago were you on a jury?

  3               PROSPECTIVE JUROR JESSEN:      I think like four years

  4   ago.

  5               THE COURT:    Okay.   Could we get you to hold that

  6   microphone a little closer?       And I promise I won't put up the

  7   karaoke for you.

  8               PROSPECTIVE JUROR JESSEN:      I don't have to sing?

  9               THE COURT:    You don't have to sing.      Not yet.     Where

 10   was that case?

 11               PROSPECTIVE JUROR JESSEN:      It was over to the other

 12   courthouse.

 13               THE COURT:    Oh, just on the -- yeah, Woodbury County

 14   Courthouse?

 15               PROSPECTIVE JUROR JESSEN:      Yes.

 16               THE COURT:    And did you actually serve as a juror?

 17               PROSPECTIVE JUROR JESSEN:      Yes.

 18               THE COURT:    Was it a criminal case or civil case?         Do

 19   you remember?

 20               PROSPECTIVE JUROR JESSEN:      It was about drugs,

 21   criminal.

 22               THE COURT:    Then it'd probably be a criminal case.            I

 23   spend most of my time in drug criminal cases.          And that raises

 24   an interesting point that I want to talk to you about.

 25               I don't know if you remember it, but in that case --

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 100 of 223
                                                    of the transcript.
                                                                    101



  1   and I know this without knowing anything about the case or which

  2   case it was.    Because it was a criminal case, the state had to

  3   prove its case beyond a reasonable doubt.          Does that ring a

  4   bell?   Do you kind of remember that?

  5               PROSPECTIVE JUROR JESSEN:      He was innocent until

  6   proven guilty.

  7               THE COURT:    Right.   And he was innocent -- so the

  8   defendant had the presumption of innocence, and the state had to

  9   prove its case beyond a reasonable doubt.          Does that ring a

 10   bell?

 11               PROSPECTIVE JUROR JESSEN:      Yes.

 12               THE COURT:    And the reason why I knew that is in every

 13   criminal case, whether it's in state court or federal court,

 14   whether it's Alaska or Florida or Maine or -- we even have a

 15   federal court in Guam -- the government always has to prove a

 16   criminal case beyond a reasonable doubt.          And the presumption of

 17   innocence means that the defendant's -- the parties don't start

 18   exactly even.     If my hands are the scales of justice, because

 19   the defendant's presumed innocent, he's up here, and the

 20   government has to tip those scales quite a bit.

 21               A civil case is very different.        There is no

 22   presumption in the case.       There's no presumption of innocence.

 23   And the plaintiff in the case does not have to prove their case

 24   beyond a reasonable doubt because the parties start exactly

 25   even.   And so the plaintiff in the case just has to prove it by

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 101 of 223
                                                    of the transcript.
                                                                    102



  1   what we call the greater weight of the evidence.           So it just has

  2   to shift the scales ever so slightly.

  3               Sometimes in opening statements in a civil case, the

  4   lawyers will talk about it in terms of sports analogies, and

  5   they'll say we only have to win 7 to 6 like a football game or

  6   89 to 88 in a basketball game.        You just have to tip the scales

  7   ever so slightly.

  8               Before today, did you understand there was a

  9   difference between what we call the burden of proof in a

 10   criminal case and in a civil case?

 11               PROSPECTIVE JUROR JESSEN:      Not really.

 12               THE COURT:    Okay.   And so one of the things I'm going

 13   to tell you in the instructions is that -- the parties and what

 14   their burdens of proofs are on the claims and on the defenses,

 15   and that's by the greater weight of the evidence.           So this

 16   concept proof beyond a reasonable doubt, that never comes into

 17   play in a civil case like this.        Does that make sense?

 18               PROSPECTIVE JUROR JESSEN:      Uh-huh.

 19               THE COURT:    Okay.   And do you understand why there

 20   might be a difference?      Why do you think we have a higher burden

 21   of proof in a criminal case?       Why is it -- why do we make it

 22   tougher on the government to prove somebody guilty than in a

 23   civil case?

 24               PROSPECTIVE JUROR JESSEN:      Well, I suppose if he's

 25   innocent and he goes to jail.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 102 of 223
                                                    of the transcript.
                                                                    103



  1               THE COURT:    That's right.    You're --

  2               PROSPECTIVE JUROR JESSEN:      I mean, it would ruin his

  3   whole life or whatever so . . .

  4               THE COURT:    That's exactly right.      Because in a

  5   criminal case somebody's liberty is at stake.          In a civil case

  6   it's not always but almost always about money.          Plaintiff wants

  7   to win some money against the defendant.          That's what most civil

  8   cases are about.     And so because liberty isn't involved, we

  9   don't have that higher burden of proof.          Does that make sense to

 10   you?

 11               PROSPECTIVE JUROR JESSEN:      Yes.

 12               THE COURT:    Yeah.   What qualities do you think you

 13   would bring to this case as a juror?

 14               PROSPECTIVE JUROR JESSEN:      Fairness.

 15               THE COURT:    Does -- the fact that Givaudan is a

 16   corporation, is that a problem for you?

 17               PROSPECTIVE JUROR JESSEN:      No.

 18               THE COURT:    Do you think you would be able to treat

 19   Givaudan just as fairly as you would treat the Kuipers?

 20               PROSPECTIVE JUROR JESSEN:      Yes.

 21               THE COURT:    And the fact that the Kuipers are two

 22   individuals, is that a problem for you?

 23               PROSPECTIVE JUROR JESSEN:      No.

 24               THE COURT:    Okay.   Good.   Thank you very much.

 25               That's all the questions I have.        So Mr. McClain?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 103 of 223
                                                    of the transcript.
                                                                     104



  1               MR. MCCLAIN:    Thank you, Your Honor.      Is this on now?

  2               THE COURT:     Yes, it is.   Thank you.

  3               MR. MCCLAIN:    Good morning, ladies and gentlemen.

  4   I've -- I know you've been sitting for a long time and answering

  5   lots of questions, and I certainly am not going to repeat

  6   anything that the judge asked.        But I do have a few things that

  7   I'd like to ask you about that would help us in selecting the

  8   jury.   And I'd just like to emphasize one thing.

  9               There aren't any right answers, and I'm not looking

 10   for this answer or that answer.        But I am trying to get your

 11   opinions and your beliefs about various issues.          And this is

 12   designed to allow us to be able to see who are the best people

 13   to serve on this jury for both sides.

 14               I couldn't tell for sure, but I thought -- and pardon

 15   me again.    My name is Ken McClain in case any of you didn't get

 16   my name the first time through.

 17               I'm not sure whether or not all of you answered the

 18   question that had raised your hand regarding excessive damages

 19   or concerns about excessive damages.         Did all of you that had

 20   raised your hand and the judge --

 21               THE COURT:     No, I didn't call on all of them,

 22   Mr. McClain.

 23               MR. MCCLAIN:    Oh, okay.    All right.    Yeah.

 24               THE COURT:     So you can certainly ask them to raise

 25   their hands again or maybe ask the ones I didn't call on,            how

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 104 of 223
                                                    of the transcript.
                                                                    105



  1   ever you want to proceed.

  2               MR. MCCLAIN:    Thank you, Judge.     I wasn't sure I was

  3   right about that.

  4               THE COURT:     No, you're exactly right.

  5               MR. MCCLAIN:    Who else raised their hand about that

  6   issue?   Yes, Mr. Reiss?

  7               PROSPECTIVE JUROR REISS:      Correct.

  8               MR. MCCLAIN:    Is that right?

  9               PROSPECTIVE JUROR REISS:      Yes.

 10               MR. MCCLAIN:    Mr. Reiss, you raised your hand about

 11   it.   What questions about excessive damages or punitive damages

 12   or whatever your concern was?

 13               PROSPECTIVE JUROR REISS:      Mainly the word excessive,

 14   personal opinion as being lawsuits need to be limited.

 15               MR. MCCLAIN:    Okay.

 16               PROSPECTIVE JUROR REISS:      Generally feel that whether

 17   it be a doctor that's getting sued or a corporation, probably

 18   didn't intend to set out for anyone to be injured or anything

 19   like that, not that they shouldn't be held accountable for

 20   anything that they may or may not be responsible for.

 21               But where I'm employed, I just had a -- or we had a

 22   long-time employee who was actually I think 66 or 67, was suing

 23   our corporation, and I don't recall if he settled out of court

 24   or if he won, but he was awarded about seven or eight years'

 25   wages, and the supposed injury goes back to years, years

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 105 of 223
                                                    of the transcript.
                                                                    106



  1   previous to this lawsuit.       And that kind of puts a bad, you

  2   know, opinion in my mind maybe.

  3               MR. MCCLAIN:    Okay.   And so that kind of rubbed you

  4   the wrong way when you saw that result in that particular case;

  5   is that fair?

  6               PROSPECTIVE JUROR REISS:      Sure.

  7               MR. MCCLAIN:    And am I hearing you right that you

  8   generally kind of think that there ought to be some cap to --

  9               PROSPECTIVE JUROR REISS:      Limits, yes.

 10               MR. MCCLAIN:    -- damages, that as you come into it

 11   before you've heard any facts, that's just your natural reaction

 12   to any lawsuit.

 13               PROSPECTIVE JUROR REISS:      Sure.

 14               MR. MCCLAIN:    And so is it fair to say that in a case

 15   where damages are going to be claimed for an individual where

 16   the injury occurred a few years ago that that is a concern that

 17   you might have in terms of your service on the jury, that you'd

 18   like to see limits on his damages?

 19               PROSPECTIVE JUROR REISS:      Maybe.    I mean, every case

 20   is different.

 21               MR. MCCLAIN:    And so before you've ever heard what the

 22   law is and before you've ever heard what the facts are, you

 23   think that it ought to be limited.

 24               PROSPECTIVE JUROR REISS:      Yes.

 25               MR. MCCLAIN:    Okay.   And so as you come into it,

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 106 of 223
                                                    of the transcript.
                                                                    107



  1   that's just your mind-set.

  2               PROSPECTIVE JUROR REISS:      Correct.

  3               MR. MCCLAIN:    And is it fair to say that currently it

  4   would be very difficult for you to put that to one side?

  5               PROSPECTIVE JUROR REISS:      As far as the money goes, I

  6   wouldn't want to be involved with that knowing that -- I guess

  7   it'd be hard to know -- if I had a ballpark figure of, you know,

  8   what kind of money you're talking about, it would probably sway

  9   me or possibly sway me I guess I would say.

 10               MR. MCCLAIN:    Well, without saying any figure in mind,

 11   you'd like to keep damages low if at all possible; fair?

 12               PROSPECTIVE JUROR REISS:      Correct.

 13               MR. MCCLAIN:    You already come in with that viewpoint.

 14               PROSPECTIVE JUROR REISS:      Uh-huh.

 15               MR. MCCLAIN:    And I guess if we were talking about

 16   punitive damages, you're really pretty opposed to those too,

 17   aren't you?

 18               PROSPECTIVE JUROR REISS:      I guess define punitive, I

 19   mean.   If you can show expenses, you know, medical expenses need

 20   covered, loss of life or certain aspects of your life, I can

 21   understand that.     I just think that sometimes it's excessive or

 22   often excessive.

 23               MR. MCCLAIN:    Often are excessive?      Is that your --

 24   did I hear that right?

 25               PROSPECTIVE JUROR REISS:      Yes.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 107 of 223
                                                    of the transcript.
                                                                    108



  1                MR. MCCLAIN:   I have -- because of the echo.

  2                PROSPECTIVE JUROR REISS:     Often excessive.

  3                MR. MCCLAIN:   Often excessive.     Here's the thing.

  4   Punitive damages aren't for like medical expenses and for lost

  5   wages.    They're to punish the defendant -- that's why they're

  6   awarded -- and as the judge pointed out, only if there's a

  7   sufficient factual showing.       But the law does provide them for a

  8   specific reason, and that's to punish them.          And you have to

  9   decide how much money it will take to punish a corporation with

 10   all the evidence that you're going to hear about that in terms

 11   of their financial resources, et cetera.

 12                And from what I'm hearing about you, that kind of

 13   damages is not something that you generally think should be

 14   awarded in a case; is that right?

 15                PROSPECTIVE JUROR REISS:     I guess it depends on the

 16   case.     I mean, there should probably be some kind of standards

 17   in place.

 18                MR. MCCLAIN:   Okay.   But if the Court gives you

 19   instructions on that issue and the standards are what you

 20   believe, are you going to be in a position to award more than

 21   just the medical expenses and the lost wages and those kind of

 22   damages, or will that be difficult for you to do?

 23                PROSPECTIVE JUROR REISS:     I've been injured on a job

 24   myself.    I actually have loss of sensation slightly in one hand.

 25   And I guess I personally never pursued that, and I've been told

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 108 of 223
                                                    of the transcript.
                                                                    109



  1   that I could, and I got better things to do, so I guess it --

  2   I've got some prejudice against punishing people who had one

  3   goal and people get hurt sometimes.

  4               MR. MCCLAIN:    Okay.   And I appreciate your candor.

  5   And there's nothing wrong with that answer.          As the judge

  6   pointed out, all of us have these different opinions.           That's

  7   why our democracy works, and we have different opinions on

  8   various things, and we go vote and do the things that we do.

  9               But in this case where we're both coming in to this

 10   case and wanting people that haven't made their minds up about

 11   damages and punitive damages, you've pretty well kind of made

 12   your mind up on those issues I hear you saying.          Am I right?

 13               PROSPECTIVE JUROR REISS:      That'd be fair to say.

 14               MR. MCCLAIN:    And so for me as a plaintiff, the judge

 15   asked several of these people, you know, if the defendant -- if

 16   you were standing in my shoes, I should worry about you as a

 17   juror is what you're telling me.

 18               PROSPECTIVE JUROR REISS:      I would.

 19               MR. MCCLAIN:    Yeah.   You would.

 20               PROSPECTIVE JUROR REISS:      Yeah.

 21               THE COURT:     Mr. Reiss, I'm going to go ahead and

 22   excuse you.    Thank you.    Thank you for your candor.

 23               Can we call our next juror, please.

 24               THE CLERK:     Larry Storm.

 25               THE COURT:     Mr. McClain, you might want to sit down

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 109 of 223
                                                    of the transcript.
                                                                    110



  1   for a minute, and I'm going to ask Mr. Storm some questions.

  2               MR. MCCLAIN:    Certainly.

  3               THE COURT:     Mr. Storm, how you doing?

  4               PROSPECTIVE JUROR STORM:       Good, Your Honor.     Thank

  5   you.

  6               THE COURT:     How you been?

  7               PROSPECTIVE JUROR STORM:       I've been good.

  8               THE COURT:     How'd you bowl last night?

  9               PROSPECTIVE JUROR STORM:       Terrible.

 10               THE COURT:     Well, I wasn't there so . . .

 11               PROSPECTIVE JUROR STORM:       Yeah.   Don't embarrass me.

 12               THE COURT:     Mr. Storm and I are in the same league,

 13   bowling league, and -- let me ask you this.          Anything about the

 14   fact that you're a lawyer that you think would affect your

 15   ability to be fair and impartial?

 16               PROSPECTIVE JUROR STORM:       No.

 17               THE COURT:     What about it being a severe or undue

 18   hardship for you to serve?

 19               PROSPECTIVE JUROR STORM:       Well, I have clients and

 20   hearings and so forth but . . .

 21               THE COURT:     Are you willing to serve if you're

 22   selected?

 23               PROSPECTIVE JUROR STORM:       Sure.

 24               THE COURT:     You would be the seventh lawyer I've had

 25   sit on a jury if you were selected.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 110 of 223
                                                    of the transcript.
                                                                    111



  1               PROSPECTIVE JUROR STORM:      Oh.

  2               THE COURT:     Do you know any of the lawyers?       Well, I'm

  3   sure you do know Mr. McElwain for sure.

  4               PROSPECTIVE JUROR STORM:      Right.

  5               THE COURT:     Have you ever had cases with Mr. McElwain?

  6               PROSPECTIVE JUROR STORM:      I don't recall that I have.

  7   Other lawyers in my office may have.

  8               THE COURT:     Anything about the fact that other lawyers

  9   in your firm have had cases with Mr. McElwain that would affect

 10   your ability to be fair and impartial?

 11               PROSPECTIVE JUROR STORM:      I don't think so.

 12               THE COURT:     Do you know any of the other witnesses

 13   that the lawyers listed?       I'm sure you probably knew the

 14   pulmonologists.

 15               PROSPECTIVE JUROR STORM:      Yeah, and I think you

 16   mentioned Curtiss Farrell maybe, Curtiss Farrell from here in

 17   Sioux City?

 18               THE COURT:     Did somebody mention Curtiss Farrell?        I

 19   don't recall.

 20               MR. MCCLAIN:    Yes.

 21               MR. PAGLIARO:    We did, Your Honor.

 22               THE COURT:     Let's start with the pulmonologists.

 23   Which of the ones do you know?

 24               PROSPECTIVE JUROR STORM:      Bainbridge.

 25               THE COURT:     How well do you know him?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 111 of 223
                                                    of the transcript.
                                                                    112



  1               PROSPECTIVE JUROR STORM:      I know of him.     I think he

  2   has done some doctoring for my father.

  3               THE COURT:    Okay.   Anything about that experience

  4   would affect your ability to be fair and impartial?

  5               PROSPECTIVE JUROR STORM:      No.

  6               THE COURT:    Could you evaluate his credibility just

  7   like you would every other witness?

  8               PROSPECTIVE JUROR STORM:      I think so.

  9               THE COURT:    Okay.   And then what about the other

 10   witness?    I'm sorry.    I already forgot that you --

 11               PROSPECTIVE JUROR STORM:      Curtiss Farrell.     Our office

 12   represents him.

 13               THE COURT:    Okay.   How would that affect your ability

 14   to be -- evaluate his credibility?

 15               PROSPECTIVE JUROR STORM:      I've never done any work for

 16   him, so I don't know the man personally.         I just am disclosing

 17   that our office represents him.        I don't know that it would

 18   affect my opinions.

 19               THE COURT:    What does he -- what's your understanding

 20   as to what he does for a living?

 21               PROSPECTIVE JUROR STORM:      I think he's a general

 22   medical doctor is my understanding.

 23               THE COURT:    You indicated, Mr. Storm, you've actually

 24   never met him?

 25               PROSPECTIVE JUROR STORM:      I may have met him.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 112 of 223
                                                    of the transcript.
                                                                    113



  1                THE COURT:   Okay.   But you don't have any personal

  2   relationship with him.

  3                PROSPECTIVE JUROR STORM:     No.   I know of him, and I

  4   know of things that our office has done for him and so forth, so

  5   I know quite a bit about him.

  6                THE COURT:   How would you feel about sitting on a

  7   jury?

  8                PROSPECTIVE JUROR STORM:     That's a tough question.

  9   You know, part of me would like to.        I used to try cases, and I

 10   always wondered what went on in the room back there.

 11                THE COURT:   We all do.

 12                PROSPECTIVE JUROR STORM:     So there's a little bit of

 13   me that says I'd like to go back and find out and be a part of

 14   it.     But as a lawyer, of course, you know, there's always a

 15   little trepidation too about whether I know too much maybe.            I

 16   don't know.    That kind of a -- whether I'd be too much of an

 17   influence.

 18                THE COURT:   I actually don't know a whole lot about

 19   your practice.     Have you ever done any products liability work?

 20                PROSPECTIVE JUROR STORM:     For the last 19 years, I've

 21   done principally estate planning and estate administration, but

 22   prior to that, yeah, I did litigation, primarily defense, and I

 23   think we did have some products cases.

 24                THE COURT:   Do you recall personally whether you

 25   worked on the products cases or not?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 113 of 223
                                                    of the transcript.
                                                                    114



  1                PROSPECTIVE JUROR STORM:      I think I did on one or two.

  2   I think we had a case involving maybe salmonella or something

  3   like that, and I worked on that case.

  4                THE COURT:     Would it be difficult for you to follow my

  5   instructions on products liability law and not try and rely on

  6   what you remember from way back when, Mr. Storm?

  7                PROSPECTIVE JUROR STORM:      I don't think so.      I think I

  8   would accept what you -- your view of the law is versus my

  9   recollections.     It's been a while.

 10                THE COURT:     Maybe if we were in estate planning it

 11   might be reversed; right?

 12                PROSPECTIVE JUROR STORM:      I wouldn't even say that,

 13   Judge, no.    I'd still follow your instructions on that.

 14                THE COURT:     Okay.   Thank you.   That's all the

 15   questions I have for you.

 16                Mr. McClain, turn it back to you.

 17                MR. MCCLAIN:    Let's pick up where we were talking with

 18   Mr. Reiss.    First of all, welcome, Mr. Storm.         Appreciate --

 19                PROSPECTIVE JUROR STORM:      Thank you.

 20                MR. MCCLAIN:    Do you have any issues, Mr. Storm,

 21   regarding damages, compensatory damages, excessive damages,

 22   punitive damages, any of the questions that have been asked so

 23   far?

 24                PROSPECTIVE JUROR STORM:      No.

 25                MR. MCCLAIN:    Thank you.    Who else had a hand up when

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 114 of 223
                                                    of the transcript.
                                                                    115



  1   the judge was asking the question that hasn't been asked?

  2               Okay.   Mr. Jensen, tell me about your opinions in

  3   regard to that issue.

  4               PROSPECTIVE JUROR JENSEN:      I guess I agree too.        I

  5   think there's way, way too much money involved in a lot of this

  6   stuff here.    Like you said about the coffee at McDonald's or

  7   spilling coffee on her, I mean, the money they get for spilling

  8   hot coffee on them to me is excessive.         There again, it goes by

  9   case by case.

 10               MR. MCCLAIN:    Okay.    Well, tell me a little bit more

 11   about that in terms of what you mean by goes by case by case.

 12   Do you come into this case now with a feeling that as a general

 13   matter damages should be capped like Mr. Reiss was talking

 14   about?

 15               PROSPECTIVE JUROR JENSEN:      There again, like I say, it

 16   goes case by case.     Like McDonald's case here with the coffee

 17   spilled, I think there should have been a cap on that.              I don't

 18   think there should have been such excessive thousands of dollars

 19   for something that was actually her fault for spilling it on her

 20   in the first place.      But . . .

 21               MR. MCCLAIN:    But tell me -- tell me -- I understand

 22   about the McDonald's case, and all kinds of things I think have

 23   been written about that.       But in terms of this case, that

 24   appears to be something that really bothers you about the whole

 25   system; am I right?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 115 of 223
                                                    of the transcript.
                                                                    116



  1               PROSPECTIVE JUROR JENSEN:      Right.

  2               MR. MCCLAIN:    So you come in thinking about this case

  3   in terms of a McDonald's coffee case; right?

  4               PROSPECTIVE JUROR JENSEN:      Well, that's just an

  5   example, yeah.

  6               MR. MCCLAIN:    Yeah, just an example of the way that

  7   you think about the system.       And so when you're thinking about a

  8   case when you come into it and the judge talked about this

  9   weighing scales issue that we're all here to discuss in terms of

 10   everybody coming into the court, on this damage issue, before

 11   you ever heard the evidence, I kind of come in behind, don't I?

 12               PROSPECTIVE JUROR JENSEN:      Well, to be truthful with

 13   you, I get health insurance from my work and stuff, and I

 14   also -- I always have and I probably always will blame that the

 15   reason my health insurance is so high is because of all the

 16   lawsuits and stuff like that that's been put up against it.            The

 17   doctors have to have higher insurance.         Therefore, it passes it

 18   on to me, and I just think there should be some cap on a lot of

 19   that stuff.

 20               MR. MCCLAIN:    Sure.   And I appreciate your candor.

 21   That is a view that some people have and that affects them as

 22   jurors even before they've ever heard the evidence or listened

 23   to the law from the judge.

 24               PROSPECTIVE JUROR JENSEN:      Yeah.    I want to be fair

 25   with you because that's what I thought.         Like I said, that's why

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 116 of 223
                                                    of the transcript.
                                                                    117



  1   I think my health insurance and everybody's health insurance

  2   because there should be a cap somewhere, but you hear the

  3   million dollars and millions and millions.

  4               MR. MCCLAIN:    Thank you, Mr. Jensen, for being so

  5   candid, and it's difficult to do, and I appreciate it very much.

  6   But just coming back then to my question, I come in behind in

  7   this case on that damage question, don't I?

  8               PROSPECTIVE JUROR JENSEN:      There again, I don't know

  9   what you're asking for.

 10               MR. MCCLAIN:    Well, what I'm asking for is this.

 11               PROSPECTIVE JUROR JENSEN:      If you're asking for, like

 12   I said, his insurance and stuff like that to pay everything he's

 13   got and -- well, like I said, I don't know what the case

 14   involves.    If he's still able to be able to work or whatever.

 15   If he's not able to work, sure, there should be some

 16   compensation for that for the rest of his life or et cetera, you

 17   know, but I don't know what the case all involves.

 18               MR. MCCLAIN:    Here's the question.      Are you going to

 19   continue to think as you've told us, Hey, if I award a lot of

 20   money in this case, it's going to affect my insurance rates?

 21               PROSPECTIVE JUROR JENSEN:      Well, I don't know if this

 22   one's going to.     Yeah, I -- like I said, that's what I always

 23   believe.

 24               MR. MCCLAIN:    It's in the back of your mind.

 25               PROSPECTIVE JUROR JENSEN:      Right.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 117 of 223
                                                    of the transcript.
                                                                    118



  1               MR. MCCLAIN:    And in terms of damages, that would be a

  2   factor that you would be thinking about.

  3               PROSPECTIVE JUROR JENSEN:      Yeah.

  4               MR. MCCLAIN:    And so in that sense on this damage

  5   question, because I'm the guy asking for damages, I come in with

  6   a burden to climb in your mind; am I right?

  7               PROSPECTIVE JUROR JENSEN:      Yeah.

  8               MR. MCCLAIN:    And so isn't it fair to say that because

  9   of the kind of case this is you think it would be better for you

 10   to sit on a different kind of case?

 11               PROSPECTIVE JUROR JENSEN:      Truthfully, yeah, with what

 12   I think.    Like I said, I've always believed in that it should be

 13   capped, it should somewhere somehow where eventually something's

 14   going to get taken care of.

 15               MR. MCCLAIN:    Okay.

 16               THE COURT:     Mr. Jensen, I'm going to go ahead and

 17   excuse you as a juror in the case.        Thank you for being so

 18   candid with your opinions.

 19               Nick, can we call a new juror, please?

 20               THE CLERK:     Rebecca Beschorner.

 21               MR. MCCLAIN:    Spelling of the juror?

 22               THE COURT:     B-e-s-c-h --

 23               MR. MCCLAIN:    Oh, I'm sorry.

 24               THE COURT:     B-e-s-c-h-o-r-n-e-r.     And Mr. McClain?

 25               MR. MCCLAIN:    You want me to sit down?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 118 of 223
                                                    of the transcript.
                                                                    119



  1               THE COURT:    Yeah.   There's actually a couple of things

  2   I want to take up now.      And before we get to our newest juror,

  3   you can keep the microphone.       Is it Mrs. Wienhold?

  4               PROSPECTIVE JUROR WIENHOLD:       Wienhold.

  5               THE COURT:     Wienhold.    Okay.   And you'll have to hold

  6   that microphone up nice and close, and I promise I won't put any

  7   karaoke up there.     And do you see the little light that goes on

  8   that means it's on?

  9               PROSPECTIVE JUROR WIENHOLD:       Yes.

 10               THE COURT:    Okay.   I noticed when the last juror was

 11   talking about the McDonald's case you were nodding your head,

 12   and so do you have similar feelings about the McDonald's case?

 13               PROSPECTIVE JUROR WIENHOLD:       I have very similar

 14   feelings in general.      I worked for almost 20 years at St. Luke's

 15   Hospital.     I worked in a position the last seven years that made

 16   me directly have to choose and select the health insurance for

 17   North Park.    I have strong feelings about what -- and I do.          I

 18   believe excessive damages have done and do to -- whether it's

 19   the health industry, whether it's insurance, and that passes

 20   directly on to businesses because it has to be passed on.

 21               So I believe that people have the right to be

 22   compensated for out of pocket, for costs.         But I believe that

 23   somewhere we need to come to a place where we can accept that --

 24   and maybe also I am an eternal optimist, that corporations, I

 25   don't always like them.      I had associations with one that I

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 119 of 223
                                                    of the transcript.
                                                                    120



  1   don't like.    But -- for a short time but that they are

  2   inherently good, they're not out to hurt people, and that yes,

  3   they need to pay but we have to have caps on things so that a

  4   business actually knows what maybe their liability is.

  5               THE COURT:    What do you think a reasonable cap on

  6   compensatory damages should be?        Do you understand what I mean

  7   by compensatory?

  8               PROSPECTIVE JUROR WIENHOLD:       Is that the out-of-pocket

  9   expenses?

 10               THE COURT:    Well, it includes the out-of-pocket

 11   expenses, but it also includes emotional distress damages.

 12               PROSPECTIVE JUROR WIENHOLD:       That is a hard one for

 13   me, and you're also going to have a hard time maybe pinning me

 14   down for that because I believe we have some own personal

 15   responsibility in things.

 16               You know, I was in a -- I had a car parked in a

 17   parking lot here in town legally parked.         I was not in the car.

 18   It wasn't parked on the end.       I came out and had ambulances,

 19   fire trucks, police around my car.        A lady hit my car.        Now, she

 20   had a heart attack, and she eventually died.          I was held

 21   partially responsible for that, you know, and from their logic,

 22   maybe we all have some responsibility in things.           So that's

 23   where maybe we do have to come to some terms.

 24               And I don't know what that is.       I wouldn't want to be

 25   the person setting it but that it's not the sky's the limit.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 120 of 223
                                                    of the transcript.
                                                                    121



  1   How we do that I don't know.       But I do believe that when we come

  2   to the punitive part of it we've really gotten excessive in a

  3   lot of cases.

  4               THE COURT:    Now, do you remember when the prior juror

  5   in talking about the McDonald's case said that, you know, it was

  6   obviously the lady's fault for spilling the coffee?

  7               PROSPECTIVE JUROR WIENHOLD:       I don't know that I --

  8   okay.   You could take the devil's side of that.

  9               THE COURT:    Which would be?

 10               PROSPECTIVE JUROR WIENHOLD:       Which would be, okay.

 11   Yeah, okay.    She spilled the coffee.       That is her part in that.

 12   If there was the part that that coffee and -- was too hot,

 13   that's where McDonald's should be in my mind responsible for

 14   injuries.

 15               THE COURT:    Okay.   Now let's just back up a minute.

 16   The actual facts in the McDonald's case were that she took the

 17   cup of coffee, put it between her legs after she bought it

 18   through the drive-in window.       Do you think it's reasonably

 19   foreseeable to a company like McDonald's that sells coffee

 20   through a drive-in window that people are going to take the

 21   coffee and maybe spill it?

 22               PROSPECTIVE JUROR WIENHOLD:       No, and that --

 23               THE COURT:    You don't think that's reasonably

 24   foreseeable that people would spill coffee?

 25               PROSPECTIVE JUROR WIENHOLD:       Oh, yes, it would, but I

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 121 of 223
                                                    of the transcript.
                                                                    122



  1   don't -- in that case --

  2               THE COURT:    Well, just a second.

  3               PROSPECTIVE JUROR WIENHOLD:       That's her

  4   responsibility.     Say it again.     Maybe I didn't hear.

  5               THE COURT:    Okay.    I was only asking the question.        I

  6   wasn't talking about responsibility.         I was saying is it

  7   foreseeable to a company like McDonald's that sells coffee

  8   through a drive-in window that a certain number of people are

  9   going to take that coffee, put it between their legs or put it

 10   somewhere else, the coffee will spill and could potentially

 11   injure them?    Do you think that's reasonably foreseeable?

 12               PROSPECTIVE JUROR WIENHOLD:       I don't know.    How many

 13   cups of their coffee actually spill?         And of those that spill,

 14   is it their responsibility?

 15               THE COURT:    Well, that's a different question.        I

 16   understand that.

 17               PROSPECTIVE JUROR WIENHOLD:       I know.   But it's --

 18               THE COURT:    So you don't think --

 19               PROSPECTIVE JUROR WIENHOLD:       Are they supposed to

 20   assume that so many cups of their coffee are going to spill?

 21               THE COURT:    Absolutely, if that's what, in fact,

 22   reality is.    And we all know people spill coffee.         Have you ever

 23   been in a car where people spilled a beverage that they got from

 24   a fast food establishment?        You ever had that happen?

 25               PROSPECTIVE JUROR WIENHOLD:       I probably can't say

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 122 of 223
                                                    of the transcript.
                                                                    123



  1   never, I mean.

  2                THE COURT:   I think your experience would be very

  3   unique if you've never had that happen.

  4                PROSPECTIVE JUROR WIENHOLD:      That's what I mean.     I

  5   can't give you a date.

  6                THE COURT:   Maybe you've never spilled anything from a

  7   fast food restaurant, but I know I have.

  8                PROSPECTIVE JUROR WIENHOLD:      Yeah.

  9                THE COURT:   But do you know how hot McDonald's heated

 10   the coffee compared to the industry average?

 11                PROSPECTIVE JUROR WIENHOLD:      No.

 12                THE COURT:   Well, would that be an important fact to

 13   know?

 14                PROSPECTIVE JUROR WIENHOLD:      It would be an important

 15   fact.     But would it change my mind that there still should be a

 16   limit?    If they were negligent --

 17                THE COURT:   I suspect there's not much that's going to

 18   change your mind, and that's why I'm going to excuse you as a

 19   juror.    Thank you.

 20                PROSPECTIVE JUROR WIENHOLD:      All right.

 21                THE COURT:   Thanks.   Could you call our next juror,

 22   please?

 23                THE CLERK:    Yes, Your Honor.     Mark -- Michael

 24   Rickert.

 25                THE COURT:   Thank you.    Have a good day.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 123 of 223
                                                    of the transcript.
                                                                    124



  1                Good morning.

  2                PROSPECTIVE JUROR RICKERT:      Hi.

  3                THE COURT:   Okay.    We've got two new jurors, and

  4   they're both seated next to each other.         So I'm going to ask you

  5   both the following questions, and just raise your hand or

  6   indicate -- grab the microphone and indicate if you have a yes

  7   answer.    Do you know any of the lawyers or witnesses in the

  8   case?     Either one of you know any of the lawyers or witnesses in

  9   the case?    Anything about the length of the trial that would be

 10   a severe or extraordinary hardship for you to serve?           We're

 11   talking about now the rest of this week, next week, and probably

 12   all of the following week.        Would that be a severe or

 13   extraordinary hardship for either of you?          Nope?   Okay.    That's

 14   good.

 15                Mr. Rickert, I'll start with you.       Do you think you'd

 16   be a good juror in the case?

 17                PROSPECTIVE JUROR RICKERT:      I think so.

 18                THE COURT:   Do you have any views on awarding damages,

 19   either compensatory damages, the purpose of which is to

 20   compensate the plaintiff for any damages they've proved, or

 21   punitive damages?     The purpose is to punish the company for

 22   their conduct.     Do you have any problem in awarding either type

 23   of damages if the evidence in the case and the law in my

 24   instructions support it?

 25                PROSPECTIVE JUROR RICKERT:      No.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 124 of 223
                                                    of the transcript.
                                                                    125



  1               THE COURT:    What about the prior juror who was, all

  2   due respect, trying to blame all of the problems of rising

  3   insurance on lawsuits?      The actual studies show it's got

  4   virtually nothing to do with the cost of rising insurance.            But,

  5   you know, everybody's entitled to their opinion whether it's

  6   based on any facts or not.       That's the great thing about the

  7   country.

  8               But do you have any particular opinion about if all

  9   the horrors of increased insurance are blamed on too many

 10   lawsuits or anything like that?        I mean, you hear that a lot.

 11   It just happens not to be true.        But, you know, people can

 12   believe whatever they want.       But I'm just curious as to what you

 13   believe.

 14               PROSPECTIVE JUROR RICKERT:       I think like you pointed

 15   out before, that would be one side of it, not knowing both sides

 16   as to how that's arrived at or -- I think you're only hearing,

 17   well, it's just because of the awards; that's why it's all going

 18   up.   There's probably a lot more to it within the product or

 19   something that makes it that way too.         So I would think there's

 20   more to it than just easily saying it's --

 21               THE COURT:    There's a lot more to it, and here's the

 22   bottom line.    This case isn't going to solve that problem one

 23   way or the other.     Do you appreciate that?

 24               PROSPECTIVE JUROR RICKERT:       Yes.

 25               THE COURT:    We're not going to solve the problem of

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 125 of 223
                                                    of the transcript.
                                                                    126



  1   healthcare costs in this case.        That's not the purpose of the

  2   case.   Regardless of what you do, it's going to have zero impact

  3   on that issue.     Does that make sense?

  4                PROSPECTIVE JUROR RICKERT:      Yes.

  5                THE COURT:   And does it make sense to you that you

  6   have to judge this case based on the facts and the law and not

  7   be concerned about rising healthcare costs or doctors being sued

  8   for malpractice which has absolutely nothing to do with this

  9   case?

 10                PROSPECTIVE JUROR RICKERT:      Yes.

 11                THE COURT:   Okay.   Based on what you've heard so far,

 12   do you think you could be fair to the Kuipers and fair to

 13   Givaudan?

 14                PROSPECTIVE JUROR RICKERT:      Yes, I do.

 15                THE COURT:   Have you ever filed a lawsuit?

 16                PROSPECTIVE JUROR RICKERT:      No.

 17                THE COURT:   Now, with all due respect to the last

 18   juror who I excused, she claimed she was in a situation where

 19   she parked legally, somebody hit her car, and she was still held

 20   responsible.    That's legally impossible because you have to be

 21   negligent in order to be held responsible.          And if you're

 22   legally parked somewhere, by definition you couldn't be

 23   negligent.    So can you appreciate that while she had this very

 24   strong opinion and view there are probably more facts than what

 25   she let on to it?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 126 of 223
                                                    of the transcript.
                                                                    127



  1               PROSPECTIVE JUROR RICKERT:       Yes.

  2               THE COURT:    And do you realize how important it is to

  3   know all of the facts before you reach a judgment in the case?

  4               PROSPECTIVE JUROR RICKERT:       Yes.

  5               THE COURT:    Can you pronounce your name for us, our

  6   last juror there sitting --

  7               PROSPECTIVE JUROR BESCHORNER:       Spell?

  8               THE COURT:    Can you pronounce it for me?

  9               PROSPECTIVE JUROR BESCHORNER:       Beschorner.

 10               THE COURT:    Okay.   Can you hold that microphone up a

 11   little higher?

 12               PROSPECTIVE JUROR BESCHORNER:       Beschorner.

 13               THE COURT:    Is it Miss or Mrs.?

 14               PROSPECTIVE JUROR BESCHORNER:       Mrs.

 15               THE COURT:    Okay.   Mrs. Beschorner, what are your

 16   feelings in general about damages in civil cases?           Do you have

 17   any general sense of it?

 18               PROSPECTIVE JUROR BESCHORNER:       No.    I think the courts

 19   are generally fair.

 20               THE COURT:    Okay.   I'm not sure that microphone is on.

 21   Can you check to see that light is on?         It's on?    Sometimes the

 22   batteries run out.

 23               PROSPECTIVE JUROR BESCHORNER:       No, I think the courts

 24   are generally fair.

 25               THE COURT:    Okay.   And do you think you could be fair

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 127 of 223
                                                    of the transcript.
                                                                    128



  1   in this case to both sides?

  2               PROSPECTIVE JUROR BESCHORNER:       I think so.

  3               THE COURT:     Do you think you bring a view that favors

  4   either the Kuipers or Givaudan, or do you think you come into

  5   this case pretty even, pretty neutral?

  6               PROSPECTIVE JUROR BESCHORNER:       Pretty even.

  7               THE COURT:     And do you think you'd have a difficult

  8   time basing your judgment solely on the evidence that's

  9   presented in court and on my written jury instructions?

 10               PROSPECTIVE JUROR BESCHORNER:       No.

 11               THE COURT:     Okay.   Thank you.

 12               Mr. McClain?

 13               MR. MCCLAIN:    Yes, Your Honor.

 14               Mr. Loutsch.

 15               PROSPECTIVE JUROR LOUTSCH:       Loutsch.

 16               MR. MCCLAIN:    Loutsch?

 17               PROSPECTIVE JUROR LOUTSCH:       Yes, sir.

 18               MR. MCCLAIN:    You had your hand up regarding the issue

 19   regarding damages.     Is it -- tell me -- tell me why you had your

 20   hand up.

 21               PROSPECTIVE JUROR LOUTSCH:       In general, as I told the

 22   judge earlier, that there's just instances that I thought they

 23   were excessive and no in particular case or . . .

 24               MR. MCCLAIN:    But do you -- recognizing that

 25   particular cases have caught your attention without going into

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 128 of 223
                                                    of the transcript.
                                                                    129



  1   all the details about the cases that we've talked about, do you

  2   think that there should be some cap on damages?

  3               PROSPECTIVE JUROR LOUTSCH:       I think you have to base

  4   that on the case.

  5               MR. MCCLAIN:    Okay.   And what do you mean by that?

  6               PROSPECTIVE JUROR LOUTSCH:       As to what the evidence,

  7   et cetera, is brought forth through the process of the trial.

  8               MR. MCCLAIN:    Well, let me just test what you mean by

  9   that if I can.     Could you in an appropriate case award millions

 10   of dollars if the evidence and the law justified it?

 11               PROSPECTIVE JUROR LOUTSCH:       If they justified it, yes.

 12               MR. MCCLAIN:    Okay.   And is there something that you

 13   come in with that -- say that a case involving personal injury

 14   couldn't justify those kinds of damages?

 15               PROSPECTIVE JUROR LOUTSCH:       Not without hearing as to

 16   what is going to be brought.

 17               MR. MCCLAIN:    So in your mind those could be awarded

 18   by you in a case.

 19               PROSPECTIVE JUROR LOUTSCH:       Depending upon the

 20   evidence and the facts brought forward, yes.

 21               MR. MCCLAIN:    Okay.   Fair.    What about the punitive

 22   damage question?

 23               PROSPECTIVE JUROR LOUTSCH:       Oh, basically the same

 24   thing.   As to what evidence and -- is brought forward through

 25   the process of the trial.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 129 of 223
                                                    of the transcript.
                                                                    130



  1               MR. MCCLAIN:    Well, the Court's going to tell you, you

  2   know, what the law is about who can get punitive damages and why

  3   they should be awarded and the purpose for them and a number of

  4   other things that you'll have to consider.          But the question I

  5   have is do you think that punitive damages serve a purpose in

  6   our society?

  7               PROSPECTIVE JUROR LOUTSCH:       Well, yeah.    It's a

  8   process as the judge was saying earlier to what -- what I guess

  9   responsibility they bear.

 10               MR. MCCLAIN:    Sure.

 11               PROSPECTIVE JUROR LOUTSCH:       In the process.

 12               MR. MCCLAIN:    Sure.   We talk a lot about personal

 13   responsibility, but do you believe that there is a corporate

 14   responsibility, that corporations do have a responsibility to

 15   act reasonably and for the good of all of us?

 16               PROSPECTIVE JUROR LOUTSCH:       Yes, they do.

 17               MR. MCCLAIN:    Okay.   And when they don't, do you

 18   believe that punitive damages serve a valid purpose to make

 19   companies do what they ought to do?

 20               PROSPECTIVE JUROR LOUTSCH:       Yes, I do.

 21               MR. MCCLAIN:    Okay.   That's all I had, Mr. Loutsch.        I

 22   did have one other thing as long as I'm here, and that is what

 23   did you go to Dr. Bainbridge about?

 24               PROSPECTIVE JUROR LOUTSCH:       I had a farm accident, and

 25   I had some surgery, et cetera, and I had some respiratory

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 130 of 223
                                                    of the transcript.
                                                                    131



  1   problems.

  2               MR. MCCLAIN:    I see.    Did you like the treatment and

  3   care that Dr. Bainbridge gave you?        I mean, were you satisfied

  4   with it?

  5               PROSPECTIVE JUROR LOUTSCH:       Yes.

  6               MR. MCCLAIN:    Okay.    Now -- so let me come back to

  7   this.    And I'm pleased that it was good, and Dr. Bainbridge is a

  8   fine fellow, no question about that.         But the question is -- and

  9   I know it was a while ago.        But you kind of have a reservoir of

 10   good feeling towards Dr. Bainbridge from what I'm hearing from

 11   you.    Am I right?

 12               PROSPECTIVE JUROR LOUTSCH:       No.

 13               MR. MCCLAIN:    No?

 14               PROSPECTIVE JUROR LOUTSCH:       As a doctor, that's all I

 15   knew the man.

 16               MR. MCCLAIN:    Okay.    And so when he comes, it's not

 17   going to be a situation or if he comes -- I don't know whether

 18   he'll come or not.     Maybe we'll call him.        But the question is

 19   when he comes, no matter which side calls him in this case, if

 20   any side calls him, because he was one of the treating

 21   physicians that Mr. Kuiper saw in this case, are you going to be

 22   able to set your experience to one side or the other, or do you

 23   think that your experience will somehow come into play in terms

 24   of judging what he says or what he doesn't say?

 25               PROSPECTIVE JUROR LOUTSCH:       I don't think it will have

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 131 of 223
                                                    of the transcript.
                                                                    132



  1   any effect on it at all.

  2               MR. MCCLAIN:    All right.    Thank you very much.       I

  3   appreciate it.

  4               Was there anyone else who had their hand up on this

  5   damage question who hasn't been asked a question yet?           Don't

  6   be -- I know that we've had a lot of questions, but it really is

  7   an important question in the case.        And so if someone's holding

  8   back because you don't want to be grilled, I promise to be easy.

  9   Anybody else?

 10               All right.     Has anyone -- some of you -- I made some

 11   kind of cryptic notes.      But has anyone become aware of lawsuits

 12   or litigation that have involved butter flavor and injury to

 13   lungs?   Mr. Storm, you have.      Anyone else on the panel?        Mr. --

 14   I'm going to mess it up again.

 15               PROSPECTIVE JUROR LOUTSCH:       Loutsch.

 16               MR. MCCLAIN:    Loutsch.    I was going to say Loutsch

 17   again.   I knew that was wrong.       Loutsch.    And I'm sorry.

 18   You're --

 19               PROSPECTIVE JUROR RICKERT:       Rickert.

 20               MR. MCCLAIN:    -- Mr. Rickert.       Without really asking

 21   you what you heard because we'll then be chasing down all that,

 22   Mr. Rickert, how much or how many articles have you read on the

 23   issue?

 24               PROSPECTIVE JUROR RICKERT:       Just a couple.

 25               MR. MCCLAIN:    Just a couple?       Anything that you read

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 132 of 223
                                                    of the transcript.
                                                                    133



  1   in those articles, have they -- were they persuasive enough to

  2   make you make your mind up about the whole issue of butter

  3   flavor and what effect it has on lungs or Givaudan and what they

  4   knew and when they knew it, those kind of issues that we're

  5   going to discuss in this case?

  6               PROSPECTIVE JUROR RICKERT:       No.

  7               MR. MCCLAIN:    Do you think you can put aside whatever

  8   it is you read in that article or couple articles and judge the

  9   case based on the evidence that we bring you in the court from

 10   the witness stand and the instructions that the Court gives you

 11   about the law?

 12               PROSPECTIVE JUROR RICKERT:       Sure.

 13               MR. MCCLAIN:    You think you can do that?

 14               PROSPECTIVE JUROR RICKERT:       Yes.

 15               MR. MCCLAIN:    All right.    Thank you.

 16               Mr. Loutsch?    How many articles have you read?

 17               PROSPECTIVE JUROR LOUTSCH:       A couple.

 18               MR. MCCLAIN:    And probably the same couple articles

 19   that Mr. Rickert read.      Were they important enough to you that

 20   you think that they have colored your view of this issue before

 21   you come into the case, or do you think you can set those aside

 22   and decide the case based on the evidence that you hear in the

 23   case?

 24               PROSPECTIVE JUROR LOUTSCH:       I think I can base it on

 25   the evidence.     And the articles that I read I guess was out of

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 133 of 223
                                                    of the transcript.
                                                                    134



  1   Jasper, Missouri, and I have no idea who the chemical was

  2   supplied by.    And I do some trucking part time.

  3               MR. MCCLAIN:    Trucking?

  4               PROSPECTIVE JUROR LOUTSCH:       Yes, sir.

  5               MR. MCCLAIN:    Yes.

  6               PROSPECTIVE JUROR LOUTSCH:       And I had picked some

  7   product up from that place is what caught my attention on it

  8   actually.

  9               MR. MCCLAIN:    Jasper Popcorn Company, you've had some

 10   dealings with that company.

 11               PROSPECTIVE JUROR LOUTSCH:       I have picked product up

 12   at that one time I did, yes.

 13               MR. MCCLAIN:    Did you know anybody from that microwave

 14   popcorn plant?

 15               PROSPECTIVE JUROR LOUTSCH:       I did not.

 16               MR. MCCLAIN:    Did you know any of the workers that

 17   were injured from that plant?

 18               PROSPECTIVE JUROR LOUTSCH:       I did not.

 19               MR. MCCLAIN:    Okay.   But you simply read the story

 20   because you were familiar with where that was.           You'd picked

 21   product up.

 22               PROSPECTIVE JUROR LOUTSCH:       Yes, sir.

 23               MR. MCCLAIN:    Okay.   Well, you're going to hear about

 24   the Jasper Popcorn plant in this case, and I'm not going to go

 25   into details, but it is an issue in the case in terms of

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 134 of 223
                                                    of the transcript.
                                                                    135



  1   discovery of the illness, and some of the people that were

  2   involved, in fact, are going to testify here.

  3               Now, knowing that, do you think you can set aside

  4   whatever it was you read about the Jasper Popcorn incident and

  5   decide this case based on Mr. Kuiper's exposure at American Pop

  6   Corn Company?

  7               PROSPECTIVE JUROR LOUTSCH:       I think so.

  8               MR. MCCLAIN:    Okay.   How strongly do you think so?

  9               PROSPECTIVE JUROR LOUTSCH:       Quite strongly.

 10               MR. MCCLAIN:    Okay.   Thank you.    Anything else from

 11   the articles you read that you think might impact your ability

 12   to be fair and impartial to both sides in the case?

 13               PROSPECTIVE JUROR LOUTSCH:       I don't believe so.

 14               MR. MCCLAIN:    Just to put a fine point on it if I can.

 15               PROSPECTIVE JUROR LOUTSCH:       Yes, sir.

 16               MR. MCCLAIN:    Sitting here right now, do I have

 17   anything to worry about you being a juror in the case?

 18               PROSPECTIVE JUROR LOUTSCH:       I would think not.

 19               MR. MCCLAIN:    And does Mr. Pagliaro for the defendant

 20   have anything to worry from you in terms of making your mind up

 21   in this case?

 22               PROSPECTIVE JUROR LOUTSCH:       I think not either.

 23               MR. MCCLAIN:    Thank you, Mr. Loutsch.

 24               Mr. Storm, you raised your hand regarding this issue.

 25   How many articles -- how many articles did you read?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 135 of 223
                                                    of the transcript.
                                                                    136



  1               PROSPECTIVE JUROR STORM:         I don't even remember any

  2   articles or whether I heard it on the news.            I just remember

  3   having some general knowledge about this topic.

  4               MR. MCCLAIN:    Okay.   And do you think that whatever it

  5   was you've read or the general knowledge that you've had, do you

  6   think that you're in a -- you have the ability to set that aside

  7   and judge this case based upon the evidence that you hear in the

  8   court and the Court's instructions on the issues?

  9               PROSPECTIVE JUROR STORM:         Yes.

 10               MR. MCCLAIN:    Anything that stands out in your mind

 11   about that -- those articles or the general knowledge that you

 12   read that you're going to have to fight against as you sit here?

 13               PROSPECTIVE JUROR STORM:         No.

 14               MR. MCCLAIN:    Okay.   Thank you.      Anybody else that has

 15   had experience or some contact or exposure to stories about

 16   microwave popcorn plants or butter flavor-related injuries?

 17               The question that was raised when we had the juror

 18   who -- Mr. Reiss I think was his name, anybody here who feels

 19   like you had a lawsuit to bring and didn't bring it?            Is there

 20   anyone here that feels like you have not brought a lawsuit that

 21   you could have brought?      Nobody?    Nobody with that experience?

 22               Is there anyone here who has, in fact, brought a civil

 23   lawsuit for a personal injury?        Yes.    Ms. --

 24               PROSPECTIVE JUROR ROSS:      Ross.

 25               MR. MCCLAIN:    -- Ross, Sally Jo Ross, yes, ma'am.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 136 of 223
                                                    of the transcript.
                                                                    137



  1   Tell us about that.

  2               PROSPECTIVE JUROR ROSS:      My son was hit by a car when

  3   he was seven years old, and we took it to court and weren't real

  4   happy with the settlement that he got out of the courts.            But I

  5   look at it as, you know, a learning experience.          And then I've

  6   also had a work comp. issue on myself.

  7               MR. MCCLAIN:    Yes.    And from your questionnaire, I

  8   take it that the whole experience regarding your child was

  9   unsatisfactory to you?

 10               PROSPECTIVE JUROR ROSS:      Yes, it was.

 11               MR. MCCLAIN:    And your interaction with the lawyers

 12   was bad too?

 13               PROSPECTIVE JUROR ROSS:      Yeah, I think the lawyer was

 14   the bigger issue in the law case, just the satisfaction, yes.

 15               MR. MCCLAIN:    Okay.    Now, only you can answer this

 16   issue because as I stand in front of you as a lawyer

 17   representing a client, how do you feel about me?

 18               PROSPECTIVE JUROR ROSS:      I know nothing about you, so

 19   I have no feelings one way or another.

 20               MR. MCCLAIN:    Or Mr. Storm who's sitting next to you.

 21               PROSPECTIVE JUROR ROSS:      Same thing.

 22               MR. MCCLAIN:    Do you think that you can -- you have

 23   the ability to set aside the issue involving your own case, or

 24   do you think it would be an issue for you in this case?

 25               PROSPECTIVE JUROR ROSS:      No.   Actually I'm very open

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 137 of 223
                                                    of the transcript.
                                                                    138



  1   minded on this case.

  2               MR. MCCLAIN:    Okay.    And does it sound interesting to

  3   you?

  4               PROSPECTIVE JUROR ROSS:      Yes, it does.

  5               MR. MCCLAIN:    And it's something that you'd be willing

  6   to sit and listen to and judge fairly on both sides?

  7               PROSPECTIVE JUROR ROSS:      Yes.

  8               MR. MCCLAIN:    Okay.    Thank you.   I appreciate it.

  9               PROSPECTIVE JUROR ROSS:      You're more than welcome.

 10               THE COURT:     Would now be a good time to take our noon

 11   recess?

 12               MR. MCCLAIN:    Sure, sure.

 13               THE COURT:     Okay.   And while you have the microphone,

 14   Miss Ross, I'm just going to ask you a couple of questions, and

 15   then we'll take our recess.        We've heard from some other

 16   potential jurors that they think oftentimes damages are too high

 17   or excessive in cases that they read about.          Do you think

 18   sometimes that settlements or jury awards and verdicts can be

 19   too low?

 20               PROSPECTIVE JUROR ROSS:      Yes, in some cases I do.       But

 21   I think a lot of it has -- depends on -- well, actually not too

 22   low.    I think the lawyer portion was too high out of my son's

 23   case.

 24               THE COURT:     Oh.   You're unhappy with how much money

 25   the lawyer took.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 138 of 223
                                                    of the transcript.
                                                                    139



  1               PROSPECTIVE JUROR ROSS:      Right.

  2               THE COURT:    Okay.   But are you open to the possibility

  3   that sometimes awards might be too low?

  4               PROSPECTIVE JUROR ROSS:      Anything could happen because

  5   we're all human, so, I mean, it can go either way.           We're all --

  6   you know, we're all out to make errors.         We all make mistakes.

  7   And to say somebody got hurt bad enough, there's no way of

  8   putting a money value to that.

  9               THE COURT:    That's a hard thing to do, isn't it?

 10               PROSPECTIVE JUROR ROSS:      It is.

 11               THE COURT:    And would you agree that the best any

 12   juror could do is listen to the evidence and then make the best

 13   judgment they can based on the evidence in this particular case

 14   and the law in my instructions?

 15               PROSPECTIVE JUROR ROSS:      Yes.

 16               THE COURT:    And whether some cases are too high or

 17   some are too low, that really doesn't have any bearing on this

 18   case, does it?

 19               PROSPECTIVE JUROR ROSS:      No, it does not because every

 20   case is different.     Everybody is different.       And everyone reacts

 21   differently to different things.

 22               THE COURT:    Yeah, that's an excellent point, great

 23   place to stop.

 24               We're going to take just a little over an hour recess.

 25   It's almost noon now.      And we're going to come back at 1:10.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 139 of 223
                                                    of the transcript.
                                                                    140



  1   And everybody needs to remember where you're seated so --

  2   particularly the 14 of you.         You need to come back.    The other

  3   members of potential jurors, you can come back and basically sit

  4   anywhere you want.     And remember not to talk among yourselves

  5   about this case or let anybody talk to you about it.           And we'll

  6   see you back here at 1:10.         And we'll keep going till we get our

  7   jury selected.     Thank you.

  8               (The jury venire exited the courtroom.)

  9               THE COURT:     Counsel, anything -- I think all the

 10   jurors are almost out now.         Anything we need to chat about?

 11               MR. PAGLIARO:    I don't think so, Judge.

 12               THE COURT:     Okay.    Thank you.   See you back at 1:10.

 13               (Lunch recess at 11:58 a.m.)

 14               THE COURT:     Thank you, Nick.

 15               Everybody please be seated.

 16               And, Mr. McClain, you may continue with your jury

 17   selection questioning.

 18               MR. MCCLAIN:    Good afternoon, ladies and gentlemen.

 19   We'll pick up kind of where we were.         I have some specific

 20   questions that I want to ask that came out of your

 21   questionnaires, and I'll try to be very brief when I do it, but

 22   I just needed some clarification on some of these points where

 23   you answered the questions that probably didn't give you enough

 24   room to answer.

 25               Mr. Woodward, you work at Tyson; is that right?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 140 of 223
                                                    of the transcript.
                                                                    141



  1                THE COURT:     Can we pass the microphone all the way

  2   down to the end, please, in the back row?           Woop.   We don't have

  3   a CSO.    Oh, thank you so much.      We're going to get you one of

  4   those blue blazers and an earphone now.

  5                PROSPECTIVE JUROR MEINEN:      Good.

  6                THE COURT:     Thank you.

  7                PROSPECTIVE JUROR WOODWARD:      Yes, I do, sir.

  8                MR. MCCLAIN:    You mentioned some things about safety

  9   and your views on worker safety.         What do you think about

 10   workers suing companies that supply chemicals to their places of

 11   employment?    Do you have any thoughts about that?

 12                PROSPECTIVE JUROR WOODWARD:      Not really I guess, I

 13   mean.     We're basically trained through our MSDS sheets on how to

 14   use them properly.

 15                MR. MCCLAIN:    Right.   And that may be an issue in this

 16   case regarding the MSDS sheets and whether the MSDS sheets

 17   contained all the information that the company knew about,

 18   Givaudan, that is, about the risks of this butter flavor and its

 19   ingredients.    What has been your training in regards to MSDS

 20   sheets?

 21                PROSPECTIVE JUROR WOODWARD:      Basically we're trained

 22   on their hazards, proper safety equipment to wear, medical

 23   treatment if you're exposed to certain toxics or whatever.

 24                MR. MCCLAIN:    And is all that stuff supposed to be on

 25   the MSDS sheet?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 141 of 223
                                                    of the transcript.
                                                                    142



  1               PROSPECTIVE JUROR WOODWARD:       Yes, sir.

  2               MR. MCCLAIN:    And you follow those sheets?

  3               PROSPECTIVE JUROR WOODWARD:       Yes.

  4               MR. MCCLAIN:    Now, I suspect that Tyson has their own

  5   safety department; is that right?

  6               PROSPECTIVE JUROR WOODWARD:       Yes, they do.

  7               MR. MCCLAIN:    But you still have to rely on what the

  8   manufacturers of the chemicals tell you about those chemicals;

  9   is that right?

 10               PROSPECTIVE JUROR WOODWARD:       Yes.

 11               MR. MCCLAIN:    At Tyson is that the way it works?

 12               PROSPECTIVE JUROR WOODWARD:       Yes.

 13               MR. MCCLAIN:    Okay.   You mentioned here some -- you

 14   know, kind of the same idea that Ms. Ross expressed earlier

 15   about the legal system and maybe lawyers end up with too much of

 16   the settlements.     Does that impact your view of this case or

 17   damages in this case at all?

 18               PROSPECTIVE JUROR WOODWARD:       Not really, no.

 19               MR. MCCLAIN:    Tell me more about what you were

 20   thinking.

 21               PROSPECTIVE JUROR WOODWARD:       Well, I've seen some

 22   people that have been injured on the job, some of their

 23   testimonies on different -- part of our Tyson safety program

 24   stuff, and on certain cases the -- even though there's a large

 25   settlement or whatever, the amount of money that the individual

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 142 of 223
                                                    of the transcript.
                                                                    143



  1   does get on this one particular case was not sufficient or -- in

  2   my mind was not sufficient or whatever.

  3               MR. MCCLAIN:    What do you feel about damages?         Are you

  4   concerned about damage caps or punitive damages at all?

  5               PROSPECTIVE JUROR WOODWARD:       Not really, no.

  6               MR. MCCLAIN:    You think you would be able to follow

  7   the Court's instruction on those issues and award --

  8               PROSPECTIVE JUROR WOODWARD:       Yes, sir.

  9               MR. MCCLAIN:    -- an amount that was justified by the

 10   evidence and the law in this case?

 11               PROSPECTIVE JUROR WOODWARD:       Yes, sir.

 12               MR. MCCLAIN: Okay.     All right.    Thank you.    I

 13   appreciate it, Mr. Woodward.

 14               Ms. Jensen -- Jessen, I'm sorry, a couple things I

 15   wanted to ask you about.       You say you watch The O'Reilly Factor.

 16   And sometimes I do too, you know, and it's very entertaining.

 17   But sometimes he says a lot of things about lawsuits and the

 18   legal system and judges and all kinds of things.           Tell me,

 19   what -- how does -- how do those opinions strike you?           What do

 20   you -- not to say there's anything wrong with the opinions, but

 21   they're very strong opinions about the legal system and various

 22   views that he expresses on that show.         What are your views on

 23   that subject?

 24               PROSPECTIVE JUROR JESSEN:      I don't think he really --

 25   I think he's fair and balanced.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 143 of 223
                                                    of the transcript.
                                                                    144



  1               THE COURT:     I don't think the microphone's on.       I'm

  2   sorry.   It's hard to tell when you're speaking, but we can tell.

  3               PROSPECTIVE JUROR JESSEN:       Okay.   Hello.

  4               THE COURT:     Thank you.

  5               PROSPECTIVE JUROR JESSEN:       You know, he has his views

  6   like everybody else does or whatever, but I take it with a grain

  7   of salt.

  8               MR. MCCLAIN:    Well, you said you think he's fair and

  9   balanced, and I guess that's the -- that's the catch phrase for

 10   the show.    But, you know, he does have some pretty strong

 11   opinions about judges and, you know, they follow judges around

 12   and all kinds of things.       What do you think about all that?

 13               PROSPECTIVE JUROR JESSEN:       Well, if -- you know, maybe

 14   they should be followed around.         Maybe they didn't do what they

 15   were supposed to do.

 16               MR. MCCLAIN:    Tell me about that.      What do you mean?

 17   Because it's a frequent thing.        It's kind of a feature on the

 18   show when I've tuned in.       At least once a week they'll be

 19   following a judge or someone around with a microphone.

 20               PROSPECTIVE JUROR JESSEN:       Well, a lot of times it's

 21   because, you know, a perpetrator of a child or something, they

 22   let it go and not, you know, brought them up to charges or

 23   whatever.

 24               MR. MCCLAIN:    And also sometimes they'll be talking

 25   about verdicts and he'll be taking off about a large verdict

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 144 of 223
                                                    of the transcript.
                                                                    145



  1   somewhere involving a civil damage case.         I've seen those.       Have

  2   you seen those?

  3               PROSPECTIVE JUROR JESSEN:      Not that I -- you know,

  4   stays in my mind.

  5               MR. MCCLAIN:    Nothing stays in your mind on that?

  6   Because you said here that damages are occasionally too large.

  7   What did you mean by that?

  8               PROSPECTIVE JUROR JESSEN:      Well, I think just like how

  9   everybody thinks.     It's like millions of dollars is a lot of

 10   money.

 11               MR. MCCLAIN:    Okay.

 12               PROSPECTIVE JUROR JESSEN:      And a lot of people do, you

 13   know, get those kind of settlements.

 14               MR. MCCLAIN:    Well --

 15               THE COURT:     Mr. McClain, could I interrupt you for a

 16   second?

 17               MR. MCCLAIN:    Yes.

 18               THE COURT:     It just dawned on me there's something I

 19   wanted to ask some of the jurors.        And, Miss Jessen, I'll pick

 20   on you because you have the microphone.

 21               MR. MCCLAIN:    Do you want me to sit down?

 22               THE COURT:     No, no.   It will just take a second.        The

 23   last two weeks I was in a patent trial between two large

 24   corporations, major national insurance companies.           And after

 25   hearing all the evidence, the jury awarded 13 million dollars in

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 145 of 223
                                                    of the transcript.
                                                                    146



  1   damages.    Was that too high or too low or just right?

  2                PROSPECTIVE JUROR JESSEN:     Sounds like a lot of money

  3   to me, but like I say, I don't know what all -- what all went on

  4   either.

  5                THE COURT:   So unless you heard all the evidence, you

  6   really wouldn't be able to tell whether it was too high or too

  7   low or just right.

  8                PROSPECTIVE JUROR JESSEN:     Right.

  9                THE COURT:   And it sounds like a lot of money.

 10                PROSPECTIVE JUROR JESSEN:     Yeah.

 11                THE COURT:   Right?

 12                PROSPECTIVE JUROR JESSEN:     Uh-huh.

 13                THE COURT:   But it might be less than the plaintiff

 14   insurance company actually deserved; right?          Could be.

 15                PROSPECTIVE JUROR JESSEN:     Yep.

 16                THE COURT:   So would you agree with me that every case

 17   is different and we have to base the judgment as jurors on the

 18   facts presented in that particular case?

 19                PROSPECTIVE JUROR JESSEN:     Right.

 20                THE COURT:   And 13 million dollars is a lot of money,

 21   but depending on the claims, it might not have been -- I'll tell

 22   you this.    The defendant was disappointed, and so was the

 23   plaintiff.

 24                PROSPECTIVE JUROR JESSEN:     Okay.

 25                THE COURT:   They went back to their respect -- the

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 146 of 223
                                                    of the transcript.
                                                                     147



  1   lawyers all went back to their respective states, and they were

  2   both disappointed.     The defendant was disappointed because they

  3   lost.   The plaintiff was disappointed because they didn't win

  4   nearly as much as they thought they would have.          So it's all a

  5   relative concept, isn't it?

  6                PROSPECTIVE JUROR JESSEN:      Right.

  7                THE COURT:     Okay.   Thank you.    Excuse me.

  8                MR. MCCLAIN:    Well, that was really helpful.          Thank

  9   you, Judge.

 10                But here's the question.      You know, you mention that

 11   13 million sounded a lot to you.         Do you have a number in your

 12   mind that you couldn't go above in a personal injury case?

 13                PROSPECTIVE JUROR JESSEN:      No.

 14                MR. MCCLAIN:    Or below.

 15                PROSPECTIVE JUROR JESSEN:      No.

 16                MR. MCCLAIN:    I mean --

 17                PROSPECTIVE JUROR JESSEN:      Depending on what happened.

 18                MR. MCCLAIN: Okay.      All right.   Or what about --

 19                PROSPECTIVE JUROR JESSEN:      You know, or what their

 20   future is.

 21                MR. MCCLAIN:    Right.

 22                PROSPECTIVE JUROR JESSEN:      How their life is going to

 23   be after what happened or . . .

 24                MR. MCCLAIN:    Sure.

 25                PROSPECTIVE JUROR JESSEN:      You know, quality of life I

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 147 of 223
                                                    of the transcript.
                                                                    148



  1   guess.

  2                MR. MCCLAIN:   Tell me about your feelings about

  3   punitive damages.     What -- do you have feelings about punitive

  4   damages?

  5                PROSPECTIVE JUROR JESSEN:     Sometimes they're

  6   justified.

  7                MR. MCCLAIN:   What would be instances where you would

  8   think you were justified?

  9                PROSPECTIVE JUROR JESSEN:     Well, maybe if there was a

 10   death, I mean, you know, and you've lost a loved one or

 11   something like that.      I know you never can replace that, but,

 12   you know, a lot of times money does help you be able to go on.

 13                MR. MCCLAIN:   Well, and maybe I'm not clear about

 14   this, and I don't want to get too far into it.          I'm just trying

 15   to probe whether you have fixed opinions on this.           As an

 16   example, if the Court's instructions say that if a company

 17   involves an intentional conduct, that is, they intentionally try

 18   to do things that are wrong and that you can award punitive

 19   damages to stop them from doing that in the future, is that

 20   something that you would be willing to do in a case?

 21                PROSPECTIVE JUROR JESSEN:     Yes.

 22                MR. MCCLAIN:   Okay.

 23                PROSPECTIVE JUROR JESSEN:     Yes.

 24                MR. MCCLAIN:   All right.    Thank you.    I appreciate it.

 25   That was helpful.     I'm sorry.    I didn't mean to put you on the

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 148 of 223
                                                    of the transcript.
                                                                    149



  1   spot.

  2               Miss -- I can't say your name, Miss Schieuer.

  3               PROSPECTIVE JUROR SCHIEUER:        Schieuer.

  4               MR. MCCLAIN:    I'm going to write that so I don't do

  5   that again in a while that I'll try to remember it.           What

  6   accident -- what kind of an accident was your nephew in that --

  7               PROSPECTIVE JUROR SCHIEUER:        It was a construction

  8   accident where a beam fell on his back and broke his back.

  9               MR. MCCLAIN:    And was there some litigation involved?

 10               PROSPECTIVE JUROR SCHIEUER:        It's still an ongoing

 11   thing.

 12               MR. MCCLAIN:    I see.    I see.    And did you -- you

 13   didn't raise your hand, I didn't think, about reading something

 14   about butter flavor.      But in your questionnaire there seemed to

 15   be an indication that you have read or heard something about

 16   butter flavor and butter flavor lawsuits?

 17               PROSPECTIVE JUROR SCHIEUER:        I just -- I don't even

 18   know.    I just vaguely heard there was something with that in the

 19   courts, but I didn't really read or comprehend what it was.

 20               MR. MCCLAIN:    And so it's not an issue that's weighing

 21   upon you currently.

 22               PROSPECTIVE JUROR SCHIEUER:        Nope.

 23               MR. MCCLAIN:    Okay.    What about this -- you stated

 24   that in regard to litigation it has added too much additional

 25   burden on small business owners?        What does that mean?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 149 of 223
                                                    of the transcript.
                                                                    150



  1               PROSPECTIVE JUROR SCHIEUER:       I guess I was thinking of

  2   because we did run and still do run a very small woodworking

  3   business, of all the safety requirements that are -- that are

  4   required of us, that a small business like ours, it's hard to

  5   bring everything up to the code that they want.          It puts an

  6   extra financial burden on us.

  7               MR. MCCLAIN:    So that's what you had in mind?         Now,

  8   you're going to be hearing in this case about regulations,

  9   health and safety regulations, OSHA, NIOSH, that involve this

 10   case.    What do you think about situations where a company is

 11   manufacturing flavorings and they're being used in food and

 12   other things?     Are you concerned that they are not regulated

 13   enough, they are too regulated, or do you have any opinion at

 14   all?

 15               PROSPECTIVE JUROR SCHIEUER:       I don't have any opinion

 16   on that because I don't know enough about it.

 17               MR. MCCLAIN:    Now, are you concerned that litigation

 18   like this that we're involved in where we have my client,

 19   Mr. Kuiper, with a serious lung injury bringing suit against a

 20   chemical manufacturer, is that a case that you think that you

 21   would be interested in sitting on and you would be fair to both

 22   sides?

 23               PROSPECTIVE JUROR SCHIEUER:       I could be fair, yes.

 24               MR. MCCLAIN:    And not worry about its impact in terms

 25   of the business cycle or --

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 150 of 223
                                                    of the transcript.
                                                                    151



  1               PROSPECTIVE JUROR SCHIEUER:       No, no.

  2               MR. MCCLAIN:    Okay.    Thank you.   I appreciate it.

  3               Miss Meinen, did you have -- you have some geology

  4   background; is that right?

  5               PROSPECTIVE JUROR MEINEN:      Yes, I do.

  6               MR. MCCLAIN:    And what -- did you ever work in that

  7   field?

  8               PROSPECTIVE JUROR MEINEN:      No.

  9               MR. MCCLAIN:    What about your association with the

 10   hospital, McKennan Hospital?

 11               PROSPECTIVE JUROR MEINEN:      Yes, I work at Avera

 12   Behavioral Health Hospital in Sioux Falls.

 13               MR. MCCLAIN:    What is it that you do?

 14               PROSPECTIVE JUROR MEINEN:      I'm a behavioral health

 15   technician.    I assist nurses in taking care of psychotic and

 16   suicidal patients.

 17               MR. MCCLAIN:    I see.    What is a BHT?

 18               PROSPECTIVE JUROR MEINEN:      That's a behavioral health

 19   technician.

 20               MR. MCCLAIN:    I see.    And was your -- your husband was

 21   in that field?

 22               PROSPECTIVE JUROR MEINEN:      He was previously in social

 23   work.

 24               MR. MCCLAIN:    What -- and now he's in the insurance

 25   field.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 151 of 223
                                                    of the transcript.
                                                                    152



  1                PROSPECTIVE JUROR MEINEN:     Yes.

  2                MR. MCCLAIN:   What insurance company is he associated

  3   with?

  4                PROSPECTIVE JUROR MEINEN:     He sells home warranty

  5   insurance.

  6                MR. MCCLAIN:   Okay.

  7                PROSPECTIVE JUROR MEINEN:     Mostly to realtors.

  8                MR. MCCLAIN:   I see.    All right.    Thank you.      I

  9   appreciate it.

 10                Ms. Beschorner, you work at Terra?

 11                PROSPECTIVE JUROR BESCHORNER:      No, my husband.

 12                MR. MCCLAIN:   Your husband works at Terra, okay.          And

 13   every year out there he has a yearly breathing test for ammonia

 14   work.   What does he do with ammonia at Terra?

 15                PROSPECTIVE JUROR BESCHORNER:      Well, they make

 16   ammonia.

 17                MR. MCCLAIN:   Right.

 18                PROSPECTIVE JUROR BESCHORNER:      He's a plant operator

 19   and a tech 5.

 20                MR. MCCLAIN:   Okay.    So he's actually exposed to

 21   ammonia, and they have to test his blood every year to be sure

 22   that he's --

 23                PROSPECTIVE JUROR BESCHORNER:      Well, they have all

 24   kinds of safety things.      I can't tell you exactly what.

 25                MR. MCCLAIN:   All right.    And was there some kind of

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 152 of 223
                                                    of the transcript.
                                                                    153



  1   an accident there in the last several years?

  2                PROSPECTIVE JUROR BESCHORNER:      Not several.     I think

  3   15 years ago it blew up.

  4                MR. MCCLAIN:   And was your husband there at that time?

  5                PROSPECTIVE JUROR BESCHORNER:      No.    He was supposed to

  6   be, but they let him off that night.         He was in the next

  7   morning.

  8                MR. MCCLAIN:   That was fortunate.       Do you have any

  9   feelings about a case against a chemical company like Givaudan

 10   who sells butter flavors and other things to American Pop Corn?

 11                PROSPECTIVE JUROR BESCHORNER:      No.

 12                MR. MCCLAIN:   Because of your husband working with

 13   chemicals?

 14                PROSPECTIVE JUROR BESCHORNER:      No.

 15                MR. MCCLAIN:   Do they have a whole safety procedure

 16   out there?

 17                PROSPECTIVE JUROR BESCHORNER:      Oh, yes.

 18                MR. MCCLAIN:   At Terra?

 19                PROSPECTIVE JUROR BESCHORNER:      Yes.

 20                MR. MCCLAIN:   And does he receive training?

 21                PROSPECTIVE JUROR BESCHORNER:      They're constantly I

 22   think reworking that and rewriting it.

 23                MR. MCCLAIN:   And they have their own safety

 24   department there.

 25                PROSPECTIVE JUROR BESCHORNER:      Yes.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 153 of 223
                                                    of the transcript.
                                                                    154



  1               MR. MCCLAIN:    Now, you mentioned -- and I can't

  2   remember whether you raised your hand -- regarding newspaper

  3   articles about butter flavor.       Did --

  4               PROSPECTIVE JUROR BESCHORNER:       It just seems two,

  5   three years ago there was some -- something about it, but what I

  6   couldn't tell you.

  7               MR. MCCLAIN:    Okay.

  8               PROSPECTIVE JUROR BESCHORNER:       Just kind of --

  9               MR. MCCLAIN:    Just kind of lingers back there.

 10               PROSPECTIVE JUROR BESCHORNER:       Yeah.

 11               MR. MCCLAIN:    Okay.   Thank you.      I appreciate it.

 12               Mr. Rickert, I had a question to follow up with you

 13   on.   You know Gary Smith out at American Pop Corn?

 14               PROSPECTIVE JUROR RICKERT:       Yes.

 15               MR. MCCLAIN:    Have you ever talked to him about butter

 16   flavor and injuries to his workers?

 17               PROSPECTIVE JUROR RICKERT:       No.

 18               MR. MCCLAIN:    When you were asked about litigation,

 19   you said not all litigation is good.         Only real winners are the

 20   lawyers.    Tell me what you were thinking about and what impact

 21   that has on you in terms of your viewpoint.

 22               PROSPECTIVE JUROR RICKERT:       My thought process in that

 23   was that it -- and it's kind of been voiced already.           It seems

 24   like when -- again, you gotta hear the -- what framework that

 25   most people hear settlements is in what comes out in the press

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 154 of 223
                                                    of the transcript.
                                                                    155



  1   on the one side and the dollar amounts and so forth.           You don't

  2   hear any of the background that went on within the court system

  3   and the facts that came out and so forth.         So you get probably

  4   an unfair predetermined opinion as to what was awarded.

  5               But then you hear about the dollars that went to the

  6   attorneys involved and what the -- either the plaintiff or what

  7   they actually physically got as part of that settlement as being

  8   a smaller part of that settlement, so that was kind of the

  9   foundation of that comment.

 10               MR. MCCLAIN:    Well, tell me how you feel about that

 11   because I -- at some point if you're on this jury, you know,

 12   you're going to be asked to award money or not.          And what will

 13   you be thinking about at that time in terms of how it's going to

 14   be divided up if it is divided up and what impact that will have

 15   on your decision making?

 16               PROSPECTIVE JUROR RICKERT:       I mean, I guess as a

 17   potential juror, I would want to weigh all of the facts as to

 18   how the numbers are arrived at and what is awarded.           You know, I

 19   guess I don't know how to measure what's fair and for the

 20   lawyers that brought that to them, whether they would have

 21   received nothing had they not had that whereas the value that

 22   they brought to the plaintiff.        I don't know how I would measure

 23   that.   I guess if it would seem it was three-quarters of the

 24   settlement in my mind I would say that's probably too high, that

 25   the attorneys got three-quarters of the settlement based on what

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 155 of 223
                                                    of the transcript.
                                                                    156



  1   I heard.    The facts were that somebody was found guilty and they

  2   paid, but did the right people receive the benefit?

  3                MR. MCCLAIN:    And so that's going to be an issue that

  4   will -- is a lingering issue for you when you're thinking about

  5   lawsuits and what damages to award.        Is that -- is that a fair

  6   characterization?

  7                PROSPECTIVE JUROR RICKERT:      In my mind I just -- I

  8   just want it to seem fair.

  9                MR. MCCLAIN:    I understand.    But, you know, it's --

 10   you may not get to decide that issue.         That may not be something

 11   that the Court asks you to decide in terms of who gets what, in

 12   terms of attorneys' fees or who -- splits of things.           That may

 13   not be something that you're here to decide.          But that is going

 14   to be something that you will want to know about; right?

 15                PROSPECTIVE JUROR RICKERT:      I guess out of my own

 16   cur -- I mean, if you want to know how -- if you say, okay,

 17   we're going to award X amount of dollars whichever direction it

 18   goes, out of my own curiosity, you know, how does that get

 19   split?   How are these people being treated so I -- how does

 20   it --

 21                THE COURT:     Mr. McClain -- I'm sorry.    I thought you

 22   were done.    I'm sorry.

 23                PROSPECTIVE JUROR RICKERT:      No, that's fine.

 24                THE COURT:     Can I jump in here?

 25                MR. MCCLAIN:    Sure.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 156 of 223
                                                    of the transcript.
                                                                    157



  1                THE COURT:   Let me just tell you this.       Jurors never

  2   in civil cases get involved in the relationship between the

  3   clients and the attorney either on the plaintiff side or on the

  4   defense side with regard to how they're being compensated, why,

  5   or any of those details.       There are procedures in place in every

  6   state, and there are ethical rules that spell out in great

  7   detail what a reasonable fee is, and it's unethical for a lawyer

  8   to charge a client more than a reasonable fee.

  9                And there are mechanisms in place where if someone

 10   were to believe that the fee that they were being charged by a

 11   lawyer is too high, there's a method in every jurisdiction to

 12   remedy that, and they're very effective methods from my

 13   experience.

 14                So I appreciate your curiosity.      I'm often curious

 15   too.   But there are just some things that aren't really any of

 16   your business, and it's not going to come out during the trial.

 17   It never comes out during a trial, won't come out after the

 18   trial.   Sometimes I get involved in setting what a reasonable

 19   fee is, and sometimes I don't, depending upon the type of case.

 20   And so that's about as much as I can tell you.

 21                There's lots of things we'd like to know that just

 22   don't come out based on the rules of evidence and the rules of

 23   procedure.    And that's why I keep coming back to this point.

 24   You have to make your judgment based on the evidence presented

 25   and the law in my instructions.        It's okay to be curious about

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 157 of 223
                                                    of the transcript.
                                                                    158



  1   other things.     But we can't let that enter our view of things.

  2               For example, you can't say, Well, gee, I think we

  3   ought to give the plaintiff a bunch of extra money because we

  4   think the lawyers might be getting some of it.          That's not for

  5   the jury to decide.      You can only award damages based on what I

  6   award -- what I define in my instructions.

  7               And on the other hand, you couldn't say, Well, I'm not

  8   going to give the plaintiff some money because I'm afraid the

  9   lawyers might take too much of it.        That's just the way the

 10   system works.     There are lots of safeguards to make sure the

 11   fees are reasonable.      And I can almost give you my personal

 12   guarantee that if you heard that a lawyer took three-quarters of

 13   the fee, that never happens.       Just doesn't happen.      That's part

 14   of urban myth.     It really is.    It just -- I guarantee you that

 15   doesn't happen.     It just doesn't.

 16               PROSPECTIVE JUROR RICKERT:       Thank you.    Your comments

 17   shed a lot of light on my concern so . . .

 18               THE COURT:     Okay.

 19               PROSPECTIVE JUROR RICKERT:       Yeah.

 20               THE COURT:     Okay.   Thank you.

 21               MR. MCCLAIN:    Thank you, Judge.

 22               One other question, Mr. Rickert.         You say that

 23   litigation may have caused our state -- cost our state good

 24   business.    What did you mean by that?

 25               PROSPECTIVE JUROR RICKERT:       I'm not sure at this

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 158 of 223
                                                    of the transcript.
                                                                    159



  1   point.   I don't know if it was questions leading up to that gave

  2   me some framework for that answer.        I'm not really sure where I

  3   come from on that.

  4                MR. MCCLAIN:   Well, do you think that there's

  5   something about this process that will damage the business

  6   climate here in Sioux City or the surrounding area or Iowa in

  7   general?    Is that a concern you have?

  8                PROSPECTIVE JUROR RICKERT:      No.

  9                MR. MCCLAIN:   Okay.   All right.     Thank you,

 10   Mr. Rickert.    I appreciate it.

 11                Ms. Green, I don't think we've heard from you yet.

 12   But I had a couple questions that came off your questionnaire.

 13   You wrote down that damages are often too large.           What did you

 14   mean by that?

 15                PROSPECTIVE JUROR GREEN:     I guess I was thinking about

 16   the McDonald's coffee incident, that -- I guess that's what I

 17   was thinking about.

 18                MR. MCCLAIN:   Well, I understand.      And as we all have

 19   heard, it's crept into our collective consciousness because it

 20   received so much -- so much coverage in the media.           But do you

 21   think that someone who has substantial lung injuries is entitled

 22   to large money damages if the evidence supports that?

 23                PROSPECTIVE JUROR GREEN:     If the evidence supported it

 24   I suppose.

 25                MR. MCCLAIN:   Okay.   You suppose.     Does that mean

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 159 of 223
                                                    of the transcript.
                                                                    160



  1   you're skeptical about it, or does it mean -- what does it mean?

  2                PROSPECTIVE JUROR GREEN:     I guess -- I guess I don't

  3   know.     I guess it would just have to depend on the evidence --

  4                MR. MCCLAIN:   Sure, I understand.

  5                PROSPECTIVE JUROR GREEN:     -- in the case.

  6                MR. MCCLAIN:   I understand.     And I'm not -- and I know

  7   that you can't say for sure.        But when you wrote down that

  8   damages are often too large, are you thinking that there should

  9   be some kind of caps on them?        Is that something that you

 10   thought about and that you couldn't go above some number?

 11                PROSPECTIVE JUROR GREEN:     No, I never thought of --

 12   actually never thought about that, no, no.

 13                MR. MCCLAIN:   The judge talked about this last case

 14   that he had and the fact that -- you know, that 12 million

 15   dollars sounded like a lot of money, but maybe it wasn't so much

 16   money given the facts and circumstance of the case.           You know,

 17   if the facts and the evidence and the law required it, could you

 18   award money in that kind of range?

 19                PROSPECTIVE JUROR GREEN:     If -- yes, I suppose.

 20                MR. MCCLAIN:   Okay.    Okay.   You said I suppose.

 21                PROSPECTIVE JUROR GREEN:     I mean, if -- if it was

 22   warranted, yeah.

 23                MR. MCCLAIN:   All right.    Thank you.    I appreciate it.

 24   Now one last question, and this may be easier or it may not be

 25   easier.    And if it's personal, tell me, and I won't follow up on

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 160 of 223
                                                    of the transcript.
                                                                    161



  1   it.     But your daughter has a lung condition currently from your

  2   questionnaire; is that correct?

  3                PROSPECTIVE JUROR GREEN:     Yes.

  4                MR. MCCLAIN:   How long has she had that condition?

  5                PROSPECTIVE JUROR GREEN:     I'll say three years.

  6                MR. MCCLAIN:   And what are they doing to treat it?

  7                PROSPECTIVE JUROR GREEN:     She had a lung biopsy done,

  8   and then she was on, I guess, a steroid to help build back up

  9   her lungs.     Now she's not on anything, but she does have to see

 10   the doctor once a year to make sure that nothing's come back or

 11   bothering her.

 12                MR. MCCLAIN:   Was it a fungal condition?       Is that --

 13                PROSPECTIVE JUROR GREEN:     Yes.

 14                MR. MCCLAIN:   It was.

 15                PROSPECTIVE JUROR GREEN:     Yes.

 16                MR. MCCLAIN:   And what -- did she go to a

 17   pulmonologist?

 18                PROSPECTIVE JUROR GREEN:     Yes.

 19                MR. MCCLAIN:   Do you remember who it was?

 20                PROSPECTIVE JUROR GREEN:     But I can't remember his

 21   name.     He was from India or something.      I can't remember his

 22   name.     I'm sorry.

 23                MR. MCCLAIN:   Was it here locally?

 24                PROSPECTIVE JUROR GREEN:     Yes, yes.

 25                MR. MCCLAIN:   Okay.   And it wasn't one of the names

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 161 of 223
                                                    of the transcript.
                                                                    162



  1   that we mentioned.

  2                PROSPECTIVE JUROR GREEN:     No, no.

  3                MR. MCCLAIN:   All right.    Now, you have a positive

  4   opinion about American Pop Corn.        Do you think that this sounds

  5   like an interesting case?

  6                PROSPECTIVE JUROR GREEN:     Yes, yes.

  7                MR. MCCLAIN:   And is it a case that you'd be willing

  8   to sit on?

  9                PROSPECTIVE JUROR GREEN:     Yes, yes.

 10                MR. MCCLAIN:   Now, do you think that you could be fair

 11   to Mr. Kuiper and our side and the defendant's side too?

 12                PROSPECTIVE JUROR GREEN:     Yes, yes, I do.

 13                MR. MCCLAIN:   Well, thank you for letting me ask you

 14   those few questions, Ms. Green.        Appreciate it.

 15                PROSPECTIVE JUROR GREEN:     Thank you.

 16                MR. MCCLAIN:   Mr. Haak, you had -- now, you have a

 17   hearing problem?

 18                PROSPECTIVE JUROR HAAK:     It's okay with the

 19   microphone.

 20                MR. MCCLAIN:   You can hear us okay in this kind of

 21   setting?

 22                PROSPECTIVE JUROR HAAK:     Yes.

 23                MR. MCCLAIN:   Okay.   The -- that's good.      I had some

 24   questions that came up.      You put down that damages are often too

 25   large.   What did you mean by that?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 162 of 223
                                                    of the transcript.
                                                                    163



  1               PROSPECTIVE JUROR HAAK:      Just that sounds like a lot

  2   of money sometimes, but you don't know the case either, you

  3   know.   So it depends on the case.

  4               MR. MCCLAIN:    So asking you the same question that,

  5   you know, I asked Ms. Green, you know, if the facts and the law

  6   warrant it, you could see yourself in a case that would award 13

  7   million dollars.

  8               PROSPECTIVE JUROR HAAK:      Yes, if the evidence pointed,

  9   you know, to that.

 10               MR. MCCLAIN:    So that's not out of the realm of

 11   possibility in your mind just sitting here now.

 12               PROSPECTIVE JUROR HAAK:      No.

 13               MR. MCCLAIN:    What did you mean -- you checked several

 14   boxes in this, and you agreed with some questions.           And you said

 15   that frequently people bring on their own misfortune.           What did

 16   you mean by that?

 17               PROSPECTIVE JUROR HAAK:      Just that sometimes we have

 18   to be responsible for ourselves, you know.          We can't sue

 19   companies or people for every little thing that happens.

 20   Sometimes it's our own fault too.

 21               MR. MCCLAIN:    Okay.   Can you tell me about that in

 22   terms of the situation here where we have a worker who has a

 23   severe lung injury?      Would you be thinking as we come in that

 24   this is probably his fault?

 25               PROSPECTIVE JUROR HAAK:      No.   I was thinking more on

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 163 of 223
                                                    of the transcript.
                                                                    164



  1   the line of going back to the McDonald's with the hot coffee

  2   again, you know.     She should have been more careful I think, but

  3   that's what I meant by it, not by handling things that you maybe

  4   don't know about or something, you know.

  5               MR. MCCLAIN:    Okay.   Tell me about your thinking about

  6   how this works.     Do companies have any responsibility in your

  7   view of things?

  8               PROSPECTIVE JUROR HAAK:      You mean the manufacturers or

  9   who you work for?

 10               MR. MCCLAIN:    Sure, yeah, the manufacturers, people

 11   that make chemicals.

 12               PROSPECTIVE JUROR HAAK:      They're responsible to tell

 13   you the dangers of it, yes.

 14               MR. MCCLAIN:    Okay.   And pass on everything they know.

 15               PROSPECTIVE JUROR HAAK:      Yeah.

 16               MR. MCCLAIN:    And do you think that if the law says so

 17   that they ought to be responsible, use that term responsible,

 18   when they don't do that?

 19               PROSPECTIVE JUROR HAAK:      Well, I think so, yes.

 20               MR. MCCLAIN:    And could you sit on a case in which you

 21   were trying to decide whether a chemical company was responsible

 22   by -- when they shared information with a company and whether

 23   they were complete in terms of the information they shared?

 24               PROSPECTIVE JUROR HAAK:      Yes.

 25               MR. MCCLAIN:    And if they didn't and the law said that

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 164 of 223
                                                    of the transcript.
                                                                    165



  1   they ought to be responsible and pay damages when that happened,

  2   could you award damages in that circumstance?

  3                PROSPECTIVE JUROR HAAK:     Yes, I could.

  4                MR. MCCLAIN:   Even if they were large.

  5                PROSPECTIVE JUROR HAAK:     The dollar amount wouldn't

  6   matter so much I guess but more the responsibility.

  7                MR. MCCLAIN:   What about this idea of punitive damages

  8   on that point?     Is that something that you feel comfortable in

  9   doing?

 10                PROSPECTIVE JUROR HAAK:     Depends.     You know, maybe

 11   that person can't work anymore.

 12                MR. MCCLAIN:   Yes.

 13                PROSPECTIVE JUROR HAAK:     Or has a lot of health

 14   expense or something like that.

 15                MR. MCCLAIN:   Yes.    And what about keeping the company

 16   from ever doing this again?        Is that something that you're

 17   capable of doing if the law and the facts would require it of

 18   you?

 19                PROSPECTIVE JUROR HAAK:     Yes.

 20                MR. MCCLAIN:   Okay.    Thank you.     I appreciate -- I

 21   appreciate your candor and getting a chance to ask you those few

 22   questions.    Appreciate it.

 23                Mr. Cork.

 24                PROSPECTIVE JUROR CORK:     Yes, sir.

 25                MR. MCCLAIN:   Now, do you know Mr. Woodward from

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 165 of 223
                                                    of the transcript.
                                                                    166



  1   Tyson?

  2               PROSPECTIVE JUROR CORK:      No.

  3               MR. MCCLAIN:    Yeah, with over 3,000 employees I would

  4   guess that it would probably be less likely that you would know

  5   one another.    But you're a hog handler?

  6               PROSPECTIVE JUROR CORK:      Yes.

  7               MR. MCCLAIN:    How long have you done that?

  8               PROSPECTIVE JUROR CORK:      Eight years.

  9               MR. MCCLAIN:    And is there some safety training that

 10   goes on at Tyson?

 11               PROSPECTIVE JUROR CORK:       Every six months.

 12               MR. MCCLAIN:    Tell me about that.

 13               PROSPECTIVE JUROR CORK:      Every six months we go

 14   through a hog handling film, and then we gotta fill out a bunch

 15   of papers every two or three months.

 16               MR. MCCLAIN:    What about breathing hazards --

 17               PROSPECTIVE JUROR CORK:      Hazards too.

 18               MR. MCCLAIN:    That happens.

 19               PROSPECTIVE JUROR CORK:      Yes.

 20               MR. MCCLAIN:    Now, do you ever come across what are

 21   called MSDS sheets, material safety data sheets?

 22               PROSPECTIVE JUROR CORK:      Yes, that's what we fill out.

 23               MR. MCCLAIN:    You fill those out.

 24               PROSPECTIVE JUROR CORK:      Yeah.

 25               MR. MCCLAIN:    And what are they when you fill them

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 166 of 223
                                                    of the transcript.
                                                                    167



  1   out?   We're talking about --

  2               PROSPECTIVE JUROR CORK:      Questions you answer.

  3               MR. MCCLAIN:    Like a test.

  4               PROSPECTIVE JUROR CORK:      Right, right.

  5               MR. MCCLAIN:    Like a test that you take.

  6               PROSPECTIVE JUROR CORK:      Yes.

  7               MR. MCCLAIN:    What I'm talking about is, you know,

  8   sometimes when you get chemicals from a company, in fact, every

  9   time you're supposed to.       Every time you get chemicals from a

 10   company, it has a sheet that lists all of the hazards and all of

 11   the dangers and all the protective equipment.          Do you ever see

 12   anything like that in your work?

 13               PROSPECTIVE JUROR CORK:      Oh, yeah, yeah.

 14               MR. MCCLAIN:    And do you rely on what they tell you?

 15               PROSPECTIVE JUROR CORK:      We read it.

 16               MR. MCCLAIN:    And assume that they're telling you the

 17   truth.

 18               PROSPECTIVE JUROR CORK:      Right.

 19               MR. MCCLAIN:    And not withholding anything.

 20               PROSPECTIVE JUROR CORK:      Right.

 21               MR. MCCLAIN:    You mentioned that you had a positive

 22   opinion about American Pop Corn.        What is it that you've done

 23   with American Pop Corn?

 24               PROSPECTIVE JUROR CORK:      Just it's in the same town

 25   I'm in.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 167 of 223
                                                    of the transcript.
                                                                    168



  1                MR. MCCLAIN:   They're in the same town because -- and

  2   the two fellas, do they go to church with you?

  3                PROSPECTIVE JUROR CORK:     No, have kids in school at

  4   the same time.

  5                MR. MCCLAIN:   I see.    All right.    I appreciate it,

  6   Mr. Cork.    Thank you.

  7                Ms. Welch, you had a fairly strong opinion about

  8   damages in the -- in your questionnaire.          Do you remember what

  9   that was?    You said --

 10                PROSPECTIVE JUROR WELCH:     You're going to have to

 11   remind me.

 12                MR. MCCLAIN:   You said sometimes they're too lax,

 13   sometimes awards ridiculous amounts of money.

 14                PROSPECTIVE JUROR WELCH:     Okay.    Yeah.

 15                MR. MCCLAIN:   What did you mean?

 16                PROSPECTIVE JUROR WELCH:     Well, I guess when I said

 17   they were too lax, I really wasn't talking money.           I was just

 18   thinking of, you know, people getting off, you know, that they

 19   were responsible for a crime or . . .

 20                MR. MCCLAIN:   You were thinking more in the criminal

 21   sense.

 22                PROSPECTIVE JUROR WELCH:     Right, yeah.

 23                MR. MCCLAIN:   I see.    But what about awarding

 24   ridiculous amounts of money?       What did you have in mind when you

 25   wrote that down?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 168 of 223
                                                    of the transcript.
                                                                    169



  1               PROSPECTIVE JUROR WELCH:      Just vaguely reading, you

  2   know, different articles when there's, you know, millions and

  3   millions of dollars.      You know, it's hard for us to even think

  4   that large.

  5               MR. MCCLAIN:    Sure.

  6               PROSPECTIVE JUROR WELCH:      For me to think that large.

  7               MR. MCCLAIN:    Okay.   Well, what about this idea that

  8   Judge Bennett told us about about, you know, 13 million dollars

  9   and the jury awarding 13 million dollars?         Is that a sum of

 10   money that you could award in an appropriate case?

 11               PROSPECTIVE JUROR WELCH:      Yes.

 12               MR. MCCLAIN:    And are personal injuries something that

 13   you consider to be very serious?

 14               PROSPECTIVE JUROR WELCH:      Yes.

 15               MR. MCCLAIN:    So if someone is totally incapacitated

 16   by a chemical exposure under the law that a company's

 17   responsible for, is that something that you could award

 18   substantial damages for?

 19               PROSPECTIVE JUROR WELCH:      Yes.

 20               MR. MCCLAIN:    And what about this idea of punitive

 21   damages?

 22               PROSPECTIVE JUROR WELCH:      Yeah, if it warrants.

 23               MR. MCCLAIN:    Okay.   And what warrants it in your

 24   mind?

 25               PROSPECTIVE JUROR WELCH:      Well, if they knew of the

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 169 of 223
                                                    of the transcript.
                                                                    170



  1   hazards and didn't let their employees know.

  2                MR. MCCLAIN:    Right.

  3                PROSPECTIVE JUROR WELCH:      And continued --

  4                MR. MCCLAIN:    Or their customers.

  5                PROSPECTIVE JUROR WELCH:      Right.

  6                MR. MCCLAIN:    And in that kind of a situation you

  7   could award punitive damages?

  8                PROSPECTIVE JUROR WELCH:      Yes.

  9                MR. MCCLAIN:    Okay.    Even if they were substantial.

 10                PROSPECTIVE JUROR WELCH:      Yes, I believe so.

 11                MR. MCCLAIN:    Thank you.    I appreciate your candor,

 12   Ms. Welch.

 13                Judge, that's all I have.

 14                THE COURT:     Okay.   Before we get to the defense, I've

 15   got a couple of questions, and then we're going to take a

 16   stretch break.

 17                Why don't I stick with you, Miss Welch.        As long as

 18   somebody brought up the McDonald's coffee case -- I didn't bring

 19   it up, but do you think you understand what the facts were in

 20   the McDonald's case?

 21                PROSPECTIVE JUROR WELCH:      Just the basics.

 22                THE COURT:     What do you think they were?

 23                PROSPECTIVE JUROR WELCH:      Well, the lady bought coffee

 24   and put it between her legs and, you know, that's --

 25                THE COURT:     Was she driving the car or not?      Do you

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 170 of 223
                                                    of the transcript.
                                                                    171



  1   know?

  2               PROSPECTIVE JUROR WELCH:      I think so.

  3               THE COURT:    Yeah, everybody thinks she was driving the

  4   car.    She wasn't.

  5               PROSPECTIVE JUROR WELCH:      She wasn't?

  6               THE COURT:    She was the passenger.      She was 79 years

  7   old, and her grandson was driving the car.          And it actually

  8   didn't spill while the car was moving.         He had pulled over right

  9   after she got the coffee so that she could add the creamer and

 10   sugar to it.    The car wasn't moving at all, and it happened to

 11   spill.

 12               Do you know how many days she was in the hospital or

 13   if she was ever in the hospital?

 14               PROSPECTIVE JUROR WELCH:      I have no idea.

 15               THE COURT:    Would that make a difference to you?

 16               PROSPECTIVE JUROR WELCH:      Sure.

 17               THE COURT:    Do you think she was in the hospital?

 18               PROSPECTIVE JUROR WELCH:      I don't remember.      I don't

 19   think so.

 20               THE COURT:    Would it make a difference if you knew she

 21   was in the hospital for eight days?

 22               PROSPECTIVE JUROR WELCH:      Yes.

 23               THE COURT:    Would it make a difference if you knew

 24   that she had to have a surgeon do extensive skin grafts on her

 25   body?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 171 of 223
                                                    of the transcript.
                                                                    172



  1               PROSPECTIVE JUROR WELCH:      Yes.

  2               THE COURT:    Would it make a difference if you knew

  3   that the industry average was 135 degrees to sell coffee and

  4   that there were experts in the trial who testified that if

  5   McDonald's had brewed the coffee at 135 to 140 degrees she

  6   wouldn't have been injured?       Would that make a difference to

  7   you?

  8               PROSPECTIVE JUROR WELCH:      Yes.

  9               THE COURT:    Would it make a difference if you knew

 10   that McDonald's brewed it to 185 to 190 degrees because their

 11   consultants said it would taste better and never looked at the

 12   thermodynamics or the science of the heat that would be -- that

 13   the damage could cause if they heated it to 185 to 190 degrees?

 14   Would that make a difference?

 15               PROSPECTIVE JUROR WELCH:      Yes, it would.

 16               THE COURT:    What were the punitive damage awards that

 17   were so high that everybody is talking about this case as being

 18   so shocking?    Do you remember what they were?

 19               PROSPECTIVE JUROR WELCH:      I don't remember.

 20               THE COURT:    Okay.   Do you understand that the purpose

 21   of punitive damages is to punish someone, either an individual

 22   or a corporation?     Do you understand that's the purpose of it?

 23               PROSPECTIVE JUROR WELCH:      Yes.

 24               THE COURT:    Let me ask you this.      Do you think it

 25   would take more money to punish McDonald's or to punish your

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 172 of 223
                                                    of the transcript.
                                                                    173



  1   next-door neighbor for wrongful conduct?

  2               PROSPECTIVE JUROR WELCH:      McDonald's.

  3               THE COURT:    Okay.   And so would you want to evaluate

  4   how much money McDonald's made to determine whether the punitive

  5   damages were reasonable or not if you could consider that?

  6   Would that be something you'd want to know?

  7               PROSPECTIVE JUROR WELCH:      Yes.

  8               THE COURT:    Okay.   Now, if I told you that the

  9   punitive damages awarded in that case constituted exactly 2 days

 10   worth of sales of McDonald's coffee, does that strike you as

 11   outrageous?    Well, maybe it does.      That's fine.    But that's what

 12   the punitive damage totaled, two days worth of coffee sales, not

 13   sales of -- not all the burgers and French fries and malted

 14   milks.   We're talking two days of coffee sales.

 15               PROSPECTIVE JUROR WELCH:      That's not much at all.

 16               THE COURT:    And do you think it might take that much

 17   for a large corporation like McDonald's to take note of their

 18   conduct?    I mean, do you think if they got a million dollars in

 19   punitive damages that that would be sufficient for a company the

 20   size of McDonald's?

 21               PROSPECTIVE JUROR WELCH:      No, that would be a small

 22   sum I would assume.

 23               THE COURT:    Well, that might even be more than what

 24   the -- McDonald's was ultimately ordered to pay in the case in

 25   punitive damages.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 173 of 223
                                                    of the transcript.
                                                                    174



  1               So my whole point is that I happen to know those

  2   things about the case but -- because I've researched it.            But I

  3   don't think the average member of the public knows all those

  4   facts.   And if they knew all those facts, it may or may not

  5   change their mind.     But my whole point is that that it's fine to

  6   read things in the newspaper and have judgments about them.             And

  7   we all do that.     I do it all the time.      We all do it.    But the

  8   bottom line is unless you know all of the facts, our judgments

  9   might not be very accurate.       Do you agree with me on that?

 10               PROSPECTIVE JUROR WELCH:      Yes.

 11               THE COURT:    Okay.   And in this trial we're looking for

 12   jurors who are going to make accurate judgments based on the

 13   facts in this case.      Does that make sense?

 14               PROSPECTIVE JUROR WELCH:      Yes.

 15               THE COURT:    And I don't have a position whether the

 16   plaintiff should win or not win, whether Givaudan should win,

 17   whether any damages should be awarded, whether some damages

 18   should be awarded, whether no punitive damages awarded, whether

 19   large punitive damages are awarded, because I haven't heard any

 20   of the evidence in the case.       Does that make sense?

 21               PROSPECTIVE JUROR WELCH:      Yes.

 22               THE COURT:    And the bottom line is my opinion doesn't

 23   count for much.     You know what counts?      Your opinion if you're

 24   selected and the other seven people who are selected.           But I

 25   want to make sure that whoever gets selected, they're going to

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 174 of 223
                                                    of the transcript.
                                                                    175



  1   make a pledge to the Kuipers and to Givaudan, to all the

  2   lawyers, and to me that you're going to judge this case not

  3   based on some other case you read about in the newspapers but on

  4   the facts that come out of the witness box there and the

  5   evidence that's introduced and my jury instructions.           Do you

  6   think you can do that?

  7               PROSPECTIVE JUROR WELCH:      Yes, I do.

  8               THE COURT:    Okay.   Now, would you just pass it down to

  9   Mr. Haak, and I don't want to pick on you too much.           But did you

 10   know all of those facts that I told you about the McDonald's

 11   case?

 12               PROSPECTIVE JUROR HAAK:      No.    I was just using that as

 13   an example that sometimes we have to be more responsible than we

 14   are.

 15               THE COURT:    Sure.   And, you know, that's a good point

 16   that you raised.     Did you know that the jury in that case found

 17   the plaintiff, the 79-year-old woman, partially responsible,

 18   that they didn't put all the liability on McDonald's but that

 19   they put some of the responsibility on the plaintiff and her

 20   damages were reduced because of that?          Did you know that?

 21               PROSPECTIVE JUROR HAAK:      No.

 22               THE COURT:    Does that make it seem like maybe it's a

 23   little bit more reasonable than what you got out of the

 24   newspapers?

 25               PROSPECTIVE JUROR HAAK:      Yeah.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 175 of 223
                                                    of the transcript.
                                                                    176



  1               THE COURT:    Okay.    Well, that's a fact, and you can go

  2   to the bank on that fact, that the jury found her partially

  3   responsible.    But you know what?      I don't remember reading that

  4   in very many newspaper articles about it because it doesn't sell

  5   newspapers.    So that's why it's important to base the evidence

  6   on the facts of the case.       Does that make sense to you?

  7               PROSPECTIVE JUROR HAAK:      Yes.

  8               THE COURT:    Okay.    And it's fine to have these

  9   opinions.     You know, you all can have any opinions you want

 10   about the McDonald's case or some other case, but it really

 11   wouldn't be fair to the parties in this case to base your

 12   judgment on those other cases that really, even though I've

 13   researched it, I wasn't there.        I wasn't there.

 14               And I just want to tell you something else because

 15   it's very important that we get fair jurors in this case.

 16               Maybe eight or nine years ago I had a very difficult

 17   criminal trial.     And it lasted for three weeks.       And three

 18   defendants were accused of murdering a 15-year-old boy in

 19   Estherville, Iowa.     Some of you may recall the case.        Gregory

 20   Sky Erickson was the 15-year-old that was murdered, and there

 21   were 10 people charged with the case.         Some pled guilty.      Some

 22   went to trial.

 23               I sat through all of the evidence in the trial.           And

 24   the jury came back with a verdict of guilty, but I didn't think

 25   the evidence supported it.        So I set aside the jury verdict and

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 176 of 223
                                                    of the transcript.
                                                                    177



  1   ordered a new trial which I have the power to do in criminal

  2   cases.

  3               And a lot of people on the street when I would walk to

  4   lunch would come up to me and say something like, "How dare

  5   you," you know, ba, ba, ba, ba, ba, ba, ba.          And I would listen

  6   very patiently.     And then I would say, you know, "I appreciate

  7   your opinion, but I don't actually remember you in the courtroom

  8   sitting through all 3 weeks of the trial and hearing all of the

  9   evidence that I heard.      But, gee, I'm really impressed that you

 10   spent $15,000 and ordered a transcript and actually read about

 11   the case before you shared your opinion with me."           And I said

 12   that kind of tongue in cheek.       But do you get the point I'm

 13   trying to make?

 14               PROSPECTIVE JUROR HAAK:      Yes.

 15               THE COURT:    Or not?

 16               PROSPECTIVE JUROR HAAK:      Yes.

 17               THE COURT:    That unless you actually sit in a trial

 18   every day and pay attention and listen to all of the evidence,

 19   it's fine to have an opinion.       But the opinion isn't worth very

 20   much because you don't know all the facts.          Does that make sense

 21   to you?

 22               PROSPECTIVE JUROR HAAK:      Yes.

 23               THE COURT:    And does it make sense to you that even in

 24   a long, complicated case like this it might be one witness's

 25   testimony about one fact that might sway your opinion one way or

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 177 of 223
                                                    of the transcript.
                                                                    178



  1   the other?    I mean, it might not be, but it could be.         Are you

  2   open to that possibility?

  3                PROSPECTIVE JUROR HAAK:     Yes.

  4                THE COURT:   And so if you just read an article in the

  5   newspaper, you wouldn't even have any idea about what that

  6   witness testified to or what that particular fact was and how

  7   you would weigh that fact against all of the evidence in the

  8   case, would you?

  9                PROSPECTIVE JUROR HAAK:     No.

 10                THE COURT:   So do you see where I keep coming back to

 11   this point that in order for the system to work we have to base

 12   the judgment on all of the evidence in the case?           Does that make

 13   sense?

 14                PROSPECTIVE JUROR HAAK:     Yes, it does.

 15                THE COURT:   Okay.   Thank you.

 16                Why doesn't everybody stand up and take a stretch

 17   break.

 18                Okay.   Thank you.

 19                Mr. Pagliaro, you've been so patient waiting your

 20   turn, so now's your chance to ask some questions.           Thank you.

 21   You may proceed.

 22                MR. PAGLIARO:   Thank you, Your Honor.

 23                Good afternoon. I'm going to try not to plow over

 24   ground that's already been plowed over several times, a farming

 25   analogy.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 178 of 223
                                                    of the transcript.
                                                                    179



  1               My name's Jim Pagliaro.      I represent Givaudan along

  2   with the other lawyers at the table to my left.          Givaudan is a

  3   flavor company, and I don't recall in your questionnaires.            Did

  4   any of you indicate that any of you or family members work for

  5   flavor companies or had any interaction with flavor companies?

  6   No?

  7               Now, some of you are in the food industry; right?

  8   Mr. Cork, you're in the food industry; right?

  9               PROSPECTIVE JUROR CORK:      Tyson.

 10               MR. PAGLIARO:    Tyson; right?

 11               Mr. Woodward, you work in the food industry; is that

 12   correct?

 13               Anybody else?    You do too as well?      And what industry

 14   do you work in?     I'm sorry.

 15               PROSPECTIVE JUROR GREEN:      Portionables.     We make

 16   frozen sauces.

 17               MR. PAGLIARO:    I do remember reading that in your

 18   questionnaire.     You mix sauces together?

 19               PROSPECTIVE JUROR GREEN:      Uh-huh, yes.

 20               MR. PAGLIARO:    And when you do that work, do you have

 21   any concern about your health or any exposure you have when

 22   you're mixing those sauces?

 23               PROSPECTIVE JUROR GREEN:      No, no, no concerns.

 24               MR. PAGLIARO:    Thank you.    Appreciate that.      Those of

 25   you that work in the food industry, I noticed also there's been

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 179 of 223
                                                    of the transcript.
                                                                    180



  1   some press coverage lately.       Have any of you read about the

  2   peanut company down in Georgia?        Any of you read about that

  3   recently?    Do you have concerns -- any of you have concerns you

  4   want to identify about food contaminants or issues relating to

  5   the food supply in the country?        Any of you have concerns about

  6   that because of what you saw in the news about the peanut

  7   company down in Georgia?       No?

  8               Some of you indicated in your questionnaires that -- I

  9   think, Mr. Woodward, you did, for example, that you had heard

 10   about flavorings of microwave popcorn.         You'd read about it in

 11   the newspaper or heard about it.        Do you remember that?

 12               PROSPECTIVE JUROR WOODWARD:       (Nodded head.)

 13               MR. PAGLIARO:    And not to pick on you, and again,

 14   there are no right or wrong answers.         Nothing you say can hurt

 15   my feelings, trust me.

 16               You want to give Mr. Woodward the microphone?

 17               Mr. Woodward, what you read, did it -- do you recall

 18   exactly what you read?      Did you see it in a newspaper, or did

 19   you see it on TV?

 20               PROSPECTIVE JUROR WOODWARD:       No.   All I remember is

 21   something with fumes from microwave popcorn or something like

 22   that.   That's all I remember.

 23               MR. PAGLIARO:    Was it an article that made you feel

 24   good about the fumes or bad about the fumes?

 25               PROSPECTIVE JUROR WOODWARD:       Personally I don't like

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 180 of 223
                                                    of the transcript.
                                                                    181



  1   microwave popcorn.

  2                MR. PAGLIARO:   Oh, okay.    That's a different story.

  3   But my question really is did you walk away from that article

  4   thinking -- with some thought in your mind, Hey, this is bad?

  5                PROSPECTIVE JUROR WOODWARD:      No.   It was a long time

  6   ago.   All I remember is it was on the news.

  7                MR. PAGLIARO:   Okay.    Anybody else see it on the news?

  8                Yes, sir, Mr. Storm.     Did you see it on the news?

  9                Can you pass Mr. Storm the microphone?

 10                You're a lawyer; right, Mr. Storm?

 11                PROSPECTIVE JUROR STORM:     Correct.

 12                MR. PAGLIARO:   You're in the club; right?

 13                PROSPECTIVE JUROR STORM:     Well, I'm in clubs, yeah.

 14                MR. PAGLIARO:   Let me ask you the same question.        You

 15   saw something in the newspaper.

 16                PROSPECTIVE JUROR STORM:     Right.

 17                MR. PAGLIARO:   Did you see it on TV too or just in the

 18   newspaper?

 19                PROSPECTIVE JUROR STORM:     I don't really recall.      I

 20   think I might have read some things in maybe even bar magazines.

 21                MR. PAGLIARO:   Did they talk about litigation relating

 22   to popcorn?

 23                PROSPECTIVE JUROR STORM:     Right.

 24                MR. PAGLIARO:   Did you form any opinions about any of

 25   the theories that were expressed in the articles or any of the

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 181 of 223
                                                    of the transcript.
                                                                    182



  1   things you saw in the articles?

  2               PROSPECTIVE JUROR STORM:      Not really.

  3               MR. PAGLIARO:    Do any of you have a problem with the

  4   concept that -- and I think the judge has made this point many

  5   times.   But, for example, I watch Katie Couric every night.           Do

  6   any of you watch Katie Couric?        Some people watch Katie Couric

  7   and everything Katie Couric says is gospel.          You know, they hear

  8   it on Katie Couric, and they say, "Well, I can take that to the

  9   bank because Katie Couric said."        Any of you feel that way about

 10   things you see in the media or television about any issue

 11   relating to safety or companies?        Any of you feel that way?      No?

 12               Miss Jessen, how about you?       You're sitting back there

 13   looking a little sphinx like.

 14               PROSPECTIVE JUROR JESSEN:      A lot of times, you know,

 15   in the newspapers they put in there what they want to put in

 16   there, not the whole -- you know, the whole thing on it, so it's

 17   just their view that they're trying to get across.

 18               MR. PAGLIARO:    So sometimes you think you're only

 19   getting one point of view.       Is that fair?

 20               PROSPECTIVE JUROR JESSEN:      Yeah.

 21               MR. PAGLIARO:    You understand in litigation like this,

 22   the reason why there are two sides is there are two points of

 23   view.    I mean, you all understand that; right?        Any of you have

 24   problems with the fact that they get to tell you their point of

 25   view first and then my point of view comes second?           Anybody --

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 182 of 223
                                                    of the transcript.
                                                                    183



  1   is that going to bother anybody?

  2               Will you be able, all of you, to keep an open mind to

  3   listen to the second half of the story?         I'm looking you all in

  4   the eye.    Can you all tell me you can?       You're all shaking your

  5   heads.

  6               Anybody have any problem with that?        Anybody thinks

  7   that when they hear one side of the story and Mr. McClain's very

  8   persuasive, Wow, this is going to really convince me and I'm

  9   going to shut out the rest of the case?         Anybody think that

 10   they're going to do that or worry about that, think that maybe

 11   they'll feel that way after hearing just one side?           You're all

 12   feeling good about that; right?        Okay.   Fair enough.    I

 13   appreciate it.

 14               Now, talked a lot about damages.        I want to talk about

 15   another concept.     I'm going to shift the concept.        The concept

 16   for me, for the side of the case that I represent, is concern

 17   about people's natural sympathy; all right?          Everybody's

 18   sympathetic.

 19               Miss Meinen, you work in a place where they service

 20   people with psychotic disorders and they service folks who are

 21   suicidal.    Is that right, ma'am?

 22               PROSPECTIVE JUROR MEINEN:      Yes.

 23               MR. PAGLIARO:    So obviously you develop a lot of

 24   sympathy for those folks; isn't that true?

 25               PROSPECTIVE JUROR MEINEN:      Empathy.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 183 of 223
                                                    of the transcript.
                                                                    184



  1               THE COURT:    Can we pass the microphone down?          Thank

  2   you.

  3               MR. PAGLIARO:    So you develop empathy for those folks.

  4               PROSPECTIVE JUROR MEINEN:      Yes.

  5               MR. PAGLIARO:    Yes.   Now, you know in this case you're

  6   going to see a plaintiff who claims he got sick as a result of

  7   an exposure.    You understand that.

  8               PROSPECTIVE JUROR MEINEN:      Yes.

  9               MR. PAGLIARO:    We've explained that.      In your job

 10   because you are used to being empathetic towards people who have

 11   problems, is that going to influence your ability to see this

 12   case from both sides and to be fair with both sides, your

 13   natural empathy for someone maybe who has a problem with their

 14   health?

 15               PROSPECTIVE JUROR MEINEN:      I don't -- I don't believe

 16   it will be.

 17               MR. PAGLIARO:    Can you set aside your personal

 18   sympathies and listen to all the evidence and balance it out so

 19   that you hear both sides and apply the law that the judge is

 20   going to give you and come to a fair verdict even if it means

 21   sending Mr. and Mrs. Kuiper away with no money at all?

 22               PROSPECTIVE JUROR MEINEN:      If the facts of the case

 23   lead to that conclusion, then, you know, I would have to.             I

 24   would be following the judge's instruction, and I would be going

 25   with the truth.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 184 of 223
                                                    of the transcript.
                                                                    185



  1                MR. PAGLIARO:   Okay.    Fair enough.    I appreciate that.

  2   Thank you.

  3                Some of you have identified that you have family

  4   members that have had breathing problems.         Do you recall that in

  5   your questionnaire?      I don't want to embarrass anybody.         I see

  6   Miss Ross?

  7                PROSPECTIVE JUROR ROSS:     Yeah, I have two children

  8   with cystic fibrosis which is a lung disease.

  9                MR. PAGLIARO:   Yes.

 10                PROSPECTIVE JUROR ROSS:     And that's hereditary.

 11                MR. PAGLIARO:   Yes, yes.    Now, you're going to hear

 12   testimony in this case about people who have difficulty

 13   breathing.    Is that going to upset you or bother you or cause

 14   you concern about your ability, again, to be fair to both sides

 15   and give the company the same attention that you give the

 16   Kuipers?

 17                PROSPECTIVE JUROR ROSS:     I believe I can be fair to

 18   both sides because you can't help if you're born with a disease.

 19   And you learn to deal with the hardships as easy as you deal

 20   with everyday life.

 21                MR. PAGLIARO:   Yes.

 22                PROSPECTIVE JUROR ROSS:     You know, you have to take

 23   one day at a time no matter what life throws at you.           And you

 24   have to be open minded to everything.         Otherwise you're not

 25   going to make it through every day.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 185 of 223
                                                    of the transcript.
                                                                    186



  1                MR. PAGLIARO:   And you feel that even though you're

  2   going to hear testimony about someone who's struggling at times

  3   with breathlessness or issues relating to lung conditions that

  4   you can keep that separate from your personal life and issues

  5   that affect you personally.

  6                PROSPECTIVE JUROR ROSS:     Yes, I can because my kids

  7   aren't to that severe point.

  8                MR. PAGLIARO:   Well, that's great.

  9                PROSPECTIVE JUROR ROSS:     And I've also done nurse aide

 10   where I have helped severely handicapped people from car

 11   accidents and everything else like this.         And yeah, you do feel

 12   sorry for them and everything else.        But they still have to make

 13   it, you know, like everyone else, a day at a time.           They have to

 14   look at the positive as well as the negative side.

 15                MR. PAGLIARO:   Now, you mentioned you did some work as

 16   a nurse's aide; is that right, ma'am?

 17                PROSPECTIVE JUROR ROSS:     Yes, I have.

 18                MR. PAGLIARO:   Any of the other jurors in the box ever

 19   do any medical work like work in a medical office or work in the

 20   medical area?     Miss Jessen, did you?      What kind of work did you

 21   do, ma'am?

 22                PROSPECTIVE JUROR JESSEN:     I do medical records for

 23   orthopedic surgeons.

 24                MR. PAGLIARO:   Okay.    The medical knowledge that you

 25   attained -- and I guess Ms. Meinen as well, you have some

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 186 of 223
                                                    of the transcript.
                                                                    187



  1   medical knowledge too I guess from the work that you do; is that

  2   right?

  3                PROSPECTIVE JUROR MEINEN:     (Nodded head.)

  4                MR. PAGLIARO:   Are you able to listen to the evidence

  5   you're going to hear in this case and put aside anything you may

  6   have heard in the office about medical issues or some knowledge

  7   that you believe you gained from that job?          Are you going to be

  8   able to put that aside and just pay attention to the evidence

  9   that you hear in this case about the medical issues in this

 10   case?     Miss Meinen you'd be okay with that?

 11                PROSPECTIVE JUROR MEINEN:     (Nodded head.)

 12                MR. PAGLIARO:   Miss Jessen?

 13                PROSPECTIVE JUROR JESSEN:     Yes.

 14                MR. PAGLIARO:   Okay.    I appreciate that.     Now, let's

 15   say you found that Givaudan's conduct did not cause Mr. Kuiper's

 16   injury.    Is it possible for you, all of you, to decide based on

 17   the evidence that you heard that Mr. Kuiper gets nothing from

 18   this case, the Kuipers walk away without a penny?           Is that

 19   possible?    Can all of you feel comfortable doing that?            Yes?

 20   You feel comfortable doing that?

 21                THE COURT:   Can we pass the microphone down?          We

 22   really have to wait for the microphone.         It's hard to get used

 23   to that.    Thank you.

 24                PROSPECTIVE JUROR SCHIEUER:      If the evidence warrants

 25   it, yes, I could.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 187 of 223
                                                    of the transcript.
                                                                    188



  1                MR. PAGLIARO:   Thank you.    Talk a little bit about

  2   working in a situation where you're exposed to materials.

  3   Mr. Woodward, I think -- I believe you indicated in your

  4   questionnaire that you had chemicals in your workplace; is that

  5   correct?

  6                PROSPECTIVE JUROR WOODWARD:      Yes, it is.

  7                MR. PAGLIARO:   Do you believe that it is only an

  8   employer's responsibility to safeguard employees?

  9                PROSPECTIVE JUROR WOODWARD:      It's not only the

 10   employers but the employees themselves.         And we do special

 11   training yearly on these chemicals.        Each employee has to read

 12   the MSDS sheets and know what they do or can do if used

 13   improperly.

 14                MR. PAGLIARO:   And you indicated that you believe that

 15   low level of chemical exposure can be harmful in your

 16   questionnaire.     Do you recall that?

 17                PROSPECTIVE JUROR WOODWARD:      I don't recall that.

 18                MR. PAGLIARO:   Okay.    Do you believe that?

 19                PROSPECTIVE JUROR WOODWARD:      Low levels of chemicals?

 20                MR. PAGLIARO:   Yes, low level of exposure to

 21   chemicals.    Do you believe that that can be harmful in every

 22   circumstance?

 23                PROSPECTIVE JUROR WOODWARD:      Not in every probably.

 24                MR. PAGLIARO:   Okay.    So you believe that an employee

 25   has some responsibility to safeguard their own health at work;

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 188 of 223
                                                    of the transcript.
                                                                    189



  1   is that true, sir?

  2               PROSPECTIVE JUROR WOODWARD:       Yes, it is.

  3               MR. PAGLIARO:    Is that fair?

  4               PROSPECTIVE JUROR WOODWARD:       Yes.

  5               MR. PAGLIARO:    Could you pass the microphone to Miss

  6   Beschorner?    I saw you shaking your head here.         Do you have the

  7   same view as Mr. Woodward?       Do you think that employees -- I

  8   know your husband works at Terra; right?

  9               PROSPECTIVE JUROR BESCHORNER:       Right.

 10               MR. PAGLIARO:    Do I have that right?       Do you believe

 11   that your husband has a responsibility at work to ensure his own

 12   safety at work and to ensure that he follows the directions of

 13   his employer about how to maintain a safe environment?

 14               PROSPECTIVE JUROR BESCHORNER:       Yes, I do.

 15               MR. PAGLIARO:    What would concern you about an

 16   employer who possibly didn't give those instructions to an

 17   employee?     Would that be a problem for you?

 18               PROSPECTIVE JUROR BESCHORNER:       I guess so because I

 19   believe that that's information the employee should have.

 20               MR. PAGLIARO:    Okay.    And in the case of your husband,

 21   you indicated that your husband gets a number of tests every

 22   year, breathing tests; is that correct?

 23               PROSPECTIVE JUROR BESCHORNER:       They actually have

 24   breathing masks, and they have to have tests to see if they can

 25   breathe through them properly.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 189 of 223
                                                    of the transcript.
                                                                    190



  1               MR. PAGLIARO:    I see.    That's called -- I think you're

  2   going to hear testimony about that in this case.           It's called

  3   respirator fit testing.

  4               PROSPECTIVE JUROR BESCHORNER:       And I think each person

  5   on the job has one available to them.

  6               MR. PAGLIARO:    Yes.   And does your husband avail

  7   himself of that respirator when he works?         Does he use it?

  8               PROSPECTIVE JUROR BESCHORNER:       Oh, no.    That would be

  9   if there was an accident or something.

 10               MR. PAGLIARO:    I see.    I see.   So he's not required to

 11   use it routinely when he works; is that correct?

 12               PROSPECTIVE JUROR BESCHORNER:       No.

 13               MR. PAGLIARO:    Thank you.    Appreciate that.      Talk to

 14   Mr. Cork a little bit too about his work.         What about you,

 15   Mr. Cork?    You have -- I assume in the type of work you do, you

 16   have safety rules that apply to you; is that correct, sir?

 17               PROSPECTIVE JUROR CORK:      Definitely, yes.

 18               MR. PAGLIARO:    Do you feel obligated to follow those

 19   safety rules for yourself?

 20               PROSPECTIVE JUROR CORK:      Yes.

 21               MR. PAGLIARO:    Do you pay attention to them?

 22               PROSPECTIVE JUROR CORK:      You bet.

 23               MR. PAGLIARO:    Do you wear any personal protective

 24   equipment when you work, Mr. Cork?

 25               PROSPECTIVE JUROR CORK:      Yeah, we wear hard hat and

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 190 of 223
                                                    of the transcript.
                                                                    191



  1   earplugs.

  2               MR. PAGLIARO:    And do you use them on a regular basis?

  3               PROSPECTIVE JUROR CORK:      Daily.

  4               MR. PAGLIARO:    Thank you.    Appreciate that.      And does

  5   anybody think that a company has to guarantee that its products

  6   are completely 100 percent safe?        Does anybody feel that way,

  7   that any product sold has to be completely 100 percent safe?

  8               Miss Welch, let me ask you a question.

  9               PROSPECTIVE JUROR WELCH:      Sure.

 10               MR. PAGLIARO:    Do you use oven cleaner?

 11               PROSPECTIVE JUROR WELCH:      Yes.

 12               MR. PAGLIARO:    Do you read the warnings on the oven

 13   cleaner?

 14               PROSPECTIVE JUROR WELCH:      Yes.

 15               MR. PAGLIARO:    Do you think it's important for you to

 16   read those warnings in order to understand how the oven cleaner

 17   works?

 18               PROSPECTIVE JUROR WELCH:      It is, yes.

 19               MR. PAGLIARO:    Do you have any safety regulations

 20   where you work, Ms. Welch?

 21               PROSPECTIVE JUROR WELCH:      No.    I work at a bank.

 22               MR. PAGLIARO:    Your job is to keep things safe.

 23               PROSPECTIVE JUROR WELCH:      There you go.

 24               MR. MCCLAIN:    Thank you very much.

 25               Mr. Haak, how are you today?

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 191 of 223
                                                    of the transcript.
                                                                    192



  1                PROSPECTIVE JUROR HAAK:     Good.

  2                MR. PAGLIARO:   Do you have any safety regulations

  3   where you work, Mr. Haak?

  4                PROSPECTIVE JUROR HAAK:     Yes.

  5                MR. PAGLIARO:   And what do they apply to?       Personal

  6   protection, how you operate?       Can you elaborate a little bit on

  7   that?

  8                PROSPECTIVE JUROR HAAK:     We have regular safety

  9   meetings on different things whether it's electrical or -- but

 10   yeah, it's mostly for personal safety.

 11                MR. PAGLIARO:   Okay.    And do you attend those meetings

 12   regularly?

 13                PROSPECTIVE JUROR HAAK:     Every time we have one, yeah.

 14                MR. PAGLIARO:   Okay.

 15                PROSPECTIVE JUROR HAAK:     We're required to.

 16                MR. PAGLIARO:   Yeah?    Do you have any problem with

 17   your employers, Mr. Haak, in terms of how they apply the safety

 18   regulations to you and the other workers in the plant?

 19                PROSPECTIVE JUROR HAAK:     No.

 20                MR. PAGLIARO:   Okay.    Pass the microphone to Mr. Cork

 21   again.   What about you, Mr. Cork?       Do you have any problem in

 22   your workplace with the way in which your employer applies

 23   those?   Do you have any complaints about your employer?

 24                PROSPECTIVE JUROR CORK:     No, not at all.

 25                MR. PAGLIARO:   No?   Okay.   Fair enough.     Would you

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 192 of 223
                                                    of the transcript.
                                                                    193



  1   pass it back again to Mr. Woodward?        It's like . . .

  2               What about you, Mr. Woodward?       Any complaints?

  3               PROSPECTIVE JUROR WOODWARD:       No.

  4               MR. PAGLIARO:    Okay.    Thank you very much.

  5   Mr. Woodward, you made a comment in your questionnaire about

  6   corporations and something to the effect that some corporations

  7   forget that employees made them and that they have excessive

  8   perks and bonuses.     I guess you've been reading a lot and other

  9   people read too about corporations that award a lot of bonuses

 10   and whatnot to their employees.        Is that what you were referring

 11   to, sir, Wall Street stuff?

 12               PROSPECTIVE JUROR WOODWARD:       Probably at the time,

 13   yeah.

 14               MR. PAGLIARO:    Is that a concern to you?

 15               PROSPECTIVE JUROR WOODWARD:       Well, I think -- if I

 16   remember the question right -- and maybe -- I'm a rendering

 17   foreman, so sometimes I have safety topics, so I can't remember

 18   which topic I was talking about.        But the employees are our best

 19   asset, so in order to keep our company strong, we gotta keep our

 20   employees safe and strong.

 21               MR. PAGLIARO:    Fair enough.     And you're not concerned

 22   that you can't be fair to a company in a case like this because

 23   of what you read in the newspaper or hear on television about

 24   corporate conduct generally in the country.

 25               PROSPECTIVE JUROR WOODWARD:       No.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 193 of 223
                                                    of the transcript.
                                                                    194



  1                MR. PAGLIARO:    Okay.   You feel you can put that aside.

  2                PROSPECTIVE JUROR WOODWARD:      Yes.

  3                MR. PAGLIARO:    And if you're looking at an individual

  4   like Mr. Kuiper and Mrs. Kuiper who are plaintiffs in this case

  5   and my client Givaudan, they start at exactly the same spot in

  6   your mind in terms of --

  7                PROSPECTIVE JUROR WOODWARD:      Yes, sir.

  8                MR. PAGLIARO:    And you can be fair, as the judge said,

  9   in that balancing, put them both in the same spot?

 10                PROSPECTIVE JUROR WOODWARD:      Yes.

 11                MR. PAGLIARO:    Miss Jessen, you feel that way as well?

 12   You feel you can put both an individual and a company in the

 13   same spot?

 14                PROSPECTIVE JUROR JESSEN:     Yes.

 15                MR. PAGLIARO:    You don't have any problem with that.

 16                PROSPECTIVE JUROR JESSEN:     No.

 17                MR. PAGLIARO:    You know that companies are made up of

 18   people; is that right?       You understand that.     They're not

 19   buildings.    They're folks like all of us.

 20                PROSPECTIVE JUROR JESSEN:     I worked at Gateway for 16

 21   years.

 22                MR. PAGLIARO:    Yeah.

 23                PROSPECTIVE JUROR JESSEN:     That was very large.

 24                MR. PAGLIARO:    Big company; right?

 25                PROSPECTIVE JUROR JESSEN:     Like he said, the employees

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 194 of 223
                                                    of the transcript.
                                                                    195



  1   were -- you know, made it all what it was.

  2               MR. PAGLIARO:    And if you felt that the company in

  3   this case didn't do everything in every way exactly like you

  4   would have done it but despite that you feel the evidence

  5   doesn't support a verdict in favor of Mr. Kuiper, could you

  6   award a verdict of no damages to the Kuipers?

  7               PROSPECTIVE JUROR JESSEN:      Yes.

  8               MR. PAGLIARO:    You feel that way?

  9               PROSPECTIVE JUROR JESSEN:      Yep.

 10               MR. PAGLIARO:    Would you pass that microphone to

 11   Mr. -- let me ask you the same question.          I haven't heard from

 12   you, have I?

 13               PROSPECTIVE JUROR DAMSTRA:       Yes.

 14               MR. PAGLIARO:    I forget your name.      I'm sorry.

 15               PROSPECTIVE JUROR DAMSTRA:       Mrs. Damstra.

 16               MR. PAGLIARO:    Mrs. Damstra.     How do you do?

 17               PROSPECTIVE JUROR DAMSTRA:       Fine.

 18               MR. PAGLIARO:    What about you?      Do you put -- a

 19   company and an individual in your mind, they start at the same

 20   spot in this case?

 21               PROSPECTIVE JUROR DAMSTRA:       Yes, definitely.

 22               MR. PAGLIARO:    If you were standing here where I am,

 23   would you be worried about having Mrs. Damstra on the jury to

 24   judge my client?     Would you worry about that?

 25               PROSPECTIVE JUROR DAMSTRA:       I hope not.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 195 of 223
                                                    of the transcript.
                                                                    196



  1               MR. PAGLIARO:    Good.    Thanks.   Would you pass it to

  2   Mr. Loutsch?    I want to speak with him for a minute.

  3               Good afternoon, Mr. Loutsch.

  4               PROSPECTIVE JUROR LOUTSCH:       Good afternoon.

  5               MR. PAGLIARO:    How are you?

  6               PROSPECTIVE JUROR LOUTSCH:       Fine.    Thank you.

  7               MR. PAGLIARO:    Good.    You hear me talking about --

  8   you're a farmer; isn't that right?

  9               PROSPECTIVE JUROR LOUTSCH:       Yes, sir.

 10               MR. PAGLIARO:    You farm?    You never worked for a big

 11   company before; is that right?

 12               PROSPECTIVE JUROR LOUTSCH:       Yes, sir, I did.

 13               MR. PAGLIARO:    You did.

 14               PROSPECTIVE JUROR LOUTSCH:       Yes.    I worked for UPS for

 15   some years.

 16               MR. PAGLIARO:    You did mention that.       I'm sorry.   You

 17   mentioned that plant in Missouri, didn't you, where you picked

 18   up something?

 19               PROSPECTIVE JUROR LOUTSCH:       But that wasn't through

 20   UPS.   I work part time, and if I got time, I'll go on long haul

 21   with a truck.

 22               MR. PAGLIARO:    Did you form any opinions about whether

 23   big companies are good or bad in the course of your employment

 24   for UPS, for example?

 25               PROSPECTIVE JUROR LOUTSCH:       No, that was a good job.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 196 of 223
                                                    of the transcript.
                                                                    197



  1   They're a good employer, yeah.

  2               MR. PAGLIARO:    The employer was good to you.

  3               PROSPECTIVE JUROR LOUTSCH:       He w -- they were.

  4               MR. PAGLIARO:    No problems.

  5               PROSPECTIVE JUROR LOUTSCH:       None whatsoever.

  6               MR. PAGLIARO:    Do you agree with the other folks that

  7   have said that they think that part of the responsibility for

  8   someone's safety in the working place rests with the person

  9   who's actually doing the job?        You believe that?

 10               PROSPECTIVE JUROR LOUTSCH:       I do.

 11               MR. PAGLIARO:    Yeah.    And if you felt that the

 12   evidence didn't support an award of damages at all to

 13   Mr. Kuiper, could you walk into this courtroom and look

 14   Mr. Kuiper in the eye and then sit in that box and say zero

 15   damages?    Could you do that?

 16               PROSPECTIVE JUROR LOUTSCH:       I could.

 17               MR. PAGLIARO:    Thank you.    Appreciate that.

 18               Any of you have any experience with regulatory

 19   agencies?    You're going to hear testimony in this case about

 20   OSHA, Occupational Safety and Health Administration, NIOSH,

 21   National Institute of Occupational Safety and Health.           Any of

 22   you have any interaction with those companies in your job?

 23               Yes, sir, Mr. Storm, you have -- could you pass that

 24   to Mr. Storm, please?      Thank you, Mr. Loutsch.

 25               PROSPECTIVE JUROR STORM:      Early in my legal work I did

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 197 of 223
                                                    of the transcript.
                                                                    198



  1   some work for IBP that involved working with IOSH and OSHA many

  2   years ago.

  3                MR. PAGLIARO:   So when you say working with, were

  4   you --

  5                PROSPECTIVE JUROR STORM:     I represented them.

  6                MR. PAGLIARO:   You represented a company in a matter

  7   involving OSHA.

  8                PROSPECTIVE JUROR STORM:     Yes.

  9                MR. PAGLIARO:   Okay.    I understand.    I understand.

 10   Did you form any opinions about those agencies?

 11                PROSPECTIVE JUROR STORM:     Oh, I have a lot of opinions

 12   about them, yeah.

 13                MR. PAGLIARO:   All right.    Where do we go from here?

 14                PROSPECTIVE JUROR STORM:     Yeah.   Well, some good, some

 15   bad.

 16                MR. PAGLIARO:   Yeah.

 17                PROSPECTIVE JUROR STORM:     Depended on the

 18   circumstances.

 19                MR. PAGLIARO:   Explain the bad opinions I guess.        If

 20   you have negative views towards the agency, I'd be interested in

 21   hearing those.     There's going to be a lot of testimony about

 22   that.

 23                PROSPECTIVE JUROR STORM:     Yeah.   On the one hand, I

 24   guess there's a lot of -- there are a lot of regulations that

 25   seem to be unnecessary and burdensome and so forth.           By the same

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 198 of 223
                                                    of the transcript.
                                                                    199



  1   token, obviously they fulfill a purpose that we need.           So those

  2   are the two sides I guess.

  3               MR. PAGLIARO:    You don't have any feeling that they're

  4   not doing their mission or not fulfilling what they're required

  5   to do.

  6               PROSPECTIVE JUROR STORM:      No, and I will have to tell

  7   you, I haven't done any of that work recently.          This would have

  8   been maybe 25, 30 years ago.

  9               MR. PAGLIARO:    Mr. Storm, do you have any concern back

 10   in the jury room about your particular training and knowledge in

 11   the law influencing the way in which you view the evidence or

 12   the way in which you view the charge that the judge gives you to

 13   apply in this case?

 14               PROSPECTIVE JUROR STORM:      Sure.

 15               MR. PAGLIARO:    You do?

 16               PROSPECTIVE JUROR STORM:      Well, I mean, I haven't done

 17   this before, so I do have a little concern about it, yeah.

 18               MR. PAGLIARO:    Do you think you can fairly evaluate

 19   the evidence and apply the law as the judge gives it to you and

 20   put aside any of your own preconceived ideas of the law when you

 21   go back in that jury room?

 22               PROSPECTIVE JUROR STORM:      Yes.

 23               MR. PAGLIARO:    You do?

 24               PROSPECTIVE JUROR STORM:      Well, I think I can.

 25               MR. PAGLIARO:    Good.    Okay.   Thanks.   Appreciate that.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 199 of 223
                                                    of the transcript.
                                                                    200



  1                Can I ask you another question, Miss Ross?

  2                PROSPECTIVE JUROR ROSS:     Sure.

  3                MR. PAGLIARO:   You also answered I think the

  4   questionnaire about your views on low-level exposure to

  5   chemicals.    Do you remember that?

  6                PROSPECTIVE JUROR ROSS:     Yes.

  7                MR. PAGLIARO:   Could you tell us what you feel about

  8   that?

  9                PROSPECTIVE JUROR ROSS:     Exposure to low-level

 10   chemicals, it depends on -- well, like my kids with cystic

 11   fibrosis, they have allergies that also goes with them.             So

 12   sometimes being exposed to something with low-level chemicals

 13   will set off their allergies which will cause a reaction, you

 14   know, with their breathing sometimes.          So being exposed to some

 15   low levels, it depends on your health.          It can cause damage,

 16   yes.

 17                MR. PAGLIARO:   Yes.   Do you believe that every

 18   low-level exposure to chemicals is dangerous?

 19                PROSPECTIVE JUROR ROSS:     No.

 20                MR. PAGLIARO:   Your children obviously have a special

 21   sensitivity.    Do I have that right?

 22                PROSPECTIVE JUROR ROSS:     I don't understand you.

 23                MR. PAGLIARO:   Are they especially sensitive to

 24   chemicals because of their condition?

 25                PROSPECTIVE JUROR ROSS:     To certain things, yes.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 200 of 223
                                                    of the transcript.
                                                                    201



  1               MR. PAGLIARO:    Okay.    That's what I was trying to get

  2   to.   Do you try to keep them out of those circumstances?           Is

  3   that part of what you try to do?

  4               PROSPECTIVE JUROR ROSS:      I check when I buy cleaning

  5   supplies whether they can use -- whether I can use it in the

  6   house or not or whether it will set them off or not.

  7               MR. PAGLIARO:    All right.    And do you start this case

  8   and your views of this case with a concern overall that

  9   low-level exposure to chemicals are generally dangerous?

 10               PROSPECTIVE JUROR ROSS:      No.

 11               MR. PAGLIARO:    Okay.    And you'd be fair in listening

 12   to the evidence and evaluating for yourself in this case whether

 13   the chemical exposures in this case were a problem.

 14               PROSPECTIVE JUROR ROSS:      I believe I can be very fair

 15   minded because, you know, this would also give, you know, a

 16   learning experience to everyone out there on some of the things

 17   we don't hear about from manufacturing companies.

 18               So I look at it as a learning experience as well as

 19   general information so when I go home, you know, I have a

 20   clearer view on some of these lower chemicals if it gets brought

 21   up in the case, if it don't.       But I am very open-minded person

 22   because I'm one of these people I don't allow first impression

 23   to judge me one way or another.        I have learned over many, many

 24   years it takes a lot of time to make a decision on a lot of

 25   different things.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 201 of 223
                                                    of the transcript.
                                                                    202



  1                MR. PAGLIARO:   Fair enough.     I agree with that.     Thank

  2   you.

  3                PROSPECTIVE JUROR ROSS:     You're welcome.

  4                MR. PAGLIARO:   Your Honor, I have nothing further.

  5   Thank you.

  6                THE COURT:   Okay.   Thank you very much.

  7                MR. PAGLIARO:   Thank all of you.

  8                THE COURT:   Thank you.    I just wanted to make one

  9   thing clear.    I hope I have.     But it's just that it comes up in

 10   every civil case, the McDonald's case.         I have no opinion about

 11   what the jury did in the McDonald's case.

 12                My only opinion is that other people have opinions

 13   that aren't based on the facts of the case.          And while I think I

 14   know more about the McDonald's case than most of the people in

 15   the courtroom, I couldn't begin to know enough facts about that

 16   case to have an opinion because I wasn't the judge in the case

 17   and I didn't sit on the jury.       And I haven't obtained the record

 18   and read it.    So I have no opinion about the McDonald's case.

 19                My only opinion is that other people have opinions

 20   about it, and it's fine to have the opinion.          I'm just trying to

 21   point out it's not based on all the facts.

 22                Let me give you another example.       Every time there's

 23   somebody who's prominent that gets sentenced in federal court or

 24   noteworthy -- they may not be prominent, but it may be

 25   noteworthy -- my social friends always say because they know I

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 202 of 223
                                                    of the transcript.
                                                                    203



  1   sentence a lot of people -- matter of fact, during the course of

  2   this trial, one of the reasons we're going 8:30 to 2:30 is every

  3   afternoon at 3 I'm going to be sentencing people.           I'll probably

  4   sentence 20 people or so during the course of this trial.

  5                So when my friends read about a sentencing in the

  6   paper, they always say, "What would you have given the person?"

  7   And I always say, "I have no idea; I wasn't the judge; I don't

  8   know all the facts.      How would I know?"     Or they'd say, "Do you

  9   think the judge was too lenient or too severe?"          How would I

 10   know?   I didn't have an advantage to read what's called the

 11   presentence report to learn as much as I can about the

 12   defendant, to hear the arguments of the prosecutor, to hear the

 13   arguments of the defense lawyer, to listen to both sides, to

 14   weigh it, to think about it.       All I know is what I read in the

 15   newspaper, and I know from experience that's not accurate.

 16                So the only point I was trying to make about the

 17   McDonald's case or anything else is coming back to -- I know I

 18   sound like a broken record -- the parties depend and the justice

 19   system depends on jurors making judgments based on the facts in

 20   this case.    And I think that's what I know both lawyers were

 21   asking about and wanting, and that's all we want, eight people

 22   who can make their judgment based on the facts of this case,

 23   whatever judgment that is.       Whatever judgment it is, that's your

 24   best judgment.     That's all we can ask for.

 25                So did any of the lawyers want to do any follow-up

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 203 of 223
                                                    of the transcript.
                                                                    204



  1   questions just based on my last comments?

  2               MR. MCCLAIN:    No, sir.

  3               MR. PAGLIARO:    No thank you, Your Honor.

  4               THE COURT:     Okay.   Why don't you just sit patiently.

  5   Everybody can stand and take a stretch break now.           And the

  6   lawyers are going to take -- I promised them that they would

  7   have some time to huddle up together and talk to their

  8   colleagues, and then they're going to start exercising their

  9   total of six strikes.      And in a little while we'll find out who

 10   our jurors are.     But let's just all stand and take a stretch

 11   break and be patient while the lawyers have an opportunity and

 12   while we give them an opportunity to do their job.

 13               Okay.   Would everybody please be seated.        The lawyers

 14   have done their work, and here's what's going to happen.              Nick

 15   is going to read the names of the eight individuals who have

 16   been selected to serve as jurors in this case.          So let's wait

 17   till he's done reading the names.        If your name is called, that

 18   means you are going to be a juror, so just kind of stay put.

 19   And if your name is not called, then we'll have everybody move

 20   to the back of the courtroom.       And then I'll send everybody on

 21   their way who's not one of the jurors.

 22               So, Nick, would you please read the names of the eight

 23   folks who have been selected.

 24               THE CLERK:     Yes, Your Honor.    Lyle Woodward, Elaine

 25   Damstra, Jane Schieuer, Larry Storm, Rebecca Beschorner, Michael

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 204 of 223
                                                    of the transcript.
                                                                    205



  1   Rickert, Roseanna Green, and Richard Cork.

  2               THE COURT:    Okay.   If your name was called, remain

  3   seated.    If your name was not called, please move to the back of

  4   the courtroom.

  5               On behalf of all of the judges and employees of the

  6   United States District Court for the Northern District of Iowa,

  7   I wanted to thank all of you who came today to participate in

  8   jury selection.     I wanted to thank you very much for your time.

  9               Under our system the lawyers have to strike people,

 10   but I think everybody would have made good jurors.           And you're

 11   in our wheel for the next year or so.         We've got a lot of trials

 12   coming up, so we'll see a lot of you back here in the future.

 13   You're all free to leave, and thank you very much for coming

 14   here today.

 15               Now, with regard to the eight of you, the lawyers were

 16   kind enough to strike you in such a pattern that we have four in

 17   each row, so that always makes things a little bit easier.

 18               Mr. Storm, if I could get you to move down I think one

 19   chair, and then in the back row everybody slide down.           And,

 20   Mr. Cork, if you would move down one chair this direction, and

 21   then we'll have the other three jurors slide down.           Then we'll

 22   have you kind of centered a little bit better in the courtroom.

 23               And if you'd each stand, I'm going to swear you in

 24   because we have a new oath.       And then I'll tell you what's going

 25   to happen next.     Would you raise your right hand, please.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 205 of 223
                                                    of the transcript.
                                                                    206



  1               (The jury was sworn.)

  2               THE COURT:    Okay.    Thank you.   Please be seated.

  3   Here's what we're going to do.        It is 20 minutes to 3.        We're

  4   going to take a recess until three o'clock.          When you come back

  5   at three o'clock, on your chairs will be a notebook and a pen

  6   because you're allowed to take notes if you want to.           And I

  7   actually have a jury instruction on that.

  8               And then you'll have a set of the jury instructions,

  9   and you'll have that set of jury instructions with you.              You can

 10   take notes on it if you want.        And you'll be able to keep that

 11   throughout the trial.      We ask that when you go home every day

 12   you leave your notes and your jury instructions on your chair

 13   and, when you go down to the jury room, you leave all that on

 14   your chair.    Nobody will read them.      And then when you go down

 15   to deliberate after we've heard all of the evidence, heard the

 16   closing arguments of the lawyers, then you'll be able to bring

 17   your notes and jury instructions down to the jury room to assist

 18   you in your deliberations.        So we'll see you back here at three

 19   o'clock to go over the instructions.         Thank you.

 20               (The jury exited the courtroom.)

 21               THE COURT:    Thank you.    Please be seated for a second.

 22               You know, this is actually the longest set of civil

 23   instructions I've ever had in my 15 years, and I'm estimating it

 24   will probably take an hour and 20 minutes or so.           So my

 25   suggestion -- well, yeah.       I guess it's a suggestion.         It's soon

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 206 of 223
                                                    of the transcript.
                                                                    207



  1   to be my ruling I guess.       We're not going to have time for

  2   opening statements today.       And so do the lawyers have any

  3   problems if after we get through the instructions we save

  4   opening statements for 8:30 tomorrow morning?

  5               MR. MCCLAIN:    No.    In fact, we anticipated that this

  6   was likely, and we adjusted and let one witness go.           And so I

  7   think we were pretty well resigned to it.

  8               THE COURT:     Okay.   And, you know, it's the -- my

  9   longest jury selection is 15 days in a criminal case.           I've had

 10   2 cases where it took 15 days.        This is my longest in a civil

 11   case, but, you know, I'm a huge believer in having the lawyers

 12   involved.    I think it was a much better process because the

 13   lawyers were involved.      I appreciate your involvement.          And it

 14   just kind of takes what it takes.

 15               And, you know, we're all after trying to get a fair

 16   trial.   So if it took a little longer than normal, that's fine

 17   with me.    I kind of anticipated that, too, given the nature of

 18   the case and the length of the trial and American Pop Corn is a

 19   company here in town.      It just took a little longer than usual.

 20               But I thought the lawyers were just terrific.            You

 21   made very judicious use of your time, probably much more than I

 22   did.   I kind of hogged my time.       But, you know, I'm real

 23   satisfied with the process, so I hope the lawyers are too.

 24               MR. PAGLIARO:    Thank you, Your Honor.

 25               THE COURT:     Okay.   We'll see you back here at three

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 207 of 223
                                                    of the transcript.
                                                                    208



  1   o'clock then.

  2               MR. PAGLIARO:    Yes, Your Honor.

  3               THE COURT:     Okay.   Thank you.

  4               (Recess at 2:43 p.m.)

  5               THE COURT:     I've got a proposition for you.       How about

  6   we toss the jury instructions, I give them one oral instruction,

  7   "Do the right thing," and that you all waive plain error.            Any

  8   takers?    You ready to have the jurors brought in?

  9               MR. PAGLIARO:    (Nodded head.)

 10               THE COURT:     Thank you.

 11               MR. PAGLIARO:    Thank you, Your Honor.

 12               You have a sense of humor, Your Honor.

 13               THE COURT:     You have to.

 14               MR. MCCLAIN:    I was seriously considering it.

 15               MR. PAGLIARO:    I'm sure you were.

 16               (The jury entered the courtroom.)

 17               THE COURT:     Thank you.   Please be seated.

 18               Members of the jury, you should find on your chairs a

 19   notebook and a pen and then something about the size of a phone

 20   book, a small phone book, maybe a South Sioux City or North

 21   Sioux City size phone book.        And that's entitled jury

 22   instructions.     And it looks like this.

 23               It's got a table of contents on it.        And what we're

 24   going to do is it's my obligation under the law to actually go

 25   through the jury instructions with you.         And that's going to

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 208 of 223
                                                    of the transcript.
                                                                    209



  1   take a while because it's a long set of jury instructions.            It's

  2   a long set of jury instructions because this is a very important

  3   and complicated case.      And we worked hard with the lawyers to

  4   get the jury instructions down to where we wanted them, and they

  5   just came out a little bit longer, but that's nobody's fault.

  6               When we get through the jury instructions, we're going

  7   to send you home for the day, come back tomorrow morning for

  8   opening statements because we're just not going to get to the

  9   opening statements today.       And we'll take at least one break

 10   during the jury instructions.

 11               So if you would turn past the table of contents to the

 12   instruction number 1 with a surprising title, introduction,

 13   instruction number 1, introduction.

 14               (The Court read instructions numbers 1 through          26 in

 15   open court.)

 16               THE COURT:    You'll notice there's one more

 17   instruction, and then there's a verdict form.          And I'm going to

 18   wait till the end of the trial when I go over the last verdict

 19   form -- I'm sorry, when I go over the last instruction to go

 20   over the verdict form.      Actually I'll probably go over the

 21   verdict form right before closing arguments, then save the

 22   instruction for last.

 23               Well, those instructions were very long, and I

 24   apologize for them, but you have them, you know, at the

 25   beginning of the trial.      And the good news is that tomorrow

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 209 of 223
                                                    of the transcript.
                                                                    210



  1   morning when we start at 8:30, even though the instructions were

  2   somewhat long and somewhat complicated, the lawyers are going to

  3   give their opening statement.       And they're going to simplify it

  4   for you and make it very understandable for each of you.            I'm

  5   confident of that.

  6               It's been a long day, so we're going to call it quits

  7   now.   I did want to remind you of a couple of things before I

  8   send you home.

  9               It's very important that you not talk to anyone else

 10   about this case.     And I know it's very tempting when you go home

 11   with your spouse or neighbors or loved ones or friends to say,

 12   "Hey, I'm in this case, and here's what it's about."           And here's

 13   why it's not a good idea to do that.         Matter of fact, it's a

 14   real bad idea.

 15               You're going to be sitting through a long, complicated

 16   trial.   You're going to be hearing from a lot of witnesses.

 17   You're going to get the insights from the lawyers about what

 18   they think the evidence will show and then at the end of the

 19   case what they think the evidence has established.

 20               If you talk to your friend or neighbor or spouse or

 21   children or loved one, they haven't had that opportunity.            And

 22   so your judgment could be affected by something somebody else

 23   told you.    And it wouldn't be fair to the Kuipers and it

 24   wouldn't be fair to Givaudan if you were influenced by anything

 25   other than the evidence in the case.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 210 of 223
                                                    of the transcript.
                                                                    211



  1               So I'm a realist.     I know when you get home people are

  2   going to say, "Oh, I can tell you got stuck with jury duty

  3   because you didn't get home early.        And what happened to telling

  4   the judge you had nonrefundable tickets to Hawaii, and how come

  5   you have to serve?"

  6               So I understand there's going to be natural curiosity

  7   about the fact that you're serving.        There's going to be natural

  8   curiosity about the case.       I understand that.

  9               I've been married 31 years.       I love my spouse dearly.

 10   I never talk to her about the cases until they're over.              My

 11   spouse is very opinionated, and I think if I told her about what

 12   case I was trying or what was involved, she would blurt out an

 13   opinion.    I don't always agree with my spouse.        Matter of fact,

 14   we have probably more than our share of disagreements.              But I

 15   wouldn't even want to take the chance of being influenced by

 16   somebody else's opinion.       Even though I think I'm kind of immune

 17   to it, I don't even want to put myself in that situation.                 And I

 18   don't want you to put yourselves in that situation because it's

 19   kind of an awkward situation.       But I understand human nature.

 20               So when you go home, you can tell somebody you're

 21   involved in a complicated civil case and it's going to last, you

 22   know, three weeks, and when it's all over and you reach a

 23   verdict, you'll be glad to sit down with them and tell them

 24   everything they ever wanted to know about what it's like to be a

 25   juror in a civil case in the Northern District of Iowa.              So it's

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 211 of 223
                                                    of the transcript.
                                                                    212



  1   real important that you not talk about the case.

  2               Second, you'll notice right in front of each of you we

  3   have cup holders.     And we just recently had those installed.

  4   And that was actually an idea that I got from a juror in our

  5   juror evaluation forms.      She said how come the lawyers are

  6   drinking water, I'm drinking water, the witnesses are drinking

  7   water, everybody's drinking but the jurors?          That was a great

  8   idea.

  9               So ever since that juror said that, I've allowed

 10   jurors to bring in beverages, and then we had these cup holders

 11   installed to make it easier -- I was going to crack a bad

 12   joke -- so you don't spill your coffee and wind up suing our

 13   court like the McDonald's case, but I was just kidding.             So now

 14   you have these cup holders.

 15               Here's the deal:     You can bring anything in you want

 16   keeping in mind that it's gotta be nonalcoholic.           I was talking

 17   to a judge in Washington, D.C.        Matter of fact, she's the head

 18   of our Federal Judicial Center.        And we were talking about trial

 19   innovations, and I was saying I let the jurors bring things in

 20   to drink.    And she said, "You do what?"       And I explained to her.

 21   And she said, "Well, aren't they smuggling in alcohol?"             And I

 22   said, "No, I've never had a problem."         I said, "Besides, they

 23   could have alcohol down in their purse or briefcase and take a

 24   little swig when they're on break."

 25               So, you know, you have to trust people, and in the

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 212 of 223
                                                    of the transcript.
                                                                    213



  1   midwest we trust our jurors, and we've never had a problem.            She

  2   was just kind of shocked about that.         But it just goes to show

  3   you some of the differences.       So you can bring beverages in, and

  4   our agreement is you can do that as long as it's nonalcoholic.

  5               Our schedule for the rest of this week and I think

  6   probably the rest of the trial until maybe the very last day

  7   will be we're going to go from 8:30 to 2:30.          We will take a

  8   25-minute break somewhere between 10 and 10:15, and then we'll

  9   take a second break somewhere between 12 and 12:15.           So one of

 10   the judgments you have to make is, because we're really only

 11   going to take two 25-minute breaks, is how much beverage intake

 12   can my bladder handle without taking real frequent bathroom

 13   breaks.    So that's a decision I leave to the sound discretion of

 14   each juror.

 15               I'm really pleased that the eight of you were selected

 16   to serve.     You know, every case in federal court is an important

 17   case, and it's important to the parties.         This case is very

 18   important to the Kuipers.       It's equally important to Givaudan.

 19   And both parties are entitled to eight jurors who will judge the

 20   evidence fairly and impartially and then make the best judgment

 21   they can make based on the facts and the law in my instructions.

 22   And that's all we ask of you.

 23               It's a big duty, and I just -- I'm sure you'll all

 24   take it very seriously.      I know I take my job very seriously.

 25   I've cracked some jokes and tried to have some fun because when

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 213 of 223
                                                    of the transcript.
                                                                    214



  1   I first started 15 years ago, a federal judge told me you

  2   shouldn't lose your sense of humor or you'll go crazy in this

  3   job.   And I think he's right.      So I've tried to keep a sense of

  4   humor.

  5                But if I crack a joke or we all have a laugh together,

  6   that's okay.    But it never, never should detract from the

  7   seriousness of our task.       And my task and your task is we need

  8   to do justice in this case, and justice is listening to the

  9   evidence and then giving it your best shot and doing the best

 10   you can.    And that's all we ask.

 11                So thank you very much.     You will find that I start

 12   promptly for the most part.       I think in my last ten-day trial I

 13   started on time every recess.       One time I was in discussions

 14   with another federal judge about a matter that was important to

 15   him, and I took an extra couple minutes.         But if you think I say

 16   8:30 we're going to start at 9:00, not happening.

 17                I make the lawyers get here real early.        The lawyers

 18   are very hard working.      We're going to try and work out as many

 19   problems as we can.      Occasionally there may be a problem and we

 20   have to have a sidebar like we had when I turned on the noise,

 21   or I might send you down to the jury room while we discuss

 22   something.    But we're going to make our absolute best efforts to

 23   keep that to a minimum.      So from 8:30 to 2:30, hopefully except

 24   for the two 25-minute breaks, you'll be in the box, in the jury

 25   box, listening to witness testimony and receiving evidence.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 214 of 223
                                                    of the transcript.
                                                                    215



  1               Thank you very much.      Like you to get here a few

  2   minutes before 8:30 tomorrow so at exactly 8:30 we can bring you

  3   up and hear the riveting opening statements from the lawyers.

  4   Thank you very much.      We'll see you tomorrow morning.

  5               (The jury exited the courtroom.)

  6               THE COURT:    Please be seated.     Well, I didn't put any

  7   pressure on you for your opening statements, did I?           No.   Good.

  8   I'm sure you'll rise to the occasion.

  9               One thing we did not cover, I'm only going to allow

 10   direct, cross, and redirect.       I'm not going to allow recross.

 11   It just -- at that point the lawyers are almost always beating a

 12   dead horse; I would need to call the Animal Rescue League.             And

 13   the jurors just -- it's just -- you know, it's not going to be

 14   in the cards.

 15               Now, if there's some super-exceptional reason why you

 16   need to do recross, it better be a blockbuster reason because I

 17   have absolute authority under the rules to limit it to direct,

 18   cross, and redirect.      And it goes both ways.      When the

 19   plaintiffs are putting on their witnesses, they get the last

 20   word on redirect.     When the defendants are putting on their

 21   evidence, they get the last word on redirect.

 22               But believe me, I've done many trials where I put --

 23   didn't put limits on it, and we're doing re-, re-, re-, re-,

 24   re-recross, and it's just unbelievably repetitive.           And the

 25   number-one thing -- in the 15 years and the hundreds and

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 215 of 223
                                                    of the transcript.
                                                                    216



  1   hundreds and hundreds and hundreds of trials I've had, the

  2   number-one critique of lawyers is we get it the first time and

  3   that lawyers are way too repetitive.         And if all the lawyers in

  4   this case can get out of this case with the evaluations not

  5   saying you're repetitive, you get triple gold stars from me

  6   because they almost always say that about the lawyers.

  7                And by the way, just so you know, I talked in jury

  8   selection about this juror evaluation form.          When we get those

  9   back from the jurors, my secretary will copy that portion that

 10   relates to the lawyers on one side and send it to all you.            I

 11   just don't think it's fair to see what the jurors say about your

 12   opponents.    You're out-of-state lawyers.       It probably wouldn't

 13   make a big difference in this case.        But when I have Sioux City

 14   lawyers, you know, I wouldn't be surprised that one put those

 15   comments about the other lawyer in a marketing campaign or put

 16   it on their wall in their office.        So to avoid those kind of

 17   problems, we just let each side see your own stuff.

 18                Would the defense want to give me any more of a

 19   heads-up on the problem areas that you see with the expert

 20   witness that's going to be the lead-off witness?           I know you've

 21   been very kind to give me a heads-up on it, and you gave me some

 22   examples.

 23                Is he really going to like pontificate on corporate

 24   ethics and stuff?

 25                MR. MCCLAIN:   No.   And he's testified in 11 of these

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 216 of 223
                                                    of the transcript.
                                                                    217



  1   cases now before 6 different judges and never had any of his

  2   testimony excluded or any problems.        It just is, you know -- I

  3   think --

  4               THE COURT:     Well, there's a first time for everything,

  5   isn't there?

  6               MR. MCCLAIN:    Right.    I'm sure that there is.

  7               THE COURT:     Yeah.

  8               MR. MCCLAIN:    But no, I don't anticipate there will be

  9   any problems with any of his testimony.         It's clearly within the

 10   bounds of what he writes about and teaches about relating to

 11   public health.     It all relates to being a public health

 12   physician and investigating what causes disease and how disease

 13   outbreaks can be prevented.

 14               And he's, you know -- as I say, he's studied this more

 15   than any other physician in the country and written an extensive

 16   article about it that's been published in a peer review journal.

 17   Almost all of the opinions that he'll express are contained in

 18   that article, and they deal with Givaudan as being the test case

 19   of what a company ought not do when confronted with a public

 20   health emergency like they had with their employees.

 21               They had nearly ten employees with bronchiolitis

 22   obliterans, and the evidence that you'll hear tomorrow and

 23   throughout the case is that Givaudan tried to cover that up

 24   throughout the time period and not get to the bottom of what was

 25   causing the disease, going to the very issues about testing and

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 217 of 223
                                                    of the transcript.
                                                                    218



  1   other things that you've just instructed the jury on.

  2               So Dr. Egilman will not be expressing legal opinions

  3   in the least, simply medical and public health opinions.

  4               THE COURT:    Okay.   Yes.

  5               MR. MEADOR:    May I respond, Your Honor?

  6               THE COURT:    You may.    Can you come to the microphone,

  7   please?    It's a little easier from the podium.        Thank you.

  8               MR. MEADOR:    I'm not used to be asked to speak up.            I

  9   have a loud voice.

 10               THE COURT:    It's a big courtroom.      Without the sound

 11   system, it's tough, so thank you.

 12               MR. MEADOR:    This is a punitive damage case.          An

 13   expert can't opine as to parties' motivations and intent and

 14   breach of corporate ethics.       I mean, that's within the province

 15   of the jury.    I don't think Judge Egilman -- Judge Egilman.

 16   You'll see him.     He'll be like a judge.      I don't think he's been

 17   really attacked in some of the other state courts and other

 18   jurisdictions on these points.        And he's going to -- wait till

 19   you see him.    They point at a PowerPoint, and I've read the

 20   transcripts.    And 20 minutes later he's on PowerPoint number 10.

 21               THE COURT:    After just the one question, yeah.             Yeah.

 22   Well, we're not doing it that way.        On the other hand, you know,

 23   I give some leeway to experts on somewhat of a narrative answer,

 24   but, you know, we're not just saying, "What's your opinion,

 25   Doc.?" and have him off to the races and 20 minutes later he's

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 218 of 223
                                                    of the transcript.
                                                                    219



  1   ending -- coming up for air waiting for another question.

  2               So, you know, I'll just exercise my best judgment on

  3   whether it's unduly inappropriate narrative answer or not

  4   so . . .

  5               MR. MEADOR:    There's one other point is how -- there

  6   may be certain areas he gets into that just completely lacks

  7   foundation.    And we've stipulated to a lot of documents that

  8   have gone in the record that have a lot of facts.           I mean, how

  9   are we going to be able to communicate with you, because he may

 10   be opining on some facts outside this case that will never come

 11   in?

 12               THE COURT:    Did you bring hand puppets?

 13               MR. MEADOR:    I could bring them.

 14               THE COURT:    Well, you know, how do you want to

 15   communicate?    Every time we're getting into a problem you want

 16   me to send the jury out?

 17               MR. MEADOR:    No, of course not.

 18               THE COURT:    You can -- here's what I suggest you do.

 19   If you think -- you know, you can either object that there's no

 20   foundation.    If you feel you need to ask him questions, then you

 21   can ask permission to voir dire the witness and go ahead and ask

 22   him some questions to further establish your view that there's

 23   not a proper foundation or whatever your objection is.              And then

 24   I'll just rule on it.

 25               MR. MEADOR:    That will be fine, Your Honor.

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 219 of 223
                                                    of the transcript.
                                                                    220



  1               THE COURT:     I don't really know how else to do it.

  2   You could hold up a flashcard saying, "Don't let him testify to

  3   this."

  4               MR. MEADOR:    They try these cases different than most

  5   people because none of the facts come in first.          And Dr. Egilman

  6   is actually going to opine almost on every issue in this case

  7   before you hear from a witness.        So it makes -- but we'll work

  8   through the problem.

  9               THE COURT:     Okay.    You know, I want you to make a full

 10   record, and I realize that's very important.          So you'll just be

 11   objecting a lot I guess.       Hopefully if Mr. McClain is right

 12   that -- have you put him on before in cases?

 13               MR. MCCLAIN:    Oh, yes, Your Honor.      As I say, in these

 14   cases I put him on 11 different times before 6 different judges.

 15   I mean, several of these judges like in Joplin, Missouri, had

 16   more than one case, and so he appeared before the same judge

 17   more than once.     But he's appeared -- he just appeared in state

 18   court in front of Judge Van Amburg who I think that -- perhaps

 19   I'm wrong, but she had some contact with you or Dennis Egan in

 20   regard to jury instructions.

 21               THE COURT:     Oh, yeah, yeah.    I know Dennis Egan from

 22   Kansas City, sure.

 23               MR. MCCLAIN:    Right, and good friend of me, and he and

 24   Judge Van Amburg are very good friends.         He just appeared in

 25   front of Judge Van Amburg.         We had no problems at all,

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 220 of 223
                                                    of the transcript.
                                                                    221



  1   completely different set of defendants than these but completely

  2   different set of defendants than we had dealt with before.               So I

  3   think that we'll help Mr. Meador to relieve his anxiety.            He

  4   seems to be very concerned about this.         But it will not be

  5   extraordinary.     It will be -- and it will help move the case

  6   along.

  7               THE COURT:     But I bet those very transcripts that

  8   Mr. Meador reviewed are the ones where you put this witness on.

  9               MR. MCCLAIN:    Yes.

 10               THE COURT:     Yeah, right.   So, you know, like most

 11   trials, advocates have a different view of the same set of facts

 12   but -- and that's what the adversary system is all about.

 13               We'll just -- I do appreciate the heads-up.          I'll be

 14   giving it some thought, and we'll just, you know, muddle through

 15   as best we can.     But, you know, if there's anything else you

 16   need from me or want from me, let me know.

 17               And, you know, I was only slightly hard on the lawyers

 18   pretrial.    But, you know, I recognize that I've got excellent

 19   lawyers in front of me.      It doesn't always happen that way.          And

 20   if I or my staff can do something to make your job easier, you

 21   don't like the way I do it, you've got a better mousetrap,

 22   there's anything we can do, I mean, you know, I'm here to try

 23   and help you, not to -- you know, and to be fair and impartial

 24   and make all the rulings I have to make.

 25               But I was a trial lawyer for 17 years before I was a

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 221 of 223
                                                    of the transcript.
                                                                    222



  1   judge.   And I know judges can make your life difficult or they

  2   can make it easy.     I don't have any interest in making your life

  3   difficult.    You have a very tough job.        It's much tougher than

  4   my job, and I understand that and appreciate it.

  5                So if there's something that we can do to make your

  6   next three weeks easier, don't be shy about letting us know.             I

  7   may not be able to do it, but if there's any way I can, I want

  8   to.   I want to make your job easier.         Okay?

  9                MR. MEADOR:    Thank you, Your Honor.

 10                THE COURT:     Okay.    And like I indicated in my e-mail I

 11   think that I sent Friday night, I'll be meeting with you every

 12   morning.    And then, you know, at the end of every break when we

 13   take a break some time between 10 and 10:15, I'll wait till the

 14   jurors are out till the CSO closes the door, and then I'll say,

 15   "Are there any things we need to discuss?" because I do like

 16   heads-up.    I'm not big on surprises.        And so, you know, I think

 17   if we can give everybody a heads-up on potential problems, we're

 18   going to -- we're going to have a better trial.

 19                I have never retried a case, knock on wood.         But, you

 20   know, there's always a first for everything.          I hope it's a

 21   two-day trial, not a three-week one, though, when my time comes.

 22                Anything we need to take up at this point?

 23                MR. MCCLAIN:    No, Your Honor.

 24                THE COURT:     Okay.    Thank you very much.   We'll see you

 25   tomorrow morning.     Thanks.       Why don't we meet at eight o'clock

       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ     Document
                        to purchase     403 Filed
                                    a complete copy06/09/09   Page 222 of 223
                                                    of the transcript.
                                                                     223



  1   just to see if there's anything cooking overnight.           Thank you.

  2               (The foregoing trial was

  3               adjourned at 4:35 p.m.)

  4

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20                                   CERTIFICATE

 21               I certify that the foregoing is a correct transcript

 22   from the record of proceedings in the above-entitled matter.

 23

 24

 25             s/ Shelly Semmler                          3-20-09
            Shelly Semmler, RMR, CRR                         Date
       Contact Shelly Semmler at 712-233-3846 or shelly_semmler@iand.uscourts.gov
Case 5:06-cv-04009-MWB-PAZ    Document
                       to purchase      403 Filed
                                   a complete copy06/09/09   Page 223 of 223
                                                   of this transcript.
